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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


     SHIRLEY STEARNS, et al.,

            Plaintiffs,
                                                                       Case No. 1:17-cv-131-RCL
     V.
                                                                       *FILED UNDER SEAL*
     THE ISLAMIC REPUBLIC OF IRAN                                       unsealed October 3, 2022
                                                                        /s/ RCL
            Defendant.


                                        MEMORANDUM OPINION

           During the United States military's occupation of Iraq, insurgents attacked American

    troops and their alli�s with a variety of weapons including explosively formed penetrators

    ("EFPs"), a type_ of improvised explosive device ("IED") capable of exceptional destruction and

    lethality. Plaintiffs here are American servicemembers and a military contractor injured or killed

    by these devices while serving in Iraq between 2005 and 2011 and their family members. These

individuals ask the Court to hold the Islamic Republic of Iran ("Iran") liable for materially

supporting the EFP attacks that injured them. They also seek to hold Iran liable for several non­

EFP attacks. Iran has not responded to this lawsuit, so plaintiffs have moved for default judgment. 1

           In this Memorandum Opinion, the Court will set forth its findings of fact and conclusions

of law on plaintiffs' claims. Plaintiffs raise claims against Iran under the Foreign Sovereign




1
  Plaintiffs have not specifically filed a motion for default judgment Under the Federal Rules of Civil Procedure, a
party seeking a default judgment is simply required to "apply" to the Court Fed. R. Civ. Pro. 55(b). A district court
has discretion over how to interpret what is an "application" for default judgment. See Mwani v. bin Laden 417 F.3d
1, 6 & n.3 (D.C. Cir. 2005) (citing CHARLES ALAN WRJGHT, ET AL., FEDERAL PRACTICE AND PROCEDURE,§§ 2682,
2685 (3d ed. 1998)). Therefore, this Court construes the plaintiffs' submission of Proposed Findings of Fact and
Conclusions of Law, which was submitted "in support of their motion for default judgment," ECF No. 35, and the
accompanying motion to seal, ECF No. 36, as a de facto motion for default judgment.

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 Immunities Act ("FSIA"), which guarantees a private cause of action for victims of state-

sponsored terrorism. See 28 U.S.C. § 1605A(c).

        After considering plaintiffs' motion and evidence, applying relevant case law, and taking

judicial notice of related cases, the Court will GRANT plaintiffs' motion for default judgment

against Iran and GRANT plaintiffs' motion for leave to file certain documents under seal.

                                   I.     LEGAL STANDARD

        Plaintiffs moved for default judgment against Iran because Iran has not appeared or

defended this lawsuit. See Pls.' Proposed Findings of Fact and Conclusions of Law ("Pls.'

PFFCL"), ECF No. 35; Mot. to Seal, ECF No. 36. But even when a defendant fails to appear, "the

entry of a default judgment is not automatic." Mwani v. bin Laden, 417 F.3d 1, 6 (D.C. Cir. 2005).

The FSIA expressly provides that "[n]o judgment by default shall be entered ... against a foreign

state ... unless the claimant establishes his claim or right to relief by evidence satisfactory to the

court." 28 U.S.C. § 1608(e); see Jerez v. Repub. of Cuba, 775 F.3d 419,423 (D.C. Cir. 2014). A

district court,retains discretion "to determine precisely how much and what. kinds of evidence the

plaintiff must provide" to establish her claim or right to relief. See Han Kim v. Democratic

People's Repub. of Korea, 774 F.3d 1044, 1047 (D.C. Cir. 2014). "[I]ndeed, 'the quantum and

quality of evidence that might satisfy a court can be less than that normally required."' Owens v.

Repub. of Sudan, 864 F.3d 751, 785 (D.C. Cir. 2017) (quoting Alameda v. Sec'y ofHealth, Educ.

& Welfare, 622 F.2d 1044, 1048 (1st Cir. 1980)), vacated and remanded on other grounds sub

nom. Opati v. Repub. of Sudan, 140 S. Ct. 1601 (2020).

       Additionally, a plaintiff moving for default judgment "must persuade the trial court" that

it may exercise subject matter jurisdiction a1;1d personal jurisdiction over the defendant. Karcher

v. Islamic Repub. ofIran, 396 F. Supp. 3d 12, 21 (D.D.C. 2019) (citing Thuneibatv. Syrian Arab



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    Repub., 167 F. Supp. 3d 22, 33 (D.D.C. 2016)). After all, a default judgment "rendered in excess

    of a court's jurisdiction is void." Jerez, 775 F.3d at 422. And a default judgment "must not differ

    in kind from, or exceed in amount, what is demanded in the pleadings." Fed. R. Civ. P. 54(c).

                                         II.       FINDINGS OF FACT

           Before this Court can enter default judgment against Iran, it must "reach its own,

    independent findings of fact" notwithstanding prior cases implicating the same issues. Rimkus v.

    Islamic Repub. of Iran, 750 F. Supp. 2d 163, 172 (D.D.C. 2010). "[N]umerous evidentiary

    sources" can support a default judgment. Id. at 171. Additionally, "a court may take judicial

notice of related proceedings and records in cases before the same court." Id. (internal quotations

and citations omitted); Fed. R. Evid. 201(b). Plaintiffs submitted over 6,000 pages of evidence

supporting their allegations and expert reports analyzing the attacks. The Court also takes judicial

notice of Fritz v. Islamic Repub. of Iran, 320 F. Supp. 3d 48, 86-87 (D.D.C. 2018), Karcher v.

Islamic Repub. ofIran, 396 F. Supp. 3d 12 (D.D.C. 2019) ("Karcher I"), Karcher v. Islamic Repub.

ofIran, No. 16-cv-232 (CKK.), 2021 WL 133507 (D.D.C. Jan. 14, 2021) ("Karcher II"), and Lee

v. Islamic Repub. of Iran, 518 F. Supp. 3d 475 (D.D.C. 2021), and all of which involved similar

EFP attacks. With these principles in mind, the Court enters the following findings of fact.
                                                   L


              A. Plaintiffs' Claims

          Plaintiffs are more than 2002 individuals-U.S. military servicemembers, their estates, and

their family members-claiming injuries arising from 61 3 alleged EFP and Iran-linked explosive


2
  Plaintiffs' brief identifies the number of plaintiffs in this action as 387. See Pis.' PFFCL, at 7; Am. Comp!., ECF
No. 14, at ,r,r 89-1335. By this Court's count, that figure is instead 229. Whatever the reason for the discrepancy, the
precise number is immaterial to deciding plaintiffs' motion for default judgment. The special master shall make a
report and recommendation of whomever is listed in the amended complaint and the Court will adjudicate the claims.
See Karcher I, 396 F. Supp. 3d at 14 & n.l.
3
 Plaintiffs' amended complaint alleges that Iran i.s responsible for more than 30 attacks not included in the Pis.'
PFFCL. These attacks occurred on: Apr. 4, 2004; Apr. 9, 2004; June 29, 2004; Aug. 5, 2004; Sept. 6, 2005; Jan. 5,
2006; Apr. 28, 2006; May 2, 2006; May 3, 2006; June 10, 2006; July 11, 2006; Oct. 20, 2006; Nov. 9, 2006; Jan. 14,
2007, February 2, 2007; June 25, 2007; June 28, 2007; July 5, 2007; July 23, 2007; July 24, 2007; Sept. 2, 2007; Sept.

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 attacks between 2005 and 2011. They sued Iran under the FSIA, 28 U.S.C. § 1605A(c), alleging

that Iran "develop[ed], fund[ ed], train[ed], direct[ ed], and arm[ ed]" Iraqi insurgents to facilitate

"hundreds of attacks against U.S. forces" in Iraq. Pls.' PFFCL, at 7. The three-count Amended

Complaint in this action seeks relief for the personal injuries of the surviving victims, the personal

injuries and deaths of victims who were killed, and the intentional infliction of"severe" emotional

distress endured by families of those injured or killed. See Am. Compl., ECF. No. 14, at ,r,r 1342-

55.

              B. Service of Process

         Plaintiffs first attempted to serve process on Iran by requesting that the Clerk of the Court-

pursuant to 28 U.S.C. § 1608(a)(3)-mail Iran a summons, complaint, and notice of suit. Aff.

Requesting Foreign Mailing, ECF No. 15. That attempt at service failed because no company

would ship packages to Iran. See 05/17/2018 Summons Return, ECF No. 17. Plaintiffs then

attempted service via diplomatic channels pursuant to 28 U.S.C. § 1608(a)(4). Aff. Requesting

Foreign Mailing, ECF No. 18. On August 12, 2018, plaintiffs successfully served Iran with a

summons, a complaint, a notice of suit, and translations of each under cover of diplomatic note.

Return of Service, ECF No. 21. Iran failed to answer that complaint or appear in this litigation

within sixty days of service. Accordingly, on October 15, 2018, the Clerk of the Court entered

default against Iran. Entry of Default, ECF No. 23.

             C. Iran's Connection to the Attacks

         The Court will detail Iran's longstanding support of proxy militias in Iraq through a

condensed history. The Court relies on the expert reports and transcripts of the bench trial in



4, 2007; Sept. 12, 2007; Sept. 29, 2007; Oct. 18, 2007; Oct. 21, 2007; Oct. 29, 2007; Jan. 26, 2008; June 7, 2008 ;
March 10, 2011; and May 22, 2011. See Am. Compl. The Court does not make any findings regarding Iran's potential
liability for these attacks.

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    Karcher. See generally Karcher II. In addition to these materials and the Fritz, Karcher I, Karcher

    II, and Lee decisions themselves, the Court refers to the expert reports and affidavits submitted by

    plaintiffs in this case.

                         i. Expert Testimony

            To begin, the Court qualifies six individuals as experts. Plaintiffs provided the Court with

reports prepared by three experts-Michael Pregent, retired Colonel Kevin Lutz, and Russell L.

McIntyre-and requested that the Court take judicial notice of the remaining experts'

qualifications and their reports submitted in Karcher I. See Expert Report of Michael P. Pregent,

ECF No. 36-7 [hereinafter Pregent Rep., PX-155]; Consolidated Expert Report of Col. (Ret.)

Kevin Lutz for the 31 Non-Bellwether Karcher Attacks, ECF No. 35-2 [hereinafter Lutz Non-

Bellwether Karcher Attacks Rep.]; Consolidated Expert Report of Col. (Ret.) Kevin Lutz for the

24 Additional Attacks, ECF No. 35-3 [hereinafter Lutz Stearns Add'l Attacks Rep.]; Expert Report

of Russell L. McIntyre for the April 6, 2008 Rocket Attacks, ECF No. 35-4 [hereinafter McIntyre

Stearns Apr. 6, 2008 Attacks Rep.]. After reviewing these materials, the Court will grant this

request and take judicial notice of (1) the transcripts of the Karcher I bench trial and (2) the

Karcher I expert reports. See Fed. R. Evid. 201(b); Rimkus, 750 F. Supp. 2d at 171. The Court

therefore qualifies the following experts in this case:

                •   :Michael P. Pregent. The court qualifies Mr. Pregent as an expert in
                    "intelligence matters, including attribution of terror attacks and ...
                    evidence collection and analysis in the intelligence field."
                    12/06/2018 (AM) Tr. 173:3-7; see Pregent Rep., PX-155; see also
                    Lee, 518 F. Supp. 3d at 782; Karcher, 396 F. Supp. 3d at 18-19. 4




4
  In accordance with Lee and Karcher I, the Court uses a modified citation convention for evidence before the Karcher
I court. Any references to transcripts refer to those for the bench trial in Karcher I. See Lee, 518 F. Supp. 3d at 481
& n.2. Exhibits submitted in Karcher I are indicated by their title, "PX," and the exhibit number assigned during the
Karcher trial. Id.

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                  •    Captain (Ret.) Donald Wade Barker. The Court qualifies Captain
                       Barker5 as an expert on "IEDs, EFPs, and counter-IED technology."
                       12/04/2018 (AM) Tr. 10:8-12; see Expert Report of Capt. (Ret.)
                       Donald Wade Barker, PX-158 [hereinafter Barker Rep., PX-158];
                       see also Lee, 518 F. Supp. 3d at 482; Karcher, 396 F. Supp. 3d at
                       17.

                  •   Lieutenant General (Ret.) Michael L. Oates. The Court qualifies
                      Lieutenant General Oates as an expert "on the tactical and strategic
                      threats faced by the [U.S.] and Coalition Forces in Iraq [from] 2003
                      to 2008[,] ... including the spe_cific threat to US military forces
                      from IEDs and other ordnance, including EFPs." 12/03/2018 (AM)
                      Tr. 86:15-22; see Expert Report of Lieutenant Gen. (Ret.) Michael
                      L. Oates, PX-153 [hereinafter Oates Rep., PX-153]; see also Lee,
                      518 F. Supp. 3d at 481; Karcher, 396 F. Supp. 3d at 18.

                  •   Colonel (Ret.) Leo E. Bradley III. The Court qualifies Colonel
                      Bradley as an expert on the U.S. military's practices for explosive
                      ordnance disposal-including "locat[ ing], identify[ ing], render[ ing]
                      safe ... unexploded ordnance, [and] exploit[ing] and evaluat[ing]
                      that ordnance." 12/03/2018 (PM) Tr. 7:23-25, 8:1-2, 12:9-13; see
                      Expert Report of Colonel (Ret.) Leo E. Bradley III, PX-156
                      [hereinafter Bradley Rep., PX-156]; see also Lee, 518 F. Supp. 3d
                      at 481-82; Karcher, 396 F. Supp. 3d at 17-18.

                 •    Russell L. McIntyre. The Court qualifies Mr. McIntyre as an expert
                      "on IED threats to [U.S.] forces, specifically in Iraq between 2003
                      and 2011', ... with an additional focus on [EFPs]." 12/06/2018
                      (AM) Tr. 64:16-22; see Expert Report of Russell L. McIntyre, PX-
                      157 [hereinafter McIntyre Rep., PX-157]; see also Lee, 518 F. Supp.
                      3d at 482; Karcher, 396 F. Supp. 3d at 18.

                 •    Colonel (Ret.) Kevin Lutz. The Court qualifies Colonel Lutz as an
                      expert "in the use of explosive devices including IEDs and other
                      ordnance, by transnational terrorist organizations" and "the tactics,
                      techniques and procedures used by tenorist groups in Iraq between
                      2003 and 2011." 12/06/18 (AM) Tr. 15:4-11; see Expert Report of
                      Colonel (Ret.) Kevin Lutz, PX-159 [hereinafter Lutz Rep., PX-159];
                      see also Lee, 518 F. Supp. 3d at 482; Karcher, 396 F. Supp. 3d at
                      18.




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    For simplicity's sake, the Court omits the titles of plaintiffs' expert witnesses after the first reference.

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                   ii. Iran's Support for Proxy Forces in Iraq

        Mere months after Shi'a cleric Ayatollah Ruhollah Khomeini came to power in the Iranian

Revolution of 1979, he established the Islamic Revolutionary Guard Corps ("IRGC") to "ensure

there would be no backsliding in implementing [his] vision for an Islamic theocratic government

in Iran." McIntyre Rep., PX-157, at 4-5. To carry out its charge to "export[] revolution abroad,"

the IRGC created an "external operations directorate" known as the Qods Force. Oates Rep., PX-

156, at 11. The Qods Force "trains, advises[,] and logistically supports terrorist and insurgent

movements," including covert special operations activities. McIntyre Rep., PX-157, at 6. The

IRGC and Qods Force report directly to the Supreme Leader of Iran. Id. at 4.

        Shortly after its founding, the Iranian government sent IRGC members "to assist the

Lebanese Shi' a community to build a political movement and military" capable of resisting Israeli

forces. McIntyre Rep., PX-157, at 7. The IRGC settled on "newly-emerging Hezbollah" as its

target. Id. Hezbollah's leaders "swore an oath of fealty to Iran" and Ayatollah Khomeini as its

Supreme Leader. Id.      "In exchange for Hezbollah's unwavering dedication to Iran and its

revolutionary aims, Iran 'bankroll[ed], arm[ed,] and train[ed] Hezbollah." Lee, 518 F. Supp. 3d at

482 (quoting McIntyre Rep., PX-157, at 7).

       In recognition oflran's "support for acts of international terrorism" by using these forces,

the United States designated Iran as a state sponsor of terrorism on January 23, 1984. Statement

of Secretary of State George P. Schultz, 49 Fed. Reg. 2836 (Jan. 23, 1984). This designation arose

"in partial response" to Hezbollah's 1984 bombing of a U.S. Marine barracks in Beirut, Lebanon

that killed and injured hundreds of American troops. Va/ore v. Islamic Repub. of Iran, 700 F.

Supp. 2d 52, 67 (D.D.C. 2010); see also McIntyre Rep., PX-156, at 6 (ascribing responsibility for

this designation to "actions of the IRGC and the Qods Force").           Similar terrorism-related



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designations followed for the IRGC and Qods Force. See Karcher, 396 F. Supp. 3d at 22 (listing

designations).

        Operation Iraqi Freedom and the U.S. military's occupation of Iraq gave Iran an

opportunity to exploit the power vacuum left open by the downfall of Saddam Hussein's regime.

See Oates Rep., PX-153, at 16. Iran quickly moved to develop Shi'a proxies in Iraq to promote its

goals. See id. In 2003, Iran backed a "young and relatively low-ranking Shi'a cleric" named

Muqtada al-Sadr and his Office of the Martyr Sadr ("OMS"), which purported to speak "for Iraq's

disenfranchised Shi'a." Id. at 16-17. After a trip to Tehran, al-Sadr created an armed wing of the

OMS called Jaysh al-Mahdi ("JAM"). 12/03/2018 (AM) Tr. 99:22-100:6; Oates Rep., PX-153, at

17. With financial support from the Qods Force and training from Hezbollah, JAM "rapidly

expanded their territorial control" to encompass much of Baghdad. Oates Rep., PX-153, at 17; see

12/03/2018 (AM) Tr. 100:21-101:5.

       From 2003 to 2006, the IRGC used JAM and smaller militias termed "Special Groups" as

proxies to conduct terrorist operations against coalition forces in Iraq. McIntyre Rep., PX-157, at

16, 37-38. The Special Groups originally remained loyal to al-Sadr but received "training,

weapons[,] and operational direction" directly from Hezbollah and the Qods Force. Oates Rep.,

PX-153, at 23. Iraqi recruits often "made multiple trips to Iran or to camps in Lebanon maintained

by Hezbollah" to learn paramilitary and weapons skills. Pregent Rep., PX-155, at 12. Soon, the

Special Groups splintered from al-Sadr and JAM. In 2006, Iran invited Qais al-Khazali and Layth

al-Khazali, two of al-Sadr's subordinates, to Tehran. McIntyre Rep., PX-157, at 39. After Iran

promised to aid their efforts, Qais al-Khazali formed a Special Group named Asayb Ahl al-Haq

("AAH"). Id. at 38-39. AAH received funding from the IRGC, training from Hezbollah, and

weapons supplied by the Qods Force. 12/03/2018 (AM) Tr. 119:24-120:5. In this way, AAH was



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    not an "independent organization" but a "proxy of the Qods Force." Id. 120:19-22. Another

    Special Group was Kata'ib Hezbollah. 6 12/03/2018 (AM) Tr. 123:22-25. Kata'ib Hezbollah was

    a "whole-cloth creation of the IRGC." Id. According to Oates, the Qods Force was "the exclusive

    director" of Kata'ib Hezbollah's operations and supplied the group with weapons. Id. 124:7-8,

    19-21. These weapons included EFPs. Id. 124:5-8. By 2007, the Special Groups "accounted for

    almost half of the violence in Iraq" directed at coalition forces. Pregent Rep., PX-155, at 12. And

    at that time, "Iran, through [the] IRGC and the Qods Force, was estimated to be 'providing between ·

    $750,000 and $3 million worth of equipment and funding to the Special Groups every month."

Lee, 518 F. Supp. 3d at 483 (quoting Pregent Rep., PX-155, at 12).

                      iii. EFPs in Iraq

           Many of the attacks in this case involve a "uniquely lethal weapon" termed an "explosively

formed penetrator." Lee, 518 F. Supp. 3d at 475. EFPs became insurgents' weapon of choice in

Iraq to respond to the "up-armoring" of U.S. military vehicles. Barker Rep., PX-158, at 12. At

first, insurgents primarily attacked coalition forces with IEDs. Id. at 13. In response, the U.S.

military dev.eloped "heavily-armored [Humvees]" that could withstand JED blasts. Id. But EFPs

could still penetrate this armor, so EFP attacks soon became commonplace. Id. at 13-14; see

12/03/2018 (PM) Tr. 23:4-7 (explaining that insurgents used EFPs to respond to vehicles that

"could survive large underbody IEDs"). EFP attacks first occurred in July 2005 and persisted

through January 2011. Barker Rep., PX-158, at 14.

           EFPs' strength lies in their design. An EFP is built within a 3- to 12-inch diameter steel

pipe. Barker Rep., PX-156, at 6. One end is welded shut with a steel plate. Id. Inside this pipe,




6 Kata'ib Hezbollah was an Iraq-based organization, unlike Lebanese Hezbollah.   The Court's references to
"Hezbollah" refer to Lebanese Hezbollah unless otherwise noted.

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high-energy explosives are packed behind a "precision manufactured concave copper disk liner."

Id. at 6. The resulting explosion generates enormous pressure, reshaping the copper liner into a

metal slug traveling at "tremendous speed" with "significant[] . .. mechanical power." Id. at 6.

Because copper has a high melting point, the copper liner is "just malleable enough that it will

begin to shape" in midair, "but not so malleable that [it will] fly apart." 12/04/2018 (AM)

Tr. 13:20-22, 17:6-8. A single copper slug can "pierce through several inches of military grade

armor.'; Barker Rep., PX-158, at 7. Worse still, a·copper slug can "shatter [a] vehicle's armor and

materials inward, sending hundreds or even thousands of razor-sharp shards of Teflon and steel

ripping through the interior department." Id. The resulting heat can "ignite engine fuel and set

vehicles ablaze." Id.

       EFPs detonate only after being armed and triggered. Id. at 10. In Iraq, insurgents usually

armed EFPs by remote frequency or command wire. Id. Once armed, an EFP would be triggered

by a passive infrared device. Id. These devices could "detect the heat signature of," for example,

"a passing vehicle," then "send an electrical current that set off the explosion within the EFP's

casing." Id. Passive infrared ~ensors were used "almost exclusively . .. with EFPs." 12/03/2018

(PM) Tr. 26:13-15. The remote-triggering mechanisms allowed insurgents to "selectively target

U.S. [m]ilitary vehicles and thus avoid civilian casualties." Barker Rep., PX-158, at 12. And the

infrared triggers enabled insurgents to camouflage EFPs within the environment-for example, in

fake boulders or fake roadside curbs. See id. at 11.

       The U.S. military responded to EFP attacks in several ways. First, the military added armor

to the doors and windows of its armored vehicles and introduced "Mine-Resistant, Ambush

Protected" ("MRAP") vehicles carrying more armor than a typical Humvee. See id. Second, the

military created forensic units to analyze materials collected from EFP blasts and to develop
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countermeasures against EFPs. Id. at 15-16. These countermeasures included (1) heated pieces

of metal attached to poles held out in front of the vehicle, termed "Rhinos," and (2) radio jammers

that prevented insurgents from arming the EFPs. Id. at 16.

        None of these responses fully succeeded. "[N]o matter how much additional steel was

welded onto U.S. [m]ilitary vehicles, EFPs could still penetrate them." Id. at 15. General David

Petraeus even noted that MRAPs were susceptible to EFPs, explaining that a soldier died "in

eastern Baghdad when an [EFP] pierced the passenger side door of the MRAP in which he was

riding." Id. Insurgents also adapted to the U.S. military's countermeasures. After the military

deployed Rhinos on the front of their vehicles, insurgents began "angling [EFPs] backward" to

ensure their EFP charges still hit the targeted vehicles. Id. at 18. And soon after the military began

using radio jammers, "local Shi'a terror cells deployed new technology ... capable ofdefeating

[the military's] most high-tech [radio-jamming] equipment." Id. at 16.

       These sophisticated attacks and countermeasures were "beyond the capacity of individuals
                      '
with basic training in IED construction." Lee, 518 F. Supp. 3d at 484 (citations omitted); see

12/03/2018 (PM) Tr. 26:19-27:21 (opining that the "level of engineering and trigonometry"

required to conduct an EFP attack was not "within the abilities of an Iraqi insurgent without outside

assistance"). Expert testimony connected these attacks to Iran. Barker opined that "the Special

Groups and other Iranian-backed local Shi'a terror cells could not have deployed and

implemented" EFP technology "without the active involvement, training, equipment[,] and

support of the IRGC." Barker Rep., PX-158, at 16; cf 12/06/2018 (AM) Tr. 29:14--17 (stating that

the Special Groups "could not make these modifications as rapidly as they were doing" without

Iranian assistance). Barker further stated that Iranian agents "would build [EFPs] complete, [and]

bring them [into Iraq] as a complete total system, ready to go." 12/04/2018 (AM) Tr. 44:13-16.



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Similarly, Oates believed that the Shi'a insurgents' "rapid capability development" in weapons

training stemmed from "external assistance." 12/03/2018 (AM) Tr. 98:5-9.

        The U.S. military's forensic analysis also pointed squarely at Iran. The IRGC and Qods

Force "used long-established smuggling routes and trusted Iraqi operatives" to smuggle EFPs into

Iraq and supply them to Special Groups. Id.           And "[t]he U.S. military traced much of the

machinery used to manufacture the EFPs, high explosives[,] and [infrared] devices deployed in

Iraq to Iran and its illicit supply chain." Oates Rep., PX-153, at 25 (footnote omitted); see 12/06/18

(AM) Tr. 48:11-49:8 (highlighting steel shipments and passive infrared devices that Iran imported

into Iraq). A task force investigating EFPs even traced the "principal source" of EFP materials,

including precision-milled copper liners, to Iran. See 12/03/2018 (AM) Tr. 95:11-96:16.

                  iv. Mortar Rounds and Rockets in Iraq

       In addition to EFPs, Iran "supplied or bankrolled a number of types of weapons used by

Shi'a militia groups in Iraq." Karcher I, 396 F. Supp. 3d at 25. Some of the most notable non-

EFP weapons used by supported proxy forces in Iraq included 81mm mortar rounds, 107mm

rockets, and 240mm rockets in Iraq.

       Iran's connection to mortar rounds and smaller caliber rockets spans more than fifty years.

After Hezbollah "battle-tested" 107mm rockets against the Israel Defense Forces in southern

Lebanon in the 1980s, see 12/06/18 Tr. 15:25-16:5, 75:4-11; Lutz Rep., PX-157 at 59, "those same

weapons appear[ ed] in Iraq between 2003 and 2011," and were "supplied exclusively by the IRGC-

Qods Force." See 12/06/18 Tr. 109:5-10. As plaintiffs' expert McIntyre explained in his report

regarding the use of 107mm rockets and 81mm mortar rounds:

       The IRGC-QF and (Lebanese) Hezbollah trained their proxies on how to optimize
       their use against U.S. and Coalition Forces. In fact, Hezbollah significantly
       enhanced and was directly responsible for the accuracy and lethality of the Special
       Group 107mm rocket and mortar teams that conducted indirect fire attacks on U.S.

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            and Coalition Forward and Contingency Operating Bases in Iraq. Hezbollah
            developed and taught a special month-long training program in Iran for members
            of Iraqi Special Groups on tactics, techniques and procedures for the employment
            of 107mm rockets and mortars, drawing on its years of experience targeting Israeli
            security forces and population centers.

    McIntyre Stearns Apr. 6, 2008 Attacks Rep. at 1.

            Iran also has a history of supplying Improvised Rocket Assisted Munition-propelled

    240mm rockets ("!RAMs") to proxy forces in Iraq. !RAMs "were a signature weapon ofKata'ib

Hezbollah ('KH'), an Iranian-backed Shi'a militia Special Group that operated in southern Iraq."

See Barker Rep., PX-158, at 51 & n.88. !RAMs were constructed using an empty propane gas

tank filled with "C4" plastic explosives as well as nails and pieces of chain "for a shrapnel effect

which would be truly horrific." See 12/06/18 Tr. 110:4-15. In this sense, "!RAMs were an airborne

version of a roadside bomb, propelled by rockets - typically 107mm rockets provided by Iran -

and lobbed over the barriers that protected Coalition bases." See Barker Rep., PX-158, at 51 &

n.88. "IRAMs first appeared in Iraq in November 2007, and, like EFPs, were typically employed

against Coalition Forces in the Shi' a dominated areas of southern Iraq." Id. !RAMs were supplied

by the IRGC-Qods Force almost exclusively to Kata'ib Hezbollah. See 12/06/18 Tr. 110:17-22.

                D. Four Bellwether Attacks

           Plaintiffs allege injuries traceable to four of the seven bellwether attacks adjudicated in

Karcher I: 1) the January 20, 2007 attack in Karbala, see Am. Compl., fl 572-601; Karcher I,

396 F. Supp. 3d at 45-52; 7 2) the March 23, 2008 attack in Baghdad, see Am. Compl., ,r,r 1021-

62; Karcher I, 396 F. Supp. 3d at 38-40; 8 3) the May 9, 2008 attack in Baghdad, see Am.

Compl.,      fl 1119-34; Karcher I, 396 F. Supp. 3d at 40-42; and 4) the May 17, 2009 attack in


7
  Along with the Karcher I court, two other district courts have determined Iran to be responsible for this attack. See
Fritz, 320 F. Supp. 3d at 64-75; Lee, 518 F. Supp. 3d at 488-90.
8
    The Lee court also found Iran responsiple for this attack. 518 F. Supp. 3d at 486-87.

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    Baghdad, see Am. Compl., ,r,r 1229-68; Karcher I, 396 F. Supp. 3d at 42-45. 9 After taking

    judicial notice of the decision and conducting its own factual findings, Rimkus, 750 F. Supp. 2d

    at 172, the Court concludes that Iran was responsible for those attacks.

                          i. January 20, 2007 Attack

            In 2007, Private First Class ("Priv. 1st Class") Shawn Falter was serving as a member of

    the United States Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., ECF No. 36-66, at 27-

    28 (Falter Casualty Rep.). On January 20, 2007, Priv. 1st Class Falter was serving at the Provincial

    Joint Coordination Center in Karbala ("Karbala PJCC"), when several vehicles, driven by

    apparently :friendly forces, entered the center. Pregent Rep., PX-155, at 17.           Shortly thereafter,

individuals exited the vehicles, and proceeded to shoot, beat, and execute Priv. 1st Class Shawn

Falter and other U.S. soldiers. Id. at 18-19. Priv. 1st Class Falter's casualty report confirms that

he died during hostile action in Iraq on January 20, 2007 as a result of "[m]ultiple (2) gunshot

wounds of the head and neck." See Falter Casualty Rep.

            The Court finds satisfactory evidence in the record to demonstrate that the January 20,

2007 attack at the Karbala PJCC was traceable to Iran and its proxies. AAH, an IRGC-supported

Special Group, boldly claimed responsibility for the attack via video recordings, see 12/06/18 Tr.

223:4-17; id. at 225:20-228:1; Pregent Rep. at 7 & n.7, and on a website dedicated to one of the

attack's perpetrators, Pregent Rep. at 33 (citing AAH Website Capture (Nov. 10, 2010), PX-118);

see also 12/06/18 Tr. 181:19-182:5.                Pregent, in his expert opinion, believes the claims of

responsibility to be credible. 12/06/18 Tr. 225:20-226:3. Additionally, a U.S. satellite detected a

"training center in Iran that duplicate[d] the layout of the[] compound in Karbala, Iraq." Pregent

Rep., PX-155, at 27. As Pregent noted, "[t]hemock-up's very existence is direct evidence oflran's


9
    The Lee court also found Iran responsible for this attack. 518 F. Supp. 3d at 487-88.

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 involvement in planning, supplying and authorizing the [a]ttack, and training the men who carried

 it out." Id. at 28. Moreover, two months after the attack, U.S. forces raided the hideout of a'senior

 Hezbollah commander, who admitted to planning the attack. Id. at 35; 12/06/18 Tr. 189:3-11,

 222:2. The confession was corroborated through evidence, including a copy of the commander's

 journal, 12/06/18 Tr. 208:8-25, 232:4-22, and the wallet of a soldier killed in the attack, Pregent

 Rep., PX-155, at 31-35, uncovered during the raid, as well as identification of the commander's

 fingerprints on the vehicles driven by the assailants, id. at 33-34. After reviewing the available

 evidence of the attack, Pregent, in his expert opinion, "conclude[s] with a high degree of

 probability that Iran's IRGC and Hezbollah planned and orchestrated the January 20, 2007 attack

 on the Karbala Provincial Joint Coordination Center in Iraq, which was carried out at their direction

by AAH." Id. at 7. Based on the representations of plaintiffs' expert and the Court's review of

the materials before and findings by the Karcher I, Fritz, and Lee courts, this Court finds Iran

responsible for the January 20, 2007 attack by supporting proxy forces who conducted the attack.

                      ii. March 23, 2008 Attack

         In 2008, Sergeant ("Sgt.") Steve A. McCoy, Sgt. Matthew Fieser, Specialist ("Spc.")

Benjamin Carrington, and Sgt. Jonathan Heslop were serving as members of the United States

Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 9 (McCoy Casualty Rep.); id. at 10-

12 (Fieser Af£); id. at 13-18 (Carrington Aff.). 10 On March 23, 2008, Sgt. McCoy, Sgt. Fieser,

Spc. Carrington, and Sgt. Heslop were participating in a multi-vehicle convoy with several Iraqi

National Police vehicles leaving Forward Operating Base ("FOB") Falcon outside of Baghdad.

Lutz Karcher Rep., PX-159, at 49. The first and last vehicles in the convoy were armored M2



10
  It appears that the sworn statement provi,ded by Spc. Carrington to the AR 15-6 Investigation team was included
twice and Sgt. Heslop's sworn statement was inadvertently omitted from the plaintiffs' submission. See 28 U.S.C.
§ 1605A(a)(2)(A)(ii) App., at 8.


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 Bradleys. Id. Sgt. McCoy was seated in first vehicle; Sgt. Fieser, Spc. Carrington, and Sgt. Heslop

 were located in the last vehicle, along with First Lieutenant ("1st Lt.") Russell Mason. 12/04/2018

 (PM) Tr. 61 :23-62: 1. During the Karcher I trial, 1st Lt. Mason testified that he heard a "loud

 pop[,]" id. at 62:7-63 :6, and, upon inspection, he determined that the first Bradley had been struck

by an explosive. Id. at 65:3-10. He also observed Sgt. McCoy "completely engulfed in flames"

 as he fled the vehicle. Id. at 65: 15-66:9. Sgt. McCoy's casualty report listed his cause of death as

"septicemia due to thermal bums" sustained during hostile action. See McCoy Casualty Rep Sgt.

Fieser, Spc. Carrington, and Sgt. Heslop allegedly continue to suffer from physical and

psychological injuries as a result of their experience. See Am. Compl., at ,r,r 1034--62.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the March 23, 2008 attack in Baghdad was an EFP traceable to Iran arid its proxies.

Two experts testified during Karcher I that, in their expert opinion, an EFP was responsible for

the attack. Barker testified that the explosive device that detonated "was a precision-made, very

effective EFP" that "was powered on by the command wire and then detonated" when it sensed

the Bradley. 12/04/2018 (AM) Tr. 60:23--61 :6; Barker Rep., PX-158, at 43. Barker also concluded

in his report that, based on the damage to the heavily armored Bradley, "the EFP was precision

manufactured and copper-lined." Barker Rep., PX-158, at 43. Lutz similarly concluded that "the

large penetration hole of the Bradley's armor is indicative of a well-manufactured EFP that was a

signature of EFPs provided to Iranian-backed Special Groups by the IRGC and Iran's Hezbollah

proxy." Lutz Karcher Rep., PX-159, at 56. Based on the representations of plaintiffs' experts, the

Court's review of the materials before the Karcher I court, and the findings made by the Karcher

I and Lee courts, this Court finds Iran responsible for the March 23, 2008 EFP attack by supporting

proxy forces who conducted the attack.



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                      iii. May 9, 2008 Attack

          In 2008, Priv. 1st Class WesleyWilliamson 11 was serving as a member of the United States

 Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 20-21 (Williamson Extended Casualty

 Rep.). On May 9, 2008, Priv. 1st Class Williamson was serving as the gunner in the second vehicle

 of a multi-vehicle convoy traveling in Baghdad when an explosive struck his vehicle. See Barker

 Rep., PX-158, at 47. The blast caused Priv. 1st Class Williamson both physical and psychological

 injury. See Karcher I, 396 F. Supp. at 40--41.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the May 9, 2008 in Baghdad was an EFP traceable to Iran and its proxies. Reports

prepared by the U.S. military after the blast, reviewed by Barker, confirmed that the explosive

device left holes in Priv. 1st Class Wesley Williamson's vehicle in the same shape and size so as

to be consistent with EFPs, see Barker Rep., PX-158, at 47, that command wire was discovered at

the scene, id. at 46, and there had been a record of EFP attacks in the same area in the weeks before

the attack, id. at 48. After reviewing the available evidence and information, Barker concludes, in

his expert opinion, that the attack resulted from "a concealed, copper-lined EFP that was likely

command wire-armed and triggered. The copper slug from the weapon, moving in an upward

trajectory, defeated the vehicle's RHA, penetrated and destroyed the vehicle frame and struck

[Priv. 1st Class] Williamson." Id. at 49-50. In his own expert report, Lutz determined that the

attack "was part of the EFP campaign orchestrated by the IRGC and Hezbollah, that was conducted

by one of the IRGC's Special Group proxies." Lutz Karcher Rep., PX-.159, at 63. Based on the

representations of plaintiffs' experts as well as the Court's review of the materials before and



11
    A plaintiff related to Priv. 1st Class Williamson brings a claim stemming from this attack. See Am. CompI., at
,i,i 1133-34. Priv. 1st Class Williamson previously brought a claim stemming from the same attack in the Karcher I
case. See Am. Compl., Karcher, ECF No. 8, at ,i,i 949-63.

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 findings by the Karcher I court, this Court finds Iran responsible for the May 9, 2008 EFP attack

 by supporting proxy forces who conducted the attack.

                       iv. May 17, 2009 Attack

          In 2009, Staff Sergeant ("Staff Sgt.") Robert Canine, Spc. Rhett Murphy, Spc. Roady

 Landtiser, 12 and Spc. Nathan Richards 13 were serving as members of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 23 (Canine Purple Heart Award); id. at 24

(Murphy Purple Heart Perm. Order); id. at 25 (Landtiser Combat Infantryman Badge Perm. Order);

id. at 26 (Richards Purple Heart Award). On May 17, 2009, Staff Sgt. Canine, Spc. Murphy, Spc.

Landtiser, and Spc. Richards were riding in the lead vehicle of a four-vehicle convoy conducting

a patrol near Baghdad, 12/04/2018 (PM) Tr. 107:23-24, 109:1-7, when their vehicle was struck

by an explosive device that was hidden next to a light pole. Barker Rep., PX-158, at 50-51. As a

result of the blast, Staff Sgt. Canine suffered a double leg amputation. 12/04/2018 (PM) Tr. at

121 :15-122:1, 124:9-11. Staff Sgt. Canine, Spc. Murphy, Spc. Landtiser, and Spc. Richards

allegedly continue to suffer from physical and psychological injuries as a result of their experience.

See Am. Compl., at ,r,r 1229---68.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the May 17, 2009 attack in Baghdad was an EFP traceable to Iran and its proxies.

Barker identified the explosion as an EFP array that was "precision manufactured and copper-

lined." Barker Rep., PX-158, at 56. He noted that the attacked "unit was operating in territory



12
  The Amended Complaint uses the spelling "Landtiser" while a previous opinion used the spelling " Lanteizer."
Compare Am. Compl., at ,r 1251 ("Plaintiff Roady Lantiser") with Lee, 518 F. Supp. 3d at 487 ("servicemember[] ...
Roady Lanteizer."). This Court will use the spelling as provided by the plaintiffs in this case.
13 Plaintiffs related to Staff Sgt. Canine and Spc. Richards bring claims stemming from this attack. See Am. Compl.,
at ,r,r 1229-42; 1260-68. Different plaintiffs related to Staff Sgt. Canine and Spc. Richards previously brought claims
stemming from the same attack in the Karcher and Lee cases. See Am. Compl., Karcher, at ,r,r 949-63 ; Am. Compl.,
Lee, ECF No. 12, at ,r,r 1133-42.

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that previously experienced kinetic events directed by Iranian-backed Special Groups," id., which

is supported by the fact that there had been "three previous EFP attacks within 3 miles and 25 days

of this event," Task Force Troy, JED Event Storyboard (May 17, 2009), PX-133, at 20. Lutz

likewise concluded that "[t]he attack involved the use of a concealed, copper-lined EFP that was

likely remotely armed and [passive infra-red] triggered." Lutz Karcher Rep., PX-159, at 71. After

examining on the damage to the vehicle, Lutz opined that the EFP was "precision manufactured"

and was likely "of original Hezbollah and IRGC design that was supplied by the IRGC." Id. at

70-71. Based on the representations of plaintiffs' experts, the Court's review of the materials

before the Karcher court, and the findings made by the Karcher and Lee courts, this Court finds

Iran responsible for the May 17, 2009 EFP attack by supporting proxy forces who conducted the

attack.

              E. Non-Bellwether Attacks

          Plaintiffs allege injuries traceable to 31 of the 73 non-bellwether attacks adjudicated in

Karcher II:

              1. October 6, 2005 Attack in Baghdad, see Am. Compl., at ,r,r 193-230; Karcher II,
                  2021 WL 133507, at *15;
             2. April 12, 2006 Attack in Misiab, see Am. Compl., at ,r,r 284-92; Karcher II, 2021
                 WL 133507, at *18-19;
             3. April 25, 2006 Attack in Baghdad, see Am. Compl., at ,r,r 293-303; Karcher II,
                 2021 WL 133507, at *19;
             4. May 5, 2006 Attack in Mahawil, see Am. Compl., at ,r,r 363-77; Karcher II, 2021
                 WL 133507, at *19-20;
             5. June 5, 2006 Attack in Baghdad, see Am. Compl., at ,r,r 378-428; Karcher II,
                 2021 WL 133507, at *21;
             6. June 8, 2006 Attack in Al Kut, see Am. Comp!., at ,r,r 429-36; Karcher II, 2021
                 WL 133507, at *22;
             7. October 17, 2006 Attack in Baqubah, see Am. Compl., at ,r,r 468-74; Karcher II,
                 2021 WL 133507, at *23;
             8. November 2, 2006 Attack in Baghdad, see Am. Compl., at ,r,r 497-514; Karcher
                 II, 2021 WL 133507, at *24-25;
             9. December 3, 2006 Attack in Baghdad, see Am. Comp!., at ,r,r 531-36; Karcher II,
                 2021 WL 133507, at *27;


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   10. January 22, 2007 Attack in Baghdad, see Am. Compl., at ,r,r 602-07; Karcher II,
        2021 WL 133507, at *31;
   11. January 25, 2007 Attack in Baghdad, see Am. Compl., at ,r,r 608-15; Karcher II,
        2021 WL 133507, at *32;
   12. March 20, 2007 Attack in Baghdad, see Am. Compl., at ,r,r 641-48; Karcher II,
        2021 WL 133507, at *32-33;
   13. April 29, 2007 Attack in Baghdad, see Am. Compl., at ,r,r 657--66; Karcher II,
        2021 WL 133507, at *37- 38;
   14. May 3, 2007 Attack in Musayyib, see Am. Compl., at ,r,r 667-72; Karcher II,
       2021 WL 133507, at *38;
   15. May 6, 2007 Attack in Baghdad, see Am. Compl., at ml 673-78; Karcher II, 2021
       WL 133507, at *40-41; ·
   16. May 6, 2007 Attack in Baghdad, see Am. Compl., at ,r,r 679-90; Karcher II, 2021
       WL 133507, at *39-40;
   17. May 8, 2007 Attack in Salman Pak, see Am. Compl., at ,r,r 691-700; Karcher II,
       2021 WL 133507, at *41-42;
   18. June 14, 2007 Attack in Scania, see Am. Compl., at ,r,r 752-58; Karcher II, 2021
       WL 133507, at *45;
   19. July 6, 2007 Attack in Sadr City, see Am. Compl., at ,r,r 806-13; Karcher II, 2021
       WL 133507, at *47
  20. July 17, 2007 Attack in Baghdad, see Am. Compl., at ,r,r 822-27; Karcher II,
       2021 WL 133507, at *48;
  21. December 1, 2007 Attack in Baghdad, see Am. Compl., at ,r,r 937-43; Karcher II,
       2021 WL 133507, at *48-49;
  22. January 6, 2008 Attack in Baghdad, see Am. Compl., at ,r,r 944-80; Karcher II,
       2021 WL 133507, at *49-50;
  23. March 17, 2008 Attack in Baghdad, see Am. Compl., at ml 1015-20; Karcher II,
       2021 WL 133507, at *50;
  24. March 31, 2008 Attack in Baghdad, see Am. Compl., at ,r,r 1063--68; Karcher II,
       2021 WL 133507, at *52;
  25. April 7, 2008 Attack in Sadr City, see Am. Compl., at ,r,r 1091-96; Karcher II,
       2021 WL 133507, at *52-53;
  26. August 4, 2008 Attack in Baghdad, see Am. Compl., at ,r,r 1167-72; Karcher II,
       2021 WL 133507, at *54-55;
  27. August 26, 2008 Attack in Sadr City, see Am. Compl., at ,r,r 1183-92; Karcher II,
      2021 WL 133507, at *55;
  28. January 10, 2009 Attack in Baghdad, see Am. Compl., at ,r,r 1198-1217; Karcher
      II, 2021 WL 133507, at *57-58;
  29. January 18, 2009 Attack in Baghdad, see Am. Compl., at ml 1218-28; Karcher II,
      2021 WL 133507, at *58;
  30. September 8, 2009 Attack in Tikrit, see Am. Compl., at ,r,r 1278-83; Karcher II,
      2021 WL 133507, at *61; and
  31. April 27, 2010 Attack in Khalis, see Am. Compl., at ,r,r 1284-96; Karcher II,
      2021 WL 133507, at *61--62.




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        After taking judicial notice of the decision and conducting its own factual findings,

Rimkus, 750 F. Supp. 2d at 172, the Court concludes that Iran was responsible for those attacks.

                    i. October 6, 2005 Attack

        On October 6, 2005, Sgt. Steven Vernier, Jr., Sgt. Alvis Bums, and Spc. Brian Radke were

serving as members of the United States Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App.,

at 30 (Radke Purple Heart Award); id. at 31-32 (Vernier Extended Casualty Rep.); Oct. 6, 2005

Attack-Baghdad Rep., ECF No. 36-8, at 71-72 (Bums Casualty Rep.). Sgt. Vernier, Sgt. Bums,

and Spc. Radke were passengers in the lead vehicle of a three-vehicle convoy traveling along the

Vernon main supply route in western Baghdad when their vehicle was struck by a multi-array

explosive.   Lutz Non-Bellwether Karcher Attacks Rep. at 6.            The explosion cast shrapnel

throughout the vehicle, hitting Sgt. Vernier, Jr., see Vernier Extended Casualty Rep., and hitting

Sgt. Bums in the head and legs, see Bums Casualty Rep. Sgt. Vernier, Sgt. Bums, and Spc. Radke

allegedly continue to suffer from physical and psychological injuries as a result of their experience.

See Am. Compl., at ,r,r 193-230.

       The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the October 6, 2005 attack in Baghdad was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, "believed" the responsible

device "to be an EFP[,]" Lutz Non-Bellwether Karcher Attacks Rep. at 6, and that the "main

charge configuration" of the weapon at issue was an "EFP." Id. Furthermore, investigators on the

ground reported that "3-4 EFPs were probably used with approx[imately] lLB of explosives per

EFP" in the attack, and that the "damage to the vehicle had copper and silver colored scarring"

indicative of EFP damage. Id. at 7. Finally, the record includes photographic evidence of the

damage caused by the blast, including photographs of the defeated armor on the passenger door of



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 the up-armored HMMWV [hereinafter "Humvee"]. Id. at 7-8. After reviewing the available

 evidence of the attack, Lutz concludes, in his expert opinion, that the attack "was part of the EFP

 campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's
                                           I


 Hezbollah-trained Special Group proxies." Id. at 8.

          Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

 unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

 findings made by the Karcher II court, the Court finds Iran responsible for the October 6, 2005

 EFP attack by supporting proxy forces who conducted the attack.

                       ii. April 12, 2006Attack

          In 2006, Spc. Scott Bandhold 14 was serving as a member of the United States Army in Iraq.

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 34 (Bandhold Casualty Rep.). On April 12,

2006, Spc. Bandhold was traveling in the second vehicle of a four-vehicle military convoy in

Misiab when a multi-array explosive detonated and struck Spc. Bandhold's vehicle, killing him.

Lutz Non-Bellwether Karcher Attacks Rep. at 10. Spc. Bandhold's casualty report confirms that

he died during hostile action in Misiab, Iraq on April 12, 2006 as a result of "[b ]last and shrapnel

injuries." See Bandhold Casualty Rep.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the April 12, 2006 attack in Misiab was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, record the "Modes of

Attack" as a "Directional JED," and note that Spc. Bandhold's vehicle was struck with "an EFP."

Lutz Non-Bellwether Karcher Attacks Rep. at 11.                     Furthermore, investigators on the scene



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    Plaintiffs related to Spc. Bandhold bring claims stemming from this attack. See Am. Comp!., at ,nr 288-92. Different
plaintiffs related to Spc. Bandhold previously brought claims in the Karcher JI case. See Am. Comp!., Karcher, at
,r,r 249-51.

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 recovered copper fragmentation from the attack site and expressly concluded that "[t]he second

 vehicle ... was hit by an EFP array consisting of at least 5 EFPs." Id. Finally, the photographic

evidence in the record shows severe damage inflicted upon Spc. Bandhold's vehicle, an up-
                                               I

armored Humvee. Id. at 13-15. Lutz's expert evaluation is that the attack "involved the µse of a

multi-array copper-lined EFP" and that "the attack that killed [Spc.] Bandhold was part of the EFP

campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's

Hezbollah-trained Special Group proxies." Id. at 16.

        Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the April 12, 2006 EFP

attack by supporting proxy forces who conducted the attack.

                  iii. April 25, 2006 Attack

        In 2006, Staff ~gt. Luke Murphy was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 36 (Murphy Purple Heart Award). On April 25,

2006, Staff Sgt. Murphy was traveling in a vehicle in Baghdad as part of a convoy when an

explosive struck his vehicle, setting the vehicle on fire. See id. at 18. The explosive charge

amputated Staff Sgt. Murphy's right leg. See Apr. 25, 2006 Attack-Baghdad Rep., ECF No. 36-

10, at 10-11. He also suffered shrapnel to back and fractures to his left leg. Id.

       The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the April 25, 2006 attack in Baghdad was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, state that "P[ost] B[last]

A[nalysis] determined the IED strike to be a multiple array EFP, initiation system unknown." See

Lutz Non-Bellwether Karcher Attacks Rep. at 19. Moreover, photographic evidence from the



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 blast shows a clear "exit wound" hole in the rear passenger door of the armored vehicle as well as

 near-total incineration of the up-armored Humvee. See id. at 20; Apr. 25, 2006 Attack-Baghdad

 Rep., at 58-100. After reviewing the available evidence of the attack, Lutz concludes, in his expert

 opinion, "that the attack that injured ... [Staff Sgt.] Murphy ... was part of the EPP campaign

 orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's Hezbollah-

 trained Special Group proxies." Lutz Non-Bellwether Karcher Attacks Rep. at 22.

         Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

 unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

 findings made by the Karcher II court, the Court finds Iran responsible for the April 25, 2006 EPP

attack by supporting proxy forces who conducted the attack.

                      iv. May 5, 2006 Attack

         In 2006, First Sergeant ("lst Sgt.") Carlos Saenz and Sgt. Nathan Vacho 15 were serving as

members of the United States Army in Baghdad, Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App.,

at 66 (Saenz Casualty Rep.); id. at 67 (Vacho Casualty Rep.). On May 5, 2006, Sgt. Vacho and

1st Sgt. Saenz were traveling in the lead vehicle of a four-vehicle convoy returning from a combat

patrol mission in Mahawil when their vehicle was struck by a multi-array explosive, causing their

vehicle to careen into an oncoming dump truck. See Lutz Non-Bellwether Karcher Attacks Rep.,

at 23-24. The collision instantly killed Sgt. Vacho. Id. at 57. The blast also seriously wounded

1st Sgt. Saenz, who later died from those injuries during his medevac flight to the hospital. Id.

Sgt. Vacho's casualty report confirms that he died during hostile action on May 5, 2006 as a result

of "[b ]last and blunt force injuries." See Vacho Casualty Rep. 1st Sgt. Saenz' s casualty report



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    Plaintiffs related to 1st Sgt. Saenz and Sgt. Vacho bring claims stemming from this attack. See Am. Compl., at
,i,i 367-71; 376-77. Different plaintiffs related to 1st Sgt. Saenz and Sgt. Vacho previously brought claims in the
Karcher II case. See Am. Compl., Karcher, at ,i,i 269-72; 277-82.

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confirms that he died during hostile action on May 5, 2006 as a result of "[b ]last injuries of the

pelvis and lower extremities." See Saenz Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the May 5, 2006 attack in Mahawil was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, state that the IED that

struck Sgt. Vacho and 1st Sgt. Saenz's vehicle "was a[n] EFP 5 to 8 array, [long range cordless

telephone armed] with a PIR trigger," and that the "Main Charge Configuration" from the blast

was an "EFP." Lutz Non-Bellwether Karcher Attacks Rep. at 27. Additionally, the record

contains extensive photographic evidence demonstrating the damage inflicted upon Sgt. Vacho

and 1st Sgt. Saenz's vehicle, an up-armored Humvee, by the blast, including "distinct holes in

armor of the driver's side rear door made by the EFP array." Id. at 30-31. After reviewing the

available evidence of the attack, Lutz concludes, in his expert opinion, that "the attack that killed

[1st Sgt.] Saenz and [Sgt.] Vacho was part of the EFP campaign orchestrated by the IRGC and

Hezbollah, that was conducted by one of the IRGC's Special Group proxies." Id. at 32.

       Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the May 6, 2005 EFP

attack by supporting proxy forces who conducted the attack.

                   v. June 5, 2006 Attack

       In 2006, Staff Sgt. Ame Eastlund, Corporal ("Cpl.") James Shepard, Sgt. John P. Sklaney,

III, and Spc. Matthew Adamson were serving as members of the United States Army in Iraq. See

28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 41-42 (Eastlund Aff.); id. at 44-45 (Shepard Aff.); id. at

47-50 (Sklaney Aff.); id. at 43 (Adamson Combat Action Badge Perm. Order). On June 5, 2006,



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SSG Eastlund, Spc. Adamson, Cpl. Shepard, and Sgt. Sklaney were traveling south along New

Five Road in Baghdad with a four-vehicle convoy. See Lutz Non-Bellwether Karcher Attacks

Rep. at 33. Cpl. Shepard, Sgt. Sklaney, and Spc. Adamson were traveling together in the first

vehicle. See June 5, 2006 Attack-Baghdad Rep., ECF No. 36-12, at 71. Staff Sgt. Eastlund was

driving the third vehicle within the military convoy, id. at 82, when an explosive device struck the

right side of his armored vehicle, injuring him and killing his passenger, Sgt. Isaac Lawson. See

Lutz Non-Bellwether Karcher Attacks Rep. at 33. While attempting to respond to the explosion,

Staff Sgt. Eastlund, Cpl. Shepard, Sgt. Sklaney, and Spc. Adamson observed and handled Sgt.

Lawson's mutilated body. See June 5, 2006 Attack-Baghdad Rep. at 74. Additionally, Staff Sgt.

Eastlund sustained "cuts [to his face], a broken right index finger, lower back pain, right hip pain,

loss of hearing in [his] right ear, smoke inhalation, and superficial burns on [his] right thigh." Id.

at 83. Staff Sgt. Eastlund, Cpl. Shepard, Sgt. Sklaney, and Spc. Adamson allegedly continue to

suffer from physical and psychological injuries as a result of their experience. See Am. Compl.,

at ,r,r 378-428.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the June 5, 2006 attack in Baghdad was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, determined that "an EFP

detonated in proximity to the third vehicle in the four-vehicle convoy, resulting in lX [ ] KIA

["killed in action"] and lX driver WIA ["wounded in action"][,]" that the "blast penetrated the

level 1 armor on the front passenger[']s side, and caused damage to the inside of the vehicle[,]"

and that the "Main Charge Configuration" of'the explosive device was determined to be an "EFP."

Lutz Non-Bellwether Karcher Attacks Rep. at 34. Investigators also recovered "one copper slug

and a number of copper fragments" from the blast site. Id. The record contains photographic



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 evidence demonstrating the extensive damage inflicted upon the up-armored Hm;nvee by the blast.

 Id. at 38-39, 41-43. After reviewing the available evidence of the attack, Lutz concludes, in his

 expert opinion, that the attack "was part of the EFP campaign orchestrated by the IRGC and

 Hezbollah that was conducted by one of the IRGC's Hezbollah-trained Special Group proxies."

Id. at 43.

          Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the June 5, 2006 EFP

attack by supporting proxy forces who conducted the attack.

                       vi. June 8, 2006 Attack

         In 2006, Sergeant First Class ("Sgt. 1st Class") Daniel Crabtree 16 was serving as a member

of the United States Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 52 (Crabtree

Casualty Rep.). On June 8, 2006, Sgt. 1st Class Crabtree was traveling along Alternate Supply

Route Roswell in Al Kut with a military convoy consisting of a U.S. Army Special Forces

Operational Detachment team. See Lutz Non-Bellwether Karcher Attacks Rep. at 45. At the time,

Sgt. 1st Class Crabtree was the vehicle commander of an up-armored Humvee. See June 8, 2006

Attack-Al Kut Rep., ECF No. 36-13, at 11. An explosive device struck Sgt. 1st Class Crabtree's
                                                                                       I



armored vehicle, killing him and the local Iraqi interpreter in the vehicle. See Lutz Non-Bellwether

Karcher Attacks Rep. at 45. Sgt. "1st Class Crabtree's casualty report confirms that he was killed

in hostile action on June 8, 2006, in Al Kut, Iraq. See Crabtree Casualty Rep.




16
  Plaintiffs related to Sgt. 1st Class Crabtree bring claims stemming from this attack. See Am. Compl., at ,r,r 433-36.
Different plaintiffs related to Sgt. 1st Class Crabtree previously brought claims in the Karcher II case. See Am.
Compl., Karcher, at ,r,r 310-14.

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         The Court finds satisfactory evidence in the record to demonstrate that the explosive

 responsible for the June 8, 2006 in Al Kut attack was an EPP traceable to Iran and its proxies. As

 Lutz explains in his expert report, "[s]ince this is one of the earlier ... attacks on record and

 involved an attack on a Special Forces unit, the record ... is somewhat spar[s]e." Lutz Non-

Bellwether Karcher Attacks Rep. at 46. Nonetheless, the Significant Activities ("SIGACT")

report from the attack affirmatively indicates that Sgt. 1st Class Crabtree's team "was attacked

with [] an EPP JED on ASR Roswell," and that "2X [Humvees] were ... damaged in the attack."

Id. at 45. After reviewing the available evidence of the attack, Lutz concludes, in his expert

opinion, that the June 8, 2006 attack "involved the use of an EPP" and "was part of the EPP

campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's

Hezbollah-trained Special Group proxies." Id. at 46.

         Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the June 8, 2006 EPP

attack by supporting proxy forces who conducted the attack.

                    vii. October 17, 2006 Attack

         In 2006, Staff Sgt. Ryan Haupt 17 was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 54 (Haupt Casualty Rep.). On October 17,

2006, Staff Sgt. Haupt was driving the second vehicle of a four-vehicle convoy near Baqubah

when a multi-array explosive device struck Staff Sgt. Haupt's vehicle, killing him almost

instantaneously. See Lutz Non-Bellwether Karcher Attacks Rep. at 47. Staff Sgt. Haupt's casualty



17
  Plaintiffs related to Staff Sgt. Haupt bring claims stemming from this attack. See Am. Compl., at ,i,i 472-74.
Different plaintiffs related to Staff Sgt. Haupt previously brought claims in the Karcher II case. See Am. Compl.,
Karcher, at ,i,i 336-41.

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report confirms that he was killed in hostile action on October 17, 2006, in Baqubah, Iraq. See

Haupt Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the October 17, 2006 attack in Baqubah was an EFP traceable to Iran and its

proxies. Reports prepared by the U.S. military after the blast, reviewed by Lutz, identify the main

charge configuration of the explosive device as "EFP," Lutz Non-Bellwether Karcher Attacks

Rep. at 49, note that the attack involved "an array of at least 8 EFPs due to the amount of large

points of penetration[,]" id., and state that "the scene [of the blast] indicated that the vehicle was

struck by an EFP due to the copper residue evident at the spots where the armor was penetrated."

Id. at 48-49. The record also includes photographic evidence of the damage inflicted upon Staff

Sgt. Haupt's vehicle, an up-armored Humvee, as well as copper residue and copper fragmentation

left at the scene. See id. at 50-51. After reviewing the available evidence of the attack, Lutz

concludes, in his expert opinion, "that the attack that killed [Staff Sgt.] Haupt ... was part of the

EFP campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's

Hezbollah-trained Special Group proxies." Id. at 52.

       Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the October 17, 2006

EFP attack by supporting proxy forces who conducted the attack.

                 viii. November 2, 2006

       In 2006, Lieutenant Colonel ("Lt. Col.") Paul Finken was serving as a member of the

United States Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 56 (Finken Casualty

Rep.). On November 2, 2006, Lt. Col. Finken was traveling in the lead vehicle of a four-vehicle



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convoy in Baghdad when a multi-array explosive struck his vehicle. See Lutz Non-Bellwether

Karcher Attacks Rep. at 53. The slug from the explosion "penetrated the crew compartment

between the passenger side front and rear doors, traveling up and back through the crew

compartment, and exiting the vehicle above the left rear seat." Id. The attack killed Lt. Col.

Finken. Id. at 53 & n.2. Lt. Col. Finken's casualty report confirms that he died during hostile

action in Baghdad, Iraq on November 2, 2006 as a result of "[b ]last and shrapnel injuries." See

Finken Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the November 2, 2006 attack in Baghdad was an EFP traceable to Iran and its

proxies. Reports prepared by the U.S. military after the blast, reviewed by Lutz, state that Lt. Col.

Finken's armored vehicle "was struck by a large copper EFP," Lutz Non-Bellwether Karcher

Attacks Rep. at 55, that the vehicle "was hit on the [front passenger] door by a large copper EFP

... resulting in one six-inch round penetration," id., and that the explosive device was "angled to

compensate for the presence of' an anti-IED device on the vehicle, id. at 54. The record also

contains photographic evidence from the attack site depicting the damage inflicted by the blast,

including the complete penetration holes on Lt. Col. Finken's armored vehicle, an up-armored

Humvee, id. at 56-58, and documenting the recovery of multiple copper slugs. See id. at 58. After

reviewing the available evidence of the attack, Lutz concludes, in his expert opinion, that the attack

that killed Lt. Col. Finken "was part of the EFP campaign orchestrated by the IRGC and Hezbollah

that was conducted by one of the IRGC's Hezbollah-trained Special Group proxies." Id.

       Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the




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 findings made by the Karcher II court, the Court finds Iran responsible for the November 2, 2006

 EFP attack by supporting proxy forces who conducted the attack.

                     ix. December 3, 2006 Attack

        In 2006, Sgt. Joshua Starkey was serving as a member of the United States Army in Iraq.

 Dec. 3, 2006 Attack- Baghdad Rep., ECF. No. 36-16, at 11-14 (Starkey AR 15-6 Invest. Rep.).

 On December 3, 2006, Sgt. Starkey was driving the lead vehicle of a multi-vehicle combat patrol

traveling in Baghdad when an explosive device struck his vehicle. See Lutz Non-Bellwether

Karcher Attacks Rep. at 60. Sgt. Starkey sustained injuries to his head and shoulder as a result of

the blast. See Dec. 3, 2006 Attack - Baghdad Rep., at 23 (Starkey Aff.). Sgt. Starkey allegedly

continues to suffer from physical and psychological injuries as a result of his experience. See Am.

Compl., at ,r 535.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the December 3, 2006 attack in Baghdad was an EFP traceable to Iran and its

proxies. Reports prepared by the U.S. military after the blast, reviewed by Lutz, indicate that the

"[d]amage to [Sgt. Starkey's] vehicle is consistent with a multiple array, copper-lined EFP," that

the main charge configuration of the explosive device was an "EFP," and that the explosive device

responsible for the blast "was an EFP based on fragmentation and penetration patterns." Lutz

Non-Bellwether Karcher Attacks Rep. at 62. The record also contains photographic evidence

depicting the penetration points in the armor on Sgt. Starkey's vehicle, an up-armored Humvee,

see id. at 63, including the presence of copper residue left around the penetration holes of the

vehicles, which "is a typical trademark of a copper-lined EFP." Id. Lutz identifies in his expert

report a video from Kata'ib Hezbollah displaying the December 3, 2006 attack and claiming

responsibility       for     that     attack.           See        id.     at     64.       (citing



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 https//archive.org/details/KataibHezbollahhezballahBrigades-Efp3 l 22006). After reviewing the

 available evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that [injured

 Sgt. Starkey] was part of the EFP campaign orchestrated by the IRGC and Hezbollah that was

 conducted by one of the IRGC's Hezbollah-trained Special Group proxies." Id.

          Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

 unique physical characteristics of the attack, the fact that a known Iran-supported proxy force

 claimed credit for the attack, the representations of plaintiffs' expert, and the findings made by the

Karcher II court, the Court finds Iran responsible for the December 3, 2006 EFP attack by

 supporting proxy forces who conducted the attack.

                        x. January 22, 2007 Attack

          In 2007, Spc. Brandon Stout 18 was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 65 (Stout Casualty Rep.). On January 22, 2007, Spc.

Stout was driving the fourth vehicle of a five-vehicle convoy traveling south on Route Pluto

towards FOB Rustamiyah in Baghdad when a multi-array explosive emplaced on the side of the

road struck the right side of Spc. Stout's vehicle. See Lutz Non-Bellwether Karcher Attacks Rep.

at 65. The blast blew open the driver's side door of Spc. Stout's vehicle and caused the vehicle to

swerve into a nearby tree and fence. See id. The impact caused Spc. Stout and a local Iraqi

interpreter to be ejected from the vehicle. Id. at 66. Spc. Stout was found dead "approximately 20

meters behind the site the Mll 14 Humvee stopped." Id. Spc. Stout's casualty report confirms

that he died during hostile action in Baghdad, Iraq on January 22, 2007 as a result of "[b ]last and

ballistic fragment injuries." See Stout Casualty Rep.



18
   A plaintiff related to deceased Spc. Stout brings a claim stemming from this attack. See Am. Compl., at ,i,i 606---07.
Different plaintiffs related to Spc. Stout previously brought claims in the Karcher II case. See Am. Compl., Karcher,
at ,i,i 529-31.

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        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the January 22, 2007 attack in Baghdad was an EFP traceable to Iran and its

proxies. Reports prepared by the U.S. military after the blast, reviewed by Lutz, note that Spc.

Stout's vehicle "was struck on the right side by a multiple-array EFP," Lutz Non-Bellwether

Karcher Attacks Rep. at 66, that the "multiple array of entry points in the vehicle and the location

of the detonation indicate that this was most likely a command detonated EFP," id. at 69-70, and

that the attack site had been "a hotspot for EFP activity." Id. at 67. Additionally, the record

contains photographic evidence depicting this penetration damage inflicted upon Spc. Stout's

vehicle, an up-armored Humvee, from the blast. See id. at 68----69. After reviewing the available

evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that killed [Spc.]

Brandon L. Stout was part of the EFP campaign orchestrated by the IRGC and Hezbollah that was

conducted by one of the IRGC's Hezbollah-trained Special Group proxies." Id. at 71.

        Based on the evidence provided by plaintiffs showing the lethality, sophistication, and
                                                                   I

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the January 22, 2007

EFP attack by supporting proxy forces who conducted the attack.

                  xi. January 25, 2007 Attack

        In 2007, Sgt. Michael C. Balsley was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 67 (Balsley Death Cert.). On January 25, 2007,

Sgt. Balsley was driving the lead vehicle of a four-vehicle patrol traveling east on an unnamed

route in New Baghdad when a multi-array explosive emplaced on the side of the road struck the

driver's side of Sgt. Balsley's vehicle. See Lutz Non-Bellwether Karcher Attacks Rep. at 74. The

blast penetrated the vehicle and killed Sgt. Balsley. See id. Sgt. Balsley's death certificate lists



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 his cause of death as "blast injuries" and the interval between onset and death as "instantaneous."

 See Balsley Death Cert.

          The Court finds satisfactory evidence in the record to demonstrate that the explosive

 responsible for the January 25, 2007 attack in Baghdad was an EFP traceable to Iran and its

 proxies. Reports prepared by the U.S. military after the blast, reviewed by Lutz, note "that the

 device used in the attack was a 4 array EFP," Lutz Non-Bellwether Karcher Attacks Rep. at 74,

 that the main charge configuration from the blast was "EFP," id., and that the attack demonstrated

 the continued targeting of Coalition Forces in the East Baghdad Area, id. The record also contains

photographic evidence depicting the penetration points on Sgt. Balsley's vehicle, an up-armored

Humvee, inflicted by an EFP array. See id. at 76. After reviewing the available evidence of the

attack, Lutz concludes, in his expert opinion, "that the attack that killed ... [Sgt.] Balsley was part

of the EFP campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the

IRGC's Hezbollah-trained Special Group proxies." Id. at 78.

         Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the January 25, 2007

EFP attack by supporting proxy forces who conducted the attack.

                     xii. March 20, 2007 Attack19

         In 2007, Spc. Curtis Glawson, Jr. 20 was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 69 (Glawson Casualty Rep.). On March 20,



19
  Pls.' PFFCL corrected the date of the attack to be March 20, 2007, instead of March 30, 2007, as indicated in the
amended complaint. Pls.' PFFCL, at 11.
20
  Plaintiffs related to Spc. Glawson bring claims stemming from this attack. See Am. Comp I., at ml 645-48. Different
plaintiffs related to Spc. Glawson previously brought claims in the Karcher II case. See Am. Compl., Karcher, at
ml 551-56.

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2007, Spc. Glawson was departing from FOB Falcon on a combat patrol mission near Baghdad

with a convoy consisting of three Humvees and a 10-ton M984/Al up-armored Heavy Expanded

Mobility Tactical Truck ("HEMTT") wrecker. See Lutz Non-Bellwether Karcher Attacks Rep. at,

79. Spc. Glawson was riding in the HEMTT wrecker, acting as the vehicle's commander, when a

multi-array explosive struck the vehicle's right side, destroying it and killing Spc. Glawson. See

id. Spc. Glawson' s casualty report confirms that he was killed in hostile action on March 20, 2007,

in Baghdad, Iraq. See Glawson Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the March 20, 2007 attack in Baghdad was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirm that a "multi-array

EFP strike on the HEMTT wrecker pierced the passenger door and the passenger side cab, killing

SPC Glawson," Lutz Non-Bellwether Karcher Attacks Rep. at 80, and that the attack was

"complex" because it specifically targeted Spc. Glawson's HEMTT wrecker and was sufficiently

"powerful" to blow the driver of the HEMTI wrecker out of the left side of the vehicle's cab. Id.

Furthermore, investigators observed copper transfer appeared on the armor of the HEMTT wrecker

and around the penetration points from the blast. See id. at 81. After reviewing the available

evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that killed [Spc.]

Glawson was part of the EFP campaign orchestrated by the IRGC and Hezbollah that was

conducted by one of the IRGC's Hezbollah-trained Special Group proxies." Id. at 84.

       Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the March 20, 2007

EFP attack by supporting proxy forces who conducted the attack.



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                  xiii. April 29, 2007 Attack

        In 2007, Staff Sgt. Jay Martin was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 71 (Martin Casualty Rep.). On April 29, 2007, Staff

Sgt. Martin was riding in the lead vehicle of a four-vehicle patrol traveling north on Route Pluto

from FOB Rustamiyah in Baghdad when a multi-array explosive struck the driver's side of Staff

Sgt. Martin's vehicle, killing him. See Lutz Non-Bellwether Karcher Attacks Rep. at 86-87. Staff

Sgt. Martin's casualty report confirms that he was killed in action in Baghdad on April 29, 2007,

as a result of a "[b ]last fragment injuries." See Martin Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the April 29, 2007 attack in Baghdad was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, indicate that the damage

inflicted upon Staff Sgt. Martin's armored vehicle "was consistent with a multiple array EFP," and

that the main charge configuration was "EFP." See Lutz Non-Bellwether Karcher Attacks Rep. at

87. Investigators detected copper residue located on one of the exit holes left on Staff Sgt. Martin's

vehicle from the blast's penetration and recovered "[a] metal fragment that appeared to be copper"

inside the vehicle. Id. at 87-88. The record also contains photographic evidence depicting the

damage inflicted to Staff Sgt. Martin's vehicle, an up-armored Humvee. See id. at 90. After

reviewing the available evidence of the attack, Lutz concludes, in his expert opinion, "that the

attack that killed Staff Sgt. Martin ... was part of the EFP campaign orchestrated by the IRGC

and Hezbollah that was conducted by one of the IRGC's Hezbollah-trained Special Group

proxies." Id. at 91.

       Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the



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     findings made by the Karcher II court, the Court finds Iran responsible for the April 29, 2007 EPP

 attack by supporting proxy forces who conducted the attack.

                      xiv. May 3, 2007 Attack

            In 2007, 1st Lt. Colby James Umbren2 1 was serving as a member of the United States Army

 in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 73 (Umbrell Death Cert.). On May 3, 2007,

 1st Lt. Umbrell was traveling in the second vehicle of a four-vehicle military patrol unit returning

 to FOB Iskandariyah on Route Michelle in Musayyib when a multi-array explosive struck his

 vehicle. See Lutz Non-Bellwether Karcher Attacks Rep. at 92. 1st Lt. Umbrell died on the scene

 from traumatic penetrating brain injuries. See id. at 92-93. 1st Lt. Umbrell's certificate of death

 confirms that he was killed in action on May 3, 2007 from "blast injuries" suffered in Musayyib,

 Iraq, which caused an "immediate" death. See Umbrell Death Cert.

            The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the May 3, 2007 attack in Musayyib was an EPP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, indicate that the attack site

had been the location of numerous EPP attacks against Coalition Forces attributed to a Iran-backed

proxy Jaysh al-Mahdi ("JAM"), see Lutz Non-Bellwether Karcher Attacks Rep. at 93-96, that the
                                                    I
strike was particularly accurate, id. at 95, that a "multi-array EPP," consisting of "two large steel

EFPs and one small copper EPP," was responsible for the damage to 1st Lt. Umbrell' s up-armored

Humvee, id. at 96, and that the "main charge configuration" and the "device description" was an
                                                                         '
EPP. Id. After reviewing the available evidence of the attack, Lutz concludes, in his expert

opinion, "that the attack that killed [1st Lt.] Umbrell was part of the EPP campaign orchestrated



21
  A plaintiff related to 1st Lt. Umbrell brings a claim stemming from this attack. See Am. Compl., at ,rn 671-72.
Different plaintiffs related to 1st Lt. Umbrell previously brought claims in the Karcher II case. See Am. Compl.,
Karcher, at ,r,r 646-49.

                                                        37
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 by the IRGC and Hezbollah that was conducted by one of the IRGC's Hezbollah-trained Special

 Group proxies." Id. at 97.

          Based on the evidence provided by plaintiffs showing the location-an area known to

 experience JAM activity-sophistication, lethality, and unique physical characteristics of the

 attack, the representations of plaintiffs' expert, and the findings made by the Karcher II court, the

 Court finds Iran responsible for the May 3, 2007 EFP attack by supporting proxy forces who

 conducted the attack.

                      xv. May 6, 2007 Attack ("First May 6, 2007 Attack")

          In 2007, Staff Sgt. Virgil Martinez22 was serving as a member of the United States Army

 in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 76 (Martinez Casualty Rep.). Early in the

 morning on May 6, 2007, Staff Sgt. Martinez was riding in the passenger seat of the lead vehicle

in multi-vehicle convoy in Baghdad traveling south on Route Cubs to FOB Liberty when a multi-

array explosive struck his vehicle. See Lutz Non-Bellwether Karcher Attacks Rep. at 99-100.

The blast shattered glass on all of the windows of Staff Sgt. Martinez's vehicle and left a round

hole in the armor on the vehicle's door, causing "lacerations on the back of [Staff Sgt. Martinez's] ,

neck and large amounts of blood on his body armor." See id. at 100. Staff Sgt. Martinez's casualty

report confirms that he was killed in action on May 6, 2007 in Iraq as a result of hostile "[b ]last

and shrapnel injuries." See Martinez Casualty Rep.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the First May 6, 2007 Attack in Baghdad was an EFP traceable to Iran and its

proxies. Reports prepared by the U.S. military after the blast, reviewed by Lutz, indicate that the



22
  A plaintiff related to Staff Sgt. Martinez bring~ a claim stemming from this attack. See Am. Compl., at ,i,i 677-78.
Different plaintiffs related to Staff Sgt. Martinez previously brought claims in the Karcher II case. See Am. Compl.,
Karcher, at ,i,i 663-65.

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 EFP attack produced "molten copper slugs" that "ripped through all three soldiers in the vehicle,

 killing [Staff Sgt.] Martinez instantly." Lutz Non-Bellwether Karcher Attacks Rep. at 101. The

 reports also opine that the attack was "likely a retaliation attack against C[ oalition] F[ orces] as a

 result of [an] engagement ... [with] JAM," and indicate that "JAM has been known to initiate

 [such] retaliatory attacks." Id. at 103--04. The record also contains photographic evidence

 depicting the multiple penetration holes inflicted to Staff Sgt. Martinez's vehicle, an up-armored

 Humvee, as a result of the blast. See id. at 102. After reviewing the available evidence of the

 attack, Lutz concludes, in his expert opinion, that the attack "that killed [Staff Sgt.] Martinez was

part of the EFP campaign orchestrated by the IRGC and Hezbollah that was conducted by one of

the IRGC's Hezbollah-trained Special Group proxies." Id. at 107.

         Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the First May 6, 2007

EFP attack by supporting proxy forces who conducted the attack.

                     xvi. May 6, 2007 Attack ("Second May 6, 2007 Attack")

         In 2007, Spc. Robert Dixon23 was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 78 (Dixon Casualty Rep.). On May 6, 2007, Spc.

Dixon was occupying the gunner position in the lead vehicle of a five-vehicle patrol traveling north

along Route Jackson in Baghdad when a multi-array explosive struck the right side ofSpc. Dixon's

armored vehicle. See Lutz Non-Bellwether Karcher Attacks Rep. at 108. Spc. Dixon suffered a

severe abdominal wound and was later pronounced dead. See id. Spc. Dixon's casualty report



23
  Plaintiffs related to Spc. Dixon bring claims stemming from this attack. See Arn.·Compl., at ,i,i 684-90. Different
plaintiffs related to Spc. Dixon previously brought claims in the Karcher II case. See Arn. Compl., Karcher, at ,i,i 654-
58.

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confirms that he died of wounds sustained in Baghdad, Iraq during hostile action on May 6, 2007.

See Dixon Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the Second Attack on May 6, 2007 Attack in Baghdad was an EFP traceable to Iran

and its proxies. Reports prepared by the U.S. military after the blast, reviewed by Lutz, state that

an IED "consist[ing] of a multi-array EFP" was "taped to a telephone pole" near the blast site, that

the "EFP struck [Spc. Dixon's] vehicle's right side at a 90 angle," and that copper slugs were

recovered from the vehicle after the attack. See Lutz Non-Bellwether Karcher Attacks Rep. at

109-10. Additionally, the "event storyboards" opine that this EFP attack "was most likely in

retaliation for the capture of [an] immediate superior within a major Jaysh al-Madhi IED/EFP

organization." Id. at 111. Moreover, a chemical analysis showed that metal fragments from the

blast trace tested positive for "explosive residue consistent with a Cyclotrimethylenetrinitramine

based explosive," which is a common component of Iranian-manufactured C-4.              Id. at 116.

Finally, the record contains photographic evidence depicting the penetration holes on Spc. Dixon's

up-armored vehicle from the ERP array. See id. After reviewing the available evidence of the

attack, Lutz concludes, in his expert opinion, "that the attack that killed [Spc.] Dixon was part of

the EFP campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the

IRGC's Hezbollah-trained Special Group proxies." Id. at 117.

       Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the Second May 6,

2007 EFP attack by supporting proxy forces who conducted the attack.




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                     xvii. May 8, 2007 Attack

          In 2007, Spc. Kyle Little24 was serving as a member of the United States Army in Iraq.

 See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 80 (Little Casualty Rep.). On May 8, 2007, Spc. Little

 was driving the lead vehicle in a four-vehicle convoy departing from FOB Hammer, located in

 Salman Pak, when a multi-array explosive struck his vehicle, blowing "two holes each in both the

 front and rear passenger doors of the [Humvee], catastrophically damaging the vehicle." See Lutz

 Non-Bellwether Karcher Attacks Rep. at 119-21. The blast ejected Spc. Little from the vehicle.

Id. at 121. Spc. Little died as- a result of his injuries, which included "massive chest trauma [ ],

 ... lacerations of the heart, lungs, aorta, liver, and spleen and multiple fractures of the ribs and

spine[,] ... severe head trauma, with skull fractures and a penetrating shrapnel wound to his

brain." Id. Spc. Little's casualty report confirms that he was killed during hostile action in Iraq

on May 8, 2007. See Little Casualty Rep.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the May 8, 2007 attack in Salman Pak was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, note that the primary

explosive device from the blast as a "multiple array (3-4) EFP," Lutz Non-Bellwether Karcher

Attacks Rep. at 123, "penetration holes in the door [of the Humvee] are in line with EFP target

effects," id., and that the EFP had been emplaced in such a fashion as to defeat the 'Rhino'

countermeasure installed on the [vehicle,]" id. at 122.                      Furthermore, the record contains

photographic evidence depicting copper fragmentation from the blast, see id., and the substantial

damage inflicted to Spc. Little's vehicle, an up-armored Humvee, from the attack, see id. at 121.



24
  Plaintiffs related to Spc. Little bring claims stemming from this attack. See Am. Campi., at iJiJ 695-700. A different
plaintiff related to Spc. Little previously brought a claim in the Karcher II case. See Am. Campi., Karcher, at ,i,r 670-
71.


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Finally, investigators detected the presence of a second JED device at the site of the May 8, 2007

attack, specifically left to target soldiers "responding to the EFP attack," id. at 122, and that this

secondary explosive device used "male and female connectors" tying together the device's arming

and initiation components, which is a strong indicator of Lebanese Hezbollah manufacturing, id.

at 128. After reviewing the available evidence of the attack, Lutz concludes, in his expert opinion,

"that the attack that killed [Spc.] Little was part of the EFP campaign orchestrated by the IRGC

and Hezbollah that was conducted by one of the IRGC's Hezbollah-trained Special Group

proxies." Id.

        Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the May 8, 2007 EFP

attack by supporting proxy forces who conducted the attack.

                xviii. June 14, 2007 Attack

        In 2007, Sgt. Andrew Moores was serving as a member of the United States Army in Iraq.

See June 14, 2007 Attack- Scania Rep., ECF. No. 36-25, at 44 (Moores Aff.). On June 14, 2007,

Sgt. Moores was traveling in a thirty:::_eight-vehicle convoy heading north on Main Supply Route

Tampa towards Scania, Iraq. See Lutz Non-Bellwether Karcher Attacks Rep. at 130. Sgt.,Moores

was riding in the convoy's second vehicle, which was an up-armored Humvee, along with Sgt.

Richard Parker, when a multi-array explosive struck Sgt. Moore's vehicle. See Moores Aff.

Shrapnel from the blast killed Sgt. Parker instantly and set the Humvee ablaze. See Lutz Non-

Bellwether Karcher Attacks Rep. at 130. Sgt. Moores sought medical treatment after the blast,

see Moores Aff., and allegedly continues to suffer from physical and psychological injuries as a

result of his experience, see Am. Comp1, at ,r,r 755-58.



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          The Court finds satisfactory evidence in the record to demonstrate that the explosive

 responsible for the June 14, 2007 attack in Scania was an EFP traceable to Iran and its proxies.

 Reports prepared by the U.S. military after the blast, reviewed by Lutz, indicate that the explosive

 device involved was "consistent with an EFP array due to the presence of copper residue," Lutz

 Non-Bellwe~her Karcher Attacks Rep. at 131, that "the EFP was command wire armed and PIR

 initiated," id., that "command wire was used to arm the EFP and that the initiation system was a

passive infrared device," id., and that the explosive device at issue "was consistent with an EFP

because of the presence of copper'residue and that it was command wire armed and PIR initiated,"

id. at 133. After reviewing the available evidence of the attack, Lutz concludes, in his expert

opinion, "that the attack that killed [Sgt.] Parker [and injured Sgt. Moores] was part of the EFP

campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's

Hezbollah-trained Special Group proxies." Id. at 134.

         Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, the Court finds Iran responsible for the June 14, 2007 EFP

attack by supporting proxy forces who conducted the attack.

                     xix.   July 6, 2007 Attack

         In 2007, Petty Officer First Class ("Petty Off. 1st Class") Robert McRi1125 was serving as

a member of the United States Navy in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 84

(McRill Casualty Rep.). On July 6, 2007, Petty Off. 1st Class McRill was riding in the rear vehicle

of a five-vehicle convoy during a clandestine mission in Sadr City, within Baghdad, when he was



25
  Plaintiffs related to Petty Off. 1st Class McRill bring claims stemming from this attack. See Am. Compl., at ,i,i 810-
13. Different plaintiffs related to Petty Off. 1st Class McRill previously brought claims in the Karcher II case. See
Am. Compl., Karcher, at ,i,i 758-61.

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 killed by multi-array explosive struck his vehicle. See Lutz Non-Bellwether Karcher Attacks Rep.

 at 135. Petty Off. 1st Class McRill's casualty report confirms that he died during hostile action in

 Sadr City, Iraq on July 6, 2007 as result of"massive trauma received from an EFP ... blast while

 in a [Humvee]." See McRill Casualty Rep.

          The Court finds satisfactory evidence in the record to demonstrate that the explosive

 responsible for the July 6, 2007 attack in Sadr City was an EFP traceable to Iran and its proxies.

 Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirm that Petty Off. 1st

 Class McRill's vehicle "was struck by an EFP," and that Petty Off. 1st Class McRill died as a

result of the blast. See Lutz Non-Bellwether Karcher Attacks Rep. at 136. After reviewing the

available evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that killed

... [Petty Off. 1st Class] McRill was part of the EFP campaign orchestrated by the IRGC and

Hezbollah that was conducted by one of the IRGC's Hezbollah-trained Special Group proxies."

Id. at 136.

         Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, this Court finds Iran responsible for the July 6, 2007 EFP

attack by supporting proxy forces who conducted the attack.

                     xx. July 17, 2007

         In 2007, Private First Class ("Priv. 1st Class") Ron J. Joshua, Jr. 26 was serving as a member

of the United States Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 86 (Joshua

Casualty Rep.). On July 17, 2007, Priv. 1st Class Joshua was traveling south on Ghazaliyah Main



26
  A plaintiff related to Priv. l st Class Joshua brings a claim stemming from this attack. See Am. Campi., at ,r,r 826-
27. A different plaintiff related to Priv. 1st Class Joshua previously brought a claim in the Karcher II case. See Am.
Campi., Karcher, at ,r,r 776-77.

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in Baghdad in the lead vehicle of a convoy when a multi-array explosive struck the passenger side

of his vehicle. See Lutz Non-Bellwether Karcher Attacks Rep. at 137. The blast ejected Priv. 1st

Class Joshua from the vehicle, instantly killing him. See id. Priv. 1st Class Joshua's casualty

report confirms that he died during hostile action in Baghdad, Iraq on July 17, 2007 as result of

"[b]last injuries." See Joshua Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the July 17, 2007 attack in Baghdad was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirm that "the blast seat

and damage to the vehicle was consistent with one large EFP approximately 12 round, and

surrounded by smaller EFPs" and that "the incident was consistent with an EFP array." Lutz Non-

Bellwether Karcher Attacks Rep. at 138-39. The record also contains photographic evidence

depicting the significant damage inflicted upon Priv. 1st Class Joshua's vehicle, an up-armored

Humvee, from the blast. See id. at 143. Moreover, the "event storyboard" from the attack,

reviewed by Lutz, also indicates that "[r]ecent raids and detentions of JAM H[igh] V[alue]

I[ndividuals] throughout the battle space have further motivated JAM Special Groups to take

action against C[oalition] F[orces] as retaliation for disrupting their operations." Id. at 143. After

reviewing the available evidence of the attack, Lutz concludes, in his expert opinion, "that the

attack that killed ... [Priv. 1st Class] Joshua was part of the EFP campaign orchestrated by the

IRGC and Hezbollah that was conducted by one of the IRGC's Hezbollah-trained Special Group

proxies." Id. at 144.

       Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the




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 findings made by the Karcher II court, this Court finds Iran responsible for the July 17, 2007 EFP

 attack by supporting proxy forces who conducted the attack.

                     xxi. December 1, 2007

          In 2007, Spc. Matthew K. Reece 27 was serving as a member of the United States Army in

 Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 88 (Reece Casualty Rep.). On December 1,

 2007, Spc. Reece was conducting a patrol in the Rusafa neighborhood of Baghdad with a six-

 vehicle convoy when an explosive struck the right side of his vehicle. See Lutz Non-Bellwether

 Karcher Attacks Rep. at 146. The blast caused Spc. Reece to suffer fatal wounds to his head and

 back. Id. Spc. Reece's casualty report confirms that he died during hostile action in Baghdad,

 Iraq on December 1, 2007 as result of "[b]last injuries." See Reece Casualty Rep.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the December 1, 2007 attack in Baghdad was an EFP traceable to Iran and its

proxies. Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirm that the

blast "involved 2 EFPs," Lutz Non-Bellwether Karcher Attacks Rep. at 147, that the "main charge

configuration" from the blast as an EFP, id., and that investigators concluded that the blast

concludes that a steel-lined EFP was responsible for the attack, see id. at 149. The record also

contains photographic evidence depicting the significant damage inflicted upon Spc. Reece's

vehicle, an up-armored Humvee, from the blast. See id. at 152. After reviewing the available
                                                   I

evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that killed ... [Spc.]

Reece was part of the EFP campaign orchestrated by the IRGC and Hezbollah that was conducted

by one of the IRGC's Hezbollah-trained Special Group proxies." Id. at 153.



27
  Plaintiffs related to Spc. Reece bring claims stemming from this attack. See Am. Comp!., at ,rn 941-43. Different
plaintiffs related to Spc. Reece previously brought claims in the Karcher II case. See Am. Comp!., Karcher, at ,rn 782-
84.

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          Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

 unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

 findings made by the Karcher II court, this Court finds Iran responsible for the December 1, 2007

 EFP attack by supporting proxy forces who conducted the attack.

                    xxii. January 6, 2008 Attack

          In 2008, Cpl. James D. Gudridge, 28 Priv. 1st Class Joshua Schichtl, and Staff Sgt. Steve

 Wadleigh were serving as members of the United States Army in Iraq. See 28 U.S.C.

 § 1605A(a)(2)(A)(ii) App., at 90 (Gudridge Casualty Rep.); id. at 91-93 (Schichtl Casualty Rep.);

 id. at 94-95 (Wadleigh Casualty Rep.). On January 6, 2008, Cpl. Gudridge, Priv. 1st Class

 Schichtl, and Staff Sgt. Wadleigh were riding in the lead vehicle of a seven-vehicle convoy during

 a mounted patrol of the West Rashid neighborhood of Baghdad when a multi-array explosive

struck the passenger door of their vehicle. See Lutz Non-Bellwether Karcher Attacks Rep. at 155.

The blast sent multiple slugs through the vehicle, killing Cpl. Gudridge and wounding Priv. 1st

Class Schichtl. Id. at 155-56. Cpl. Gudridge' s casualty report confirms that he died during hostile

action in Baghdad, Iraq on January 6, 2008 as result of "[b]last injuries." See Gudridge Casualty

Rep. Priv. 1st Class Schichtl and Staff Sgt. Steve Wadleigh allegedly continue to suffer from

physical and psychological injuries as a result of their experience. See Am. Comp1, at ,r,r 954-60;

972-77.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the January 6, 2008 attack in Baghdad was an EFP traceable.to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirm that the blast



28
   A plaintiff related to Cpl. Gudridge brings a claim stemming from this attack. See Am. Comp I., at ,r,r 948-49. A
different plaintiff related to Cpl. Gudridge previously brought a claim stemming from the same attack in the Karcher
II case. See Am. Compl., Karcher, at ,r,r 789-90.

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involved a "multi-array EFP struck the driver's side front window, driver's door, driver's side

passenger door, and turret" of the vehicle containing Cpl. Gudridge, Priv. 1st Class Schichtl and

Staff Sgt. Wadleigh, that the "main charge configuration" from the blast was an EFP, and that the

device responsible for the blast was "a single array of 3-4 copper-lined EFPs." Lutz Non-

Bellwether Karcher Attacks Rep. at 156.         The record also contains photographic evidence

depicting the significant damage inflicted upon the vehicle, an up-armored Humvee, from the blast,

see id. at 159--62, and copper residue left after the blast. See id. at 159. After reviewing the

available evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that killed

[Cpl.] Gudridge and injured [Priv. 1st Class] Schichtl [and Staff Sgt. Wadleigh] was part of the

EFP campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's

Hezbollah-trained Special Group proxies." Id. at 153.

        Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, this Court finds Iran responsible for the January 6, 2008

EPP attack by supporting proxy forces who conducted the attack.

                xxiii. March 17, 2008 Attack

       In 2008, Sgt. Christopher Simpson was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 97 (Simpson Casualty Rep.). On March 17,

2008, Sgt. Simpson was riding in the third vehicle of a five-vehicle convoy during a patrol traveling

east on Route Pluto to Combat Outpost ("COP") Ford from Camp Taji, in Baghdad, when a multi-

array explosive struck the passenger door of his vehicle. See Lutz Non-Bellwether Karcher

Attacks Rep. at 164. The blast sent multiple slugs through the vehicle, immediately killing Sgt.




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 Simpson. Id. at 164----65. Sgt. Simpson's casualty report confirms that he died during hostile action

 in Baghdad, Iraq on March 17, 2008 as result of "[b]last injuries." See Simpson Casualty Rep.

          The Court finds satisfactory evidence in the record to demonstrate that the explosive

 responsible for the March 17, 2008 attack in Baghdad was an EFP traceable to Iran and its proxies.

 Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirmed that Sgt.

 Simpso~'s vehicle was "hit in 3 locations, from a 3 array copper EFP." Lutz Non-Bellwether

Karcher Attacks Rep. at 165, that the "main charge configuration" from the blast was an EFP, id.,

and that chemical analysis of items recovered at the scene indicated the presence of high-energy

explosives, id. at 172. The record also contains photographic evidence depicting the significant

damage inflicted upon Sgt. Simpson's vehicle, an up-armored Humvee, from the blast. See id. at

171. After reviewing the available evidence of the attack, Lutz concludes, in his expert opinion,

"tliat the attack that killed ... [Sgt.] Simpson was part of the EFP campaign orchestrated by the

IRGC and Hezbollah that was conducted by one of the IRGC's Hezbollah-trained Special Group

proxies." Id. at 173.

         Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, this Court finds Iran responsible for the March 17, 2008

EFP attack by supporting proxy forces who conducted the attack.

                   xxiv. March 31, 2008 Attack

         In 2008, Sgt. Dayne Dhanoolal29 was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 99 (Dhanoolal Casualty Rep.). On March 31,



29
   A plaintiff related to Sgt. Dhanoolal brings a claim stemming from this attack. See Am. Compl., at ,i,i 1067-68. A
different plaintiff related to Sgt. Dhanoolal previously brought a claim stemming from the same attack in the Karcher
II case. See Am. Compl., Karcher, at ,i,i 875-76.

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2008, Sgt. Dhanoolal was operating the lead vehicle of an eight-vehicle convoy during a patrol

traveling north on Route Predators from FOB Rustimayah, in Baghdad when a multi-array

explosive struck the right side of his vehicle. See Lutz Non-Bellwether Karcher Attacks Rep. at

174. The blast sent multiple slugs through the vehicle, one of which struck Sgt. Dhanoolal and

immediately killed him. See id. at 175. Sgt. Dhanoolal's casualty report confirms that he died

during hostile action in Baghdad, Iraq on March 31, 2008 as result of "[b]last injuries." See

Dhanoolal Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the March 31, 2008 attack in Baghdad was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirmed that Sgt.

Dhanoolal's vehicle "was stAick with an array of 2 EFPs with steel liners," Lutz Non-:Bellwether

Karcher Attacks Rep. at 176, that he was killed by an EFP slug, id. at 175, and that "[t]he EFP

was most likely emplaced and detonated by the Oubadi/Riassa S[pecial] G[roup]," id. at 176. The

record also contains photographic evidence depicting the significant damage inflicted upon Sgt.

Dhanoolal's vehicle, an armored Husky mine-detection vehicle, from the blast. See id. at 178.

After reviewing the available evidence of the attack, Lutz concludes, in his expert opinion, "that

the attack that killed [Sgt.]' Dhanoolal was part of the EFP campaign orchestrated by the IRGC and

Hezbollah that was conducted by one of the IRGC's Hezbollah-trained Special Group proxies."

Id. at 179.

        Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, this Court finds Iran responsible for the March 31, 2008

EFP attack by supporting proxy forces who conducted the attack.



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                      xxv. April 7, 2008 Attack

          In 2008, Sgt. Timothy Smith30 was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 101 (Smith Casualty Rep.). On March 31, 2008, Sgt.

Smith was operating a vehicle as part of a seven-vehicle convoy during a patrol traveling in Sadr

City when a multi-array explosive struck his vehicle. See Lutz Non-Bellwether Karcher Attacks

Rep. at 181. The blast sent multiple slugs through the vehicle. Id. Sgt. Smith's casualty report

confirms that he died during hostile action in Baghdad, Iraq on April 7, 2008 as result of "[b ]last

and blast fragmentation injuries." See Smith Casualty Rep.

          The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the April 7, 2008 attack in Sadr City was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirmed that the slugs

that entered Sgt. Smith's vehicle "were consistent with 8-10" copper lined EFPs, see Lutz Non-

Bellwether Karcher Attacks Rep. at 182, and that the blast involved "copper lined EFPs," which

caused a "catastrophic hit" to Sgt. Smith's vehicle, leaving "copper residue ... on each of the

impact areas," id. A report noted similar attacks in the vicinity of the blast during the weeks before

the April 7, 2008 and that "[t]hese attacks [were] S[pecial] G[roup] cells that are being commanded

to conduct attacks on C[oalition] F[orces] out of Sadr City." Id. at 183. The record also contains

photographic evidence depicting the significant damage inflicted upon Sgt. Smith's vehicle, an

armored Husky mine-detection vehicle, from the blast. See id. at 186. After reviewing the

available evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that killed




30 A plaintiff related to Sgt. Smith brings a claim stemming from this attack. See Am. Compl., at ,i,i 1095-96. Different

plaintiffs related to Sgt. Smith previously brought claims stemming from the same attack in the Karcher II case. See
Am. Compl., Karcher, at ,i,i 902-05.

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 [Sgt.] Smith was part of the EFP campaign orchestrated by the IRGC and Hezbollah that was

 conducted by one of the IRGC's Hezbollah-trained Special Group proxies." Id. at 179.

         Based on the evidence provided by plaintiffs showing the lethality, sophistication, location,

 and unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

 findings made by the Karcher II court, this Court finds Iran responsible for the March 31, 2008

 EFP attack by supporting proxy forces who conducted the attack.

                   xxvi. August 4, 2008 Attack

         In 2008, Spc. Jonathan Menke31 was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 103 (Menke Casualty Rep.). On August 4,

2008, Spc. Menke was driving the lead vehicle of a four-vehicle convoy during a patrol traveling

west on Route Airport Road in Baghdad when a multi-array explosive struck Spc. Menke's

vehicle, killing him. See Lutz Non-Bellwether Karcher Attacks Rep. at 189-90. Sgt. Menke's

casualty report confirms that he died during hostile action in Baghdad, Iraq on August 4, 2008 as

result of"[p]enetrating blast injury of the chest." See Menke Casualty Rep.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the August 4, 2008 attack in Baghdad was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirmed that "Spc.

Menke was killed instantly by [an] EFP strike," Lutz Non-Bellwether Karcher Attacks Rep. at

190, "that the device used in the attack comprised two 8-inch EFPs," id. at 191, and that "copper

fragments" were recovered from the blast site, id. at 192. The record also contains photographic

evidence depicting the significant damage inflicted upon Sgt. Menke's vehicle, an up-armored



31
  A plaintiff related to Spc. Menke brings a claim stemming from this attack. See Am. Compl., at ,i 1172. Different
plaintiffs related to Sgt. Smith previously brought claims stemming from the same attack in the Karcher II case. See
Am. Compl., Karcher, at ,i,i 968-72.

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Humvee, from the blast. See id. at 194. After reviewing the available evidence of the attack, Lutz

concludes, in his expert opinion, "that the attack that killed [Spc.] Menke was part of the EFP

campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's

Hezbollah-trained Special Group proxies." Id. at 196.

        Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, this Court finds Iran responsible for the August 4, 2008

EFP attack by supporting proxy forces who conducted the attack.

                xxvii. August 26, 2008 Attack

        In 2008, Spc. Tyler Latham was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 105-07 (Latham Extended Casualty Rep.). On

August 6, 2008, Spc. Latham was traveling in the third vehicle of a multi-vehicle convoy heading

northeast on Route Grizzlies in the Sadr City area of Baghdad when an explosive struck Spc.

Latham's vehicle. See Lutz Non-Bellwether Karcher Attacks Rep. at 198. Spec. Latham suffered

injuries to his left arm as a result of the blast and was evacuated to a combat hospital. See Latham

Extended Casualty Rep.        Spc. Latham allegedly continues to suffer from physical and

psychological injuries as a result of his experience. See Am. Compl, at ,r,r 1186-91.

       The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the August 26, 2008 attack in Sadr City was an EFP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirmed that explosive

device causing the blast "consisted of a [redacted] EFP w/ approximately 20 lbs of unk[nown] bulk

explosives," Lutz Non-Bellwether Karcher Attacks Rep. at 199, that the EFP was concealed inside

a shack and "a stand was specifically constructed inside the shack to achieve its intended point of



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 impact[,]" id., and that the EFP was comprised of "a copper cone and metal body[,]" id. at 201.

 The record also contains photographic evidence depicting the significant damage inflicted upon

 Sgt. Latham's vehicle, an MRAP, from the blast. See id. at 200--01. After reviewing the available

 evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that ... injured

 ... (Spc.J Latham was part of the EFP campaign orchestrated by the IRGC and Hezbollah, and

that the attack was likely conducted by one of the IRGC's Special Group proxies." Id. at 202.

         Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, this Court finds Iran responsible for the August 26, 2008

EFP attack by supporting proxy forces who conducted the attack.

                  xxviii. January I 0, 2009 Attack

         In 2009, Staff Sgt. Justin Bauer32 and Spc. Andrew Bradley were serving as members of

the United States Anny in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 109 (Bauer Casualty

Rep.); id. at 110 (Bradley Purple Heart Perm. Order). On January 10, 2009, Staff Sgt. Bauer and

Spc. Bradley were traveling in the lead vehicle of a four-vehicle convoy headed south on Haab

Road near Route Florida in Baghdad when a multi-array explosive struck their vehicle. See Lutz

Non-Bellwether Karcher Attacks Rep. at 203--04.                    Staff Sgt. Bauer, who was the vehicle's

commander, was killed in the blast. Id. at 204. Spc. Bradley, the driver of the vehicle, was injured

in the blast. Id. Staff Sgt. Bauer's casualty report confirms that he died during hostile action in

Baghdad, Iraq on January 10, 2009 as result of"[b]last injuries." Bauer Casualty Rep. On January

11, 2009, the day after the attack, Spc. Bradley received the Purple Heart award "for wounds



32 A plaintiff related to Staff Sgt. Bauer brings a claim stemming from this attack. See Am. Compl., at ,i 1203.
Different plaintiffs related to Staff Sgt. Bauer previously brought claims stemming from the same attack in the Karcher
II case. See Am. Compl. , Karcher, at ,i,i 1039--41.

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 received as a result of hostile enemy action." See Bradley Purple Heart Perm. Order. Spc. Bradley

 allegedly continues to suffer from physical and psychological injuries as a result of his experience.

 See Am. Compl, at ,r,r 1206-14.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

 responsible for the January 10, 2009 attack in Baghdad was an EFP traceable to Iran and its

 proxies. Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirmed that

 explosive device causing the blast was "a copper lined, multiple array, command fired EFP." Lutz

 Non-Bellwether Karcher Attacks Rep. at 204-06. The record also contains photographic evidence

 depicting the significant damage inflicted upon Staff Sgt. Bauer and Spec. Bradley's vehicle, an

MRAP, from the blast. See id. at 208-09. After reviewing the available evidence of the attack,

Lutz concludes, in his expert opinion, "that the attack on a convoy that included [Staff Sgt.] Bauer

... [and Spc.] Bradley ... was part of the EFP campaign orchestrated by the IRGC and Hezbollah

that was conducted by one of the IRGC's He~bollah-trained Special Group proxies." Id. at 212.

         Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, this Court finds Iran responsible for the January 10, 2009

EFP attack by supporting proxy forces who conducted the attack.

                   xxix. January 18, 2009 Attack

         In 2009, Staff Sgt. Roberto Andrade, Jr. 33 was serving as a member of the United States

Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 112 (Andrade Casualty Rep.). On

January 18, 2009, Staff Sgt. Andrade was commanding the lead vehicle of four-vehicle convoy



33Plaintiff related to Staff Sgt. Andrade bring claims stemming from this attack. See Am. Compl., at iM] 1222-28. A
different plaintiff related to Staff Sgt. Andrade previously brought a claim stemming from the same attack in the
Karcher II case. See Am. Compl., Karcher, at ,i,i 1046-47.

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 traveling from FOB Rustamiyah in Baghdad when a multi-array explosive struck Staff Sgt.

Andrade's vehicle, killing him. See Lutz Non-Bellwether Karcher Attacks Rep. at 213. Staff Sgt.

Andrade's casualty report confirms that he died during hostile action in Baghdad, Iraq on January

 18, 2009 as result of"[b]last injuries." See Andrade Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the January 18, 2009 attack in Baghdad was an EFP traceable to Iran and its

proxies. Reports prepared by the U.S. military after th6 blast, reviewed by Lutz, confirmed that

the explosive device causing the blast was "consistent with a dual [redacted] copper lined EFP

array, each containing approximately 15lbs U[nidentified] B[ulk] E[xplosives][,]" Lutz Non-

Bellwether Karcher Attacks Rep. at 214-15, that the EFP "was placed on top of or behind the wall

that was to the immediate right of [Staff Sgt. Andrade's] vehicle[,]" id. at 214, and that the EFP

was "elevated for a direct attack against an MRAP vehicle," such as the one containing Staff Sgt.

Andrade, id. The record also contains photographic evidence depicting the significant damage

inflicted upon Staff Sgt. Andrade's vehicle, penetrating the transparent and steel armor of the

MRAP. See id. at 215. After reviewing the available evidence of the attack, Lutz concludes, in

his expert opinion, "that the attack that killed [Staff Sgt.] Andrade was part of the EFP campaign

orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's Hezbollah-

trained Special Group proxies." Id. at 216.

       Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, this Court finds Iran responsible for the January 18, 2009

EFP attack by supporting proxy forces who conducted the attack.




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                     xxx. September 8, 2009 Attack

          In 2009, Staff Sgt. Shannon M. Smith34 was serving as a member of the United States Army

 in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 114 (Smith Casualty Rep.). On September

 8, 2009, Staff Sgt. Smith was riding in the last vehicle of a four-vehicle convoy traveling east on

 Salah Ad Din Street in Tikrit when an explosive struck Staff Sgt. Smith's vehicle, killing him. See

 Lutz Non-Bellwether Karcher Attacks Rep. at 218-19. Staff Sgt. Smith's casualty report confirms

that he was killed during hostile action in Tikrit, Iraq on September 8, 2009. See Smith Casualty

Rep.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the September 8, 2009 attack in Tikrit was an EPP traceable to Iran and its proxies.

Reports prepared by the U.S. military after the blast, reviewed by Lutz, confirmed that explosive

device causing the blast was "Shaped Charge/EPP," Lutz Non-Bellwether Karcher Attacks Rep.

at 219, that command wire was recovered from the blast site, id., and that command wire "allows

for target discrimination and provides more assurance that the device will be used as designed,"

id. The record also contains photographic evidence depicting the significant damage inflicted upon

Staff Sgt. Smith's vehicle, an MRAP, including total destruction of the vehicle's turret. Id. at 221-
                                                                                                        ~.
22. After reviewing the available evidence of the attack, Lutz concludes, in his expert opinion,

"that the attack that killed [Staff Sgt.] Smith ... was part of the EFP campaign orchestrated by the

IRGC and Hezbollah that was conducted by one of the IRGC's Hezbollah-trained Special Group

proxies." Id. at 223.




34
   A plaintiff related to Staff Sgt. Smith brings a claim stemming from this attack. See Am. Compl., at ,i 1283.
Different plaintiffs related to Staff Sgt. Smith previously brought claims stemming from the same attack in the Karcher
II case. See Am. Compl., Karcher, at ,i,i 1107-12.

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        Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, this Court finds Iran responsible for the September 8, 2009

EFP attack by supporting proxy forces who conducted the attack.

                 xxxi. April 27, 2010

        In 2010, Sgt. Keith Coe was serving as a member of the United States Army in Iraq. See

28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 116 (Coe Casualty Rep.). On April 27, 2010, Sgt. Coe

was riding in the last vehicle of a three-vehicle convoy as part of a patrol travelling south on Route

Cheyenne from FOB Grizzly in Khalis to FOB Warhorse when an explosive struck Sgt. Coe's

vehicle, killing him. See Lutz Non-Bellwether Karcher Attacks Rep. at 224-25. Sgt. Coe's

casualty report confirms that he died during hostile action in Khalis, Iraq on April 27, 2010 as a

result of "[b ]last and [b ]allistic [i]njuries." See Coe Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the April 27, 2010 in Khalis was an EFP traceable to Iran and its proxies. Reports

prepared by the U.S. military after the blast, reviewed by Lutz, confirmed that the explosive device

causing the blast "was determined to be an explosively formed penetrator (EFP)," Lutz Non-

Bellwether Karcher Attacks Rep. at 225, which had "struck the vehicle crew cabin ... indicat[ing]

that the EFP was angled up," id. at 226. The record also contains photographic evidence depicting

the significant damage inflicted upon Sgt. Coe's vehicle, an MRAP, including the extensive

damage to the crew compartment. Id. at 230-31. After reviewing the available evidence of the

attack, Lutz concludes, in his expert opinion, "that the attack that killed [Sgt.] Coe ... was part of

the EFP campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the

IRGC's Hezbollah-trained Special Group proxies." Id. at 234.



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        Based on the evidence provided by plaintiffs showing the lethality, sophistication, and

unique physical characteristics of the attack, the representations of plaintiffs' expert, and the

findings made by the Karcher II court, this Court finds Iran responsible for the April 27, 2010 EFP

attack by supporting proxy forces who conducted the attack.

            F. Additional EFP Attacks Not Previously Adjudicated

        Plaintiffs allege injuries traceable to 23 additional attacks not previously adjudicated

allegedly involved Iran-linked EFPs:

            1. December 8, 2005 Attack in Baghdad, see Am. Compl., at iMf 231--40;
           2. December 25, 2005 Attack in Baghdad, see id., at ,r,r 241--47;
           3. September 3, 2006 Attack in Baghdad, see id., at ,r,r 451-57;
           4. October 22, 2006 Attack in Baghdad, see id., at ,r,r 482-89;
           5. December 20, 2006 Attack in Baghdad, see id., at ,r,r 537-55;
           6. January 27, 2007 Attack in Taji, see id., at ,r,r 616-26;
           7. April 9, 2007 Attack in Baghdad, see id., at iMf 649-56;
           8. May 14, 2007 Attack in Baghdad, see id., at ,r,r 707-17;
           9. May 18, 2007 Attack in Baghdad, see id., at ,r,r 718-24;
           10. June 10, 2007 Attack in Baghdad, see id., at ,r,r 725-51;
           1L June 17, 2007 Attack in Baghdad, see id., at ,r,r 759-84;
           12. July 9, 2007 Attack in Baghdad, see id., at ,r,r 814-21;20
           13. July 31, 2007 Attack in Baghdad, see id., at ,r,r 843--60;
           14. February 19, 2008 Attack in Ba_ghdad, see id., at ,r,r 988-1007;
           15. March 14, 2008 Attack in Musayyib, see id., at ,r,r 1008-14;
           16. April 8, 2008 Attack in Kharguliah, see id., at ,r,r 1097-1104;
           17. April 12, 2008 Attack in Baghdad, see id., at ,r,r 1105-11;
           18. May 25, 2008 Attack in Najaf, see id., at ,r,r 1149-56;
           19. August 13, 2008 Attack in Baghdad, see id., at ,r,r 1173-82;
           20. October 5, 2008 Attack in Musayyib, see id., at ,r,r 1193-97;
           21. September 8, 2009 Attack in Baghdad, see id., at ,r,r 1269-77;
           22. April 22, 2011 Attack in Al Kut, see id., at ,r,r 1303-11; and
           23. July 15, 2011 Attack in Basra, see id., at ,r,r 1336--41.

         After reviewing the materials submitted by the plaintiffs, the Court finds satisfactory

evidence in the record to demonstrate that the attacks are traceable to Iran and its proxies.

                    i. December 8, 2005 Attack

       In 2005, 1st Lt. Kevin Smith was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 118 (Smith Casualty Rep.). On December 8, 2005,

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1st Lt. Smith was conducting a combat patrol in Baghdad in the second vehicle of a five-vehicle

convoy from 1st Battalion, 76th Field Artillery Regiment, 4th Brigade Combat Team, 3rd Infantry

Division. Lutz Stearns Add'l Attacks Rep. at 4. At approximately 10:05 AM local time, 1st Lt.

Smith's vehicle was struck by a multi-array EFP, which had been concealed in a dirt mound on

the side of the road. Id. 1st Lt. Smith was killed as a result of the blast. Id. 1st Lt. Smith's

casualty report confirms that he died during hostile action in Baghdad, Iraq on December 8, 2005

as a result of"[b]last and shrapnel injuries." See Smith Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the December 8, 2005 attack in Baghdad was. an EFP traceable to Iran and its

proxies. First, the SIGACT Report from the blast confirms that the explosive that caused the attack

"was composed of a 5 EFP array." Lutz Stearns Add'l Attacks Rep. at 5. Similarly, the IED

Report lists the "main charge configuration" as "EPP[.]" Id. The WIT 3 Report assessed that a

"five-to-eight EFP array used in the attack" and that the dirt mound had been utilized to aim the

EPP. Id.    The record also contains photographic evidence depicting the significant damage

inflicted upon 1st Lt. Smith's vehicle, an up-armored Humvee, including the extensive damage to

the crew compartment. Id. at 7-9. After reviewing the available evidence of the attack, Lutz

concludes, in his expert opinion, "that the attack that killed [1st Lt.] Smith ... was part of the EFP

campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC' s

Hezbollah-trained Special Group proxies." Id. at 9.

       The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court




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 finds Iran responsible for the December 8, 2005 EFP attack by supporting proxy forces who

 conducted the attack.

                   ii. December 25, 2005 Attack

        In 2005, Spc. Anthony Cardinal was serving as a member of the United States Army in

Iraq.: See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 120-21 (Cardinal Extended Casualty Rep.). On

December 25, 2005, Spc. Cardinal driving the lead vehicle of a three-vehicle convoy from B

Company, 3rd Squadron, 7th Cavalry Regiment leaving FOB Rustamiyah. Lutz Stearns Add'l

Attacks Rep. at 10. At approximately 11 :27 AM local time, as the convoy was turning south on

Route Pluto in Baghdad, Spc. Cardinal's vehicle was struck by a multi-array EFP, which had been

emplaced in a nearby concrete barrier. Id. The blast struck the vehicle on the left side, penetrating

the driver's door. Id. Spc. Cardinal was injured in the blast and later died of his wounds. Id. Spc.

Cardinal's extended casualty report confirms that he was injured during hostile action in Baghdad,

Iraq on December 25, 2005 "when an IED detonated" later died as a result of "blood loss from

pelvic fracture." See Cardinal Extended Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the December 25, 2005 attack in Baghdad was an EFP traceable to Iran and its

proxies. First, the SIGACT Report from the blast confirms that the explosive that caused the attack

consisted of an "unk[nown] number of EFPs." Lutz Stearns Add'l Attacks Rep. at 11. Similarly,

the IED Report lists the "main charge configuration" as "EFP[.]" Id. Investigators described the

device that killed Spc. Cardinal as an "approximately 2 - 5 EFP array[.]" Id. Lutz noted in his

expert report that the location of the attack, Route Pluto South, was "a stretch of road notorious

for IRGC-sponsored EFP attacks." Id. at 14. After reviewing the available evidence of the attack,

Lutz concludes, in his expert opinion, "that the attack that killed [Spc.] Cardinal was part of the



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 EFP campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's

Hezbollah-trained Special Group proxies." Id.

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Additionally, the attack

occurred in an area known for EFP attacks ultimately sponsored by Iran. Therefore, this Court

finds Iran responsible for the December 25, 2005 EFP attack by supporting proxy forces who

conducted the attack.

                  iii. September 3, 2006

        In 2006, Priv. 1st Class Edwin Andino, Jr. was serving as a member of the United States

Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 123 (Andino Casualty Rep.) On

September 3, 2006, Priv. 1st Class Andino occupied the gunner position of the lead vehicle of a

four-vehicle convoy from A Company, 1st Battalion, 26th Infantry Regiment traveling south on

Route Wildcat in Baghdad. Lutz Stearns Add'l Attacks Rep. at 15. At approximately 6:20 AM

local time, Priv. 1st Class Andino's vehicle was struck by a multi-array EFP, which had been

emplaced inside a nearby fence. See id. The blast struck the vehicle on the driver's side, killing

Priv. 1st Class Andino. Id. Priv. 1st Class Andino's casualty report confirms that he was killed

during hostile action in Baghdad, Iraq on September 3, 2006. See Andino Casualty Rep.

       The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the September 3, 2006 attack in Baghdad was an EFP traceable to Iran and its

proxies. First, the SIGACT Report from the blast confirms that Priv. 1st Class Andino's vehicle

was hit by a three-array EFP." Lutz Stearns Add'l Attacks Rep. at 16. Similarly, the IED Report

lists the "Main Charge Configuration" as "EFP," id. and determined the explosive to be "a steel-



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 lined EFP array that was placed roadside, Im in from a fence," id. Investigators described the

 device that killed Priv. 1st Class Andino as "consist[ing] of three EFPs set to detonate

 simultaneously." Id. at 16-17.          After reviewing the available evidence of the attack, Lutz

 concludes, in his expert opinion, "that the attack that killed [Priv. 1st Class] Andino was part of

 the EFP campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the

 IRGC's Hezbollah-trained Special Group proxies." Id. at 18.

         The representations of plaintiffs' expert and the Court's own review of the materials

 submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

 attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

 finds Iran responsible for the September 3, 2006 EFP attack by supporting proxy forces who

 conducted the attack.

                     iv. October 22, 200635

         In 2006, Sgt. Willsun Mock was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 125 (Mock Casualty Rep.). On October 22, 2006,

Sgt. Mock was serving as the truck commander for the lead vehicle of a four-vehicle convoy from

the 1st Battalion, 26th Infantry Regiment, 2nd Battalion, 1st Infantry Division traveling west on

Route Florida in Baghdad. See Lutz Stearns Add'l Attacks Rep. at 19. At approximately 9:10

AM local time, Sgt. Mock's vehicle was struck by a multi-array explosive, which was placed on

the right side of the road. Id. The blast killed Sgt. Mock. Id. at 20. Sgt. Mock's casualty report




35
   The October 22, 2006 attack discussed here appears to be a different attack than the October 22, 2006 attack
discussed in Karcher, 396 F. Supp. 3d at 33-35 and in Lee, 518 F. Supp. 3d at 485-86.

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 confirms that he died during hostile action in Baghdad, Iraq on October 22, 2006 as a result of

"[b]last and ballistic fragment injuries." See Mock Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the October 22, 2006 attack in Baghdad was an EFP traceable to Iran and its

proxies. Both the SIGACT and IED Report from the blast confirm that Sgt. Mock's vehicle was

hit by a multi-array EFP. See Lutz Stearns Add'l Attacks Rep. at 20-21. The reports also note

that the location of the EFP, near two manned United Nations towers "allow[ed] A[nti] I[raqi]

F[orces] to emplace the device undetected." Id. at 21. Similarly, the IED Report lists the main

charge configuration as "EFP." Id. The record also contains photographic evidence depicting the

significant damage inflicted upon Sgt. Mock's vehicle, an up-armored Humvee. Id. at 24. After

reviewing the available evidence of the attack, Lutz concludes, in his expert opinion, "that the

attack that ... killed [Sgt.] Mock[] was part of the EFP campaign orchestrated by the IRGC and

Hezbollah that was conducted by one of the IRGC's Hezbollah-trained Special Group proxies."

Id. -

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the October 22, 2006 EFP attack by supporting proxy forces who

conducted the attack.

                   v. December 20, 2006

        In 2006, Staff Sgt. Joshua Denman was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 129-30 (Denman Casualty Rep.). In 2006,

William Ronald Little was serving was serving as a civilian contractor for DynCorp International



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in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 127-28 (DynCorp Serious Incident Rep.).

On December 20, 2006, Staff Sgt. Denman and Mr. Little were riding in the fourth vehicle of a

six-vehicle convoy with the 118 Military Police Company, 75~ Military Police Battalion and two

Iraqi Police vehicles traveling southeast on Route Vernon in Baghdad. Lutz Stearns Add'l Attacks

Rep. at 26. At approximately 5:10 AM local time, their vehicle was struck by an EFP, which

penetrated the vehicle's interior. Id. at 26-27. Both Staff Sgt. Denman and Mr. Little were injured

as a result of the blast. Id. at 27. Staff Sgt. Denman' s casualty report confirms that he was injured

during hostile action in Baghdad, Iraq on December 20, 2006.           See Denman Casualty Rep.

DynaCorp's Serious Incident Report noted that Mr. Little "sustained injuries to his face and

shoulder" during an "EFP attack" on December 20, 2006. DynCorp Serious Incident Rep. Staff

Sgt. Denman and Mr. Little allegedly continue to suffer from physical and psychological injuries

as a result of their experience. See Am. Compl, at ,r,r 541-44; 554-55.

       The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the December 20, 2006 attack in Baghdad was an EFP traceable to Iran and its

proxies. The SIGACT Report from the blast confirms that the explosive breached the interior of

Staff Sgt. Denman and Mr. Little's vehicle. Lutz Stearns Add'l Attacks Rep. at 27. The report

also notes that copper residue was found at the scene. Id. An incident report prepared by DynCorp

International similarly found that an "EFP exploded impacting the vehicle carrying [Staff Sgt.

Denman and Mr.] Little." Id. at 28. The record further contains photographic evidence depicting

the significant damage inflicted upon Staff Sgt. Denman and Mr. Litte's vehicle, an up-armored

Humvee, including the extensive damage to the crew compartment. Id. at 29-32. After reviewing

the available evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that

injured [Staff Sgt.] Denman and civilian contractor Willi~ Little was part of the EFP campaign



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orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's Hezbollah-

trained Special Group proxies." Id. at 32.

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the December 20, 2006 EFP attack by supporting proxy forces who

conducted the attack.

                   vi. January 27, 2007 Attack,

        In 2007, Sgt. Mickel Garrigus was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 132 (Garrigus Casualty Rep.). On January 27, 2007,

Sgt. Garrigus was riding in the last vehicle of a four-vehicle convoy with the 543rd Military Police

Company, 91st Police Battalion, 10th Sustainment Brigade, 10th Mountain Division traveling

south on Route Dover in Taji. Lutz Stearns Add'l Attacks Rep. at 34. At approximately 7:50 PM

local time, Sgt. Garrigus' vehicle was struck by an EFP, which was placed on the right side of the

road. Id. at 34-35. Sgt. Garrigus was killed in the attack. Id. at 35. Sgt. Garrigus' casualty report

confirms that he died during hostile action in Taji, Iraq on January 27, 2007 as a result of "[b]last

fragment injuries of the torso." See Garrigus Casualty Rep.

       The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the January 27, 2007 attack in Taji was an EFP traceable to Iran and its proxies.

Lutz's expert report contains reproductions of the AR-15 report, where an investigator attested

that, as a result of the blast, the damage to "passenger door was so severe that it prevented team

members from extracting [Sgt.] Garrigus from the vehicle in a timely manner and that [Sgt.

Garrigus'] IBA vest was destroyed with his side SAPPI plate shattered into pieces." Lutz Stearns



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  Add'l Attacks Rep. at 36. Such extensive damage occurred despite the fact that Sgt. Garrigus'

  vehicle was an up-annored Humvee. Id. The CJTF-Troy Report determined that the device used

 in the attack was "consistent with shaped charge with 8-10 lb[s.] N[et] E[xplosive] W[eight] of

 unknown H[igh] E[xplosive]." Id. Similarly, the SIGACT Report from the blast confirms that the

 device involved was a "shape charge (EFP)." Id. at 38. After reviewing the available evidence of

 the attack, Lutz concludes, in his expert opinion, "that the attack that killed [Sgt.] Garrigus was

 part of the EFP campaign orchestrated by the IRGC and Hezbollah that was conducted by one of

 the IRGC's Hezbollah-trained Special Group proxies." Id. at 40.

         The representations of plaintiffs' expert and the Court's own review of the materials

 submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

 attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

 finds Iran responsible for the January 27, 2007 EFP attack by supporting proxy forces who

 conducted the attack.

                   vii. April 9, 2007 Attack

        In 2007, Priv. Brett Walton was serving as a member of the United States Army in Iraq.

 See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 134 (Walton Casualty Rep.). On April 9, 2007, Priv.

 Walton was riding in the lead vehicle of a four-vehicle convoy from A Company, 2nd Battalion,

 17th Field Artillery Regiment traveling south on Route Wild in southeastern Baghdad. Lutz

,~ Stearns Add'l Attacks Rep. at 41. At approximately 3:15 PM local time, Priv. Walton's vehicle

 was struck by a dual-array explosive that had been hidden in dirt, cement blocks, and concertina

 wire on the side of the road. Id. Priv. Walton was killed in the attack. Id. at 42. Priv. Walton's




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 casualty report confirms that he was killed during hostile action in Baghdad, Iraq on April 9, 2007.

 See Walton Casualty Rep.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the April 9, 2007 attack in Baghdad was an EFP traceable to Iran and its proxies.

The SIGACT Report from the blast confirms that device used in the attack was an EFP. Lutz

Stearns Add'l Attacks Rep. at 42. The IED Report lists the "Main Charge Configuration" as an

EFP and notes that the device involved "was a dual array EFP ." Id. The CJTP Troy Report further

describes the device as a dual-array, copper-lined EFP[.] Id. at 43. The record also contains

photographic evidence depicting the significant damage inflicted upon Priv. Walton's vehicle, an

up-armored Humvee. Id. at 44--45. Moreover, the "event storyboard" reviewed by Lutz relayed

that "sources indicate the Furniture Road cell [of JAM] as responsible for this attack" and explains

the strategy involved in the timing of the attack: "Due to the curfew implemented for the 9th of

April, JAM planned for only I[raqi] S[ecurity] F[orces] and C[oalition] F[orces] vehicles to be on

the roads." Id. at 48. After reviewing the available evidence of the attack, Lutz concludes, in his

expert opinion, "that the attack that killed [Pvt.] Walton ... was part of the EFP campaign

orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's Hezbollah-

trained Special Group proxies." Id. at 49.

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the April 9, 2007 EFP attack by supporting proxy forces who conducted

the attack.




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                 viii. May 14, 2007 Attack

        In 2007, Senior Airman ("Sr. Airman") Joshua Brooks was serving as a member of the

United States Air Force in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., a~ 136-37 (Brooks

Casualty Rep.). On May 14, 2007, Sr. Airman Brooks was riding in the last vehicle of a three-

vehicle convoy from Detachment 3, 732 Expeditionary Forces, 92nd Military Police Battalion,

89th Military Police Brigade traveling on Route Vernon in Baghdad. Lutz Stearns Add'l Attacks

Rep. at 41. At approximately 3:55 PM local time, Sr. Airman Brooks' vehicle was struck by a

multi-array explosive that was placed on the side of the road. Id. Sr. Airman Brooks was injured

in the attack.   Id. at 50.   Sr. Airman Brooks' casualty report confirms that he sustained

"[l]acerations to [his] lower right leg" during hostile action in Baghdad, Iraq on May 14, 2007.

See Brooks Casualty Rep. Sr. Airman Brooks allegedly continues to suffer from physical and

psychological injuries as a result of his experience. See Am. Compl, at ,r,r 709-13.

       The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the May 14, 2007 attack in Baghdad was an EFP traceable to Iran and its proxies.

The SIGACT Report from the blast confirms determined that Sr. Airman Brooks' "convoy was

struck by an EFP" and that his "vehicle received catastrophic damage." Lutz Stearns Add'l

Attacks Rep. at 51. The IED Report lists the "Main Charge Configuration" as "EFP" and confirms

that "[t]he device consisted of a 6 EFP array." Id. The record also contains photographic evidence

depicting the significant damage inflicted upon Sr. Airman Brooks' vehicle, an up-armored

Humvee. Id. at 55, 57-58. After reviewing the available evidence of the attack, Lutz concludes,

in his expert opinion, "that the attack that injured [Sr. Airman] Brooks was part of the EFP

campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's

Hezbollah-trained Special Group proxies." Id. at 59.



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        The representations of plaintiffs' expert and the Court's own review of the materials

 submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

 attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the May 14, 2007 EFP attack by supporting proxy forces who conducted

the attack.

                   ix. May 18, 2007 Attack

        In 2007, Sergeant First Class ("Sgt. 1st Class") Scott J. Brown was serving as a member of

the United States Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 143 (Brown Death

Cert.). On May 18, 2007, Sgt. 1st Class Brown was riding in the last vehicle of a convoy from 1st

Battalion, 325th Airborne Infantry Regiment, 2nd Brigade Combat Team, 82nd Airborne Division

traveling on Bravo Road toward FOB Liberty in Baghdad. Lutz Stearns Add'l Attacks Rep. at 60.

At approximately 12:15 PM local time, Sgt. 1st Class Brown's vehicle was struck by a multi-array

explosive. Id. Sgt. 1st Class Brown was killed in the attack. Id. Sgt. 1st Class Brown's death

certificate confirms that he died during hostile action in Baghdad, Iraq on May 18, 2007 as a result

of "[b ]last injuries." See Brown Death Cert.

       The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the May 18, 2007 attack in Baghdad was an EFP traceable to Iran and its proxies.

The IED Report lists the main charge configuration from the blast as "EFP" and notes that the

array "most likely consist[ed] of one large EFP and five smaller EFPs." Lutz Stearns Add'l

Attacks Rep. at 61. The "event storyboard" reviewed by Lutz emphasized that "EFP strike was

obvious to unit based on site S[ensitive] S[ite] E[xploitation] and copper residue." Id. A human

intelligence source, a "Shi'a Iraqi local national with direct access to the reported information as

a result of observation and social contacts[,]" reported that a JAM operative was responsible for



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placing the explosive. Id. at 63. After reviewing the available evidence of the attack, Lutz

concludes, in his expert opinion, "that the attack that killed [Sgt. 1st Class] Brown was part of the

EFP campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the IRGC's

Hezbollah-trained Special Group proxies." Id.

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the May 14, 2007 EFP attack by supporting proxy forces who conducted

the attack.

                   x. June 10, 2007 Attack

        In 2007, Staff Sgt. Matthew Lammers and Priv. 1st Class Angel Gomez were serving as

members of the United States Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 145-47

(Lammers Extended Casualty Rep.); id. at 148 (Gomez Purple Heart Perm. Order). On June 10,

2007, Staff Sgt. Lammers and Priv. 1st Class Gomez were riding in the lead vehicle of a four-

vehicle convoy from D Company, 1st Battalion, 28th Infantry Regiment was traveling on Route

Jackson in the Saydiyah neighborhood of the West Rasheed district in southern Baghdad. Lutz

Stearns Add'l Attacks Rep. at 64. At approximately 8:56 AM local time, their vehicle was struck

by a multi-array explosive. Id. As a result of the attack, Staff Sgt. Lammers suffered partial leg

amputations. Id. at 64-65. Staff Sgt. Lammers' extended casualty report confirms that he was

seriously injured by hostile action in Baghdad on June 10, 2007 and that he was transported to a

U.S. army hospital in Germany, where he was placed on life support. See Lammers Extended

Casualty Rep. Priv. 1st Class Gomez was also injured in the attack. Lutz Stearns Add'l Attacks

Rep. at 64. On Aug\lst 24, 2007, Priv. 1st Class Gomez received the Purple Heart award "for
                     )




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 wounds received as a result of hostile enemy action" on June 10, 2007. See Gomez Purple Heart

 Perm. Order. Staff Sgt. Lammers and Priv. 1st Class Gomez allegedly continue to suffer from

physical and psychological injuries as a result of their experience. See Am. Compl, at ,r,r 729-40;

746-51.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the June 10, 2007 attack in Baghdad was an EFP traceable to Iran and its proxies.

The SIGACT Report notes that the injuries suffered by Staff Sgt. Lammers were consistent with

an EFP attack, Lutz Stearns Add'l Attacks Rep. at 64-o5, and the "event storyboard" reviewed by

Lutz also stated that aerial views of the attack showed that the "the strike is consistent with an

EFP." Id.    The Case File Report created by CEXC specifically lists the "Incident Type" as

"Explosively Formed Penetrator." Id. at 69. The record also contains photographic evidence

depicting the significant damage inflicted upon Staff Sgt. Lammers and Priv. 1st Class Gomez's

vehicle, an up-armored Humvee. Id. at 67-08. Lutz' s expert assessment of the photographs is that

"[t]he focused blast penetration hole in the armored passenger door is a distinct signature of a

precision manufactured _and copper-lined EFP." Id. at 66. After reviewing the available evidence

of the attack, Lutz concludes, in his expert opinion, "that the attack that injured [Staff Sgt.]

Lammers and [Priv. 1st Class] Gomez was part of the EFP campaign orchestrated by the IRGC

and Hezbollah that was conducted by one of the IRGC's Hezbollah-trained Special Group

proxies." Id. at 70.

       The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court




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 finds Iran responsible for the June 10, 2007 EFP attack by supporting proxy forces who conducted

 the attack.

                   xi. June 17, 2007 Attack

         In 2007, Staff Sgt. Matthew Benson and Priv. 1st Class Jacob Tracy were serving as

members of the United States Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 150

(Benson Purple Heart Perm. Order); id. at 148 (Tracy Casualty Rep.). On June 10, 2007, Staff

Sgt. Benson and Priv. 1st Class Tracy were riding in the fourth vehicle of a five-vehicle convoy

from C Company, 1st Battalion, 8th Cavalry Regiment traveling west on Route Porter toward FOB

Rustamiyah in Baghdad. Lutz Stearns Add'I Attacks Rep. at 71. Staff Sgt. Benson was seated in

the truck commander's seat and Priv. 1st Class Tracy was seated in the back of the vehicle. Id. At

approximately 6:22 PM local time, their vehicle was struck by a multi-array explosive. Id. Priv.

1st Class Tracy was killed and Staff Sgt. Benson was injured in the attack. Id. Priv. 1st Class

Tracy's casualty report confirms that he died on June 18, 2007 as a result of "[b]last injuries"

sustained during hostile action. See Tracy Casualty Rep. On June 18, 2007, the day after the

attack, Priv Staff Sgt. Benson received the Purple Heart award "for wounds received as a result of

hostile enemy action." See Benson Purple Heart Perm. Order.         Staff Sgt. Benson allegedly

continues to suffer from physical and psychological injuries as a result of their experience. See

A?1· Comp1, at ,r,r 772-77.
        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the June 17, 2007 attack in Baghdad was an EFP traceable to Iran and its proxies.

The AR 15-6 Investigation Report from the attack explained that "[t]he multi array EFP penetrated

the door and engine compartment on the driver side of the vehicle, the impact of the EFP caused

5 [wounded in action] and the crash into the sewage ditch resulted in one KIA (PFC Tracy)." Lutz



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 Stearns Add'l Attacks Rep. at 72. The report also describes the findings from the IED Storyboard,

 which determined that the explosive was a "multiple EFP array consisting of both copper and steel

 shape charges." Id. The record further contains photographic evidence depicting the significant

 damage inflicted upon Staff Sgt. Benson and Priv. 1st Class Tracy's vehicle, an up-armored

 Humvee. Id. at 74. Lutz's expert assessment of the photographs is that "[t]he focused blast

penetration hole in the armored driver's door is a distinct signature of a precision manufactured

 EFP." Id. After reviewing the available evidence of the attack, Lutz concludes, in his expert

opinion, "that the attack that killed [Priv. 1st Class] Tracy and injured [Staff Sgt.] Benson was part

of the EFP campaign orchestrated by the IRGC and Hezbollah that was conducted by one of the

IRGC's Hezbollah-trained Special Group proxies." Id. at 75.

          The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the June 17, 2007 EFP attack by supporting proxy forces who conducted

the attack.

                      xii. July 9, 2007 Attack3 6

         In 2007, Spc. 37 Mikeal Miller was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 153--62 (Miller Autopsy Rep.). On July 9, 2007, Spc.

Miller was riding in the second vehicle of a five-vehicle convoy from 3rd Squadron, 61 st Cavalry

Regiment, 2nd Brigade Combat Team, 2nd Infantry Division traveling northwest on Route Pluto



36
  The Amended Complaint noted the date of the attack as July 7, 2007. See Am. Compl., at ,i 815. Pls. ' PFFCL notes
that the correct of the attack is actually July 9, 2007. Pls.' PFFCL, at 13.
37
 Lutz's expert report lists the rank as "Sgt." but the autopsy report and extended casualty report list the rank as "Spc."
Compare Lutz Stearns Add'l Attacks Rep. at 76 with Miller Autopsy Rep. and July 9, 2007 Attack- Baghdad, ECF
No. 36-50, at 15-19. The Court will use the rank "Spc." in accordance with the autopsy and casualty reports.

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 in Baghdad. Lutz Stearns Add'l Attacks Rep. at 76. At approximately 9:00 AM local time, Spc.

 Miller's vehicle was struck by a multi-array explosive: Id. Spc. Miller was injured in the attack

 and later died of his injuries. Id.   Spc. Miller's autopsy report confirms that he died of "[b ]last

 injuries of the [h]ead" approximately six months after experiencing hostile action in Baghdad. See

Miller Autopsy Rep.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the July 9, 2007 attack in Baghdad was an EFP traceable to Iran and its proxies.

The SIGACT Report described the explosive responsible for the attack as a "3X Array EFP (Steel

& Copper)." Lutz Stearns Add'l Attacks Rep. at 76. Additionally, Spc. Miller's vehicle had IED

defeat equipment that was in the on position at the time of the attack. Id. at 77. The "event

storyboard" from the attack noted that "the damage is consistent with a three array EFP (steel and

copper). P[assive] I[nfrared] initiation suspected due to strike points and position of [redacted]."

Id.   The "event storyboard" also reported that the attack was "just outside of IED hot spo[]t

'Vermont'" and that the "attack also hit the second vehicle which may suggest command wire."

Id. After reviewing the available evidence of the attack, Lutz concludes, in his expert opinion,

"that the attack that caused the death of [Spc.] Miller involved a precision manufactured EFP that

was part -of the EFP campaign orchestrated by the IRGC and Hezbollah and was emplaced by one

of the IRGC's Hezbollah-trained Special Group proxies." Id. at 78.

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the July 9, 2007 EFP attack by supporting proxy forces who conducted

the attack.



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                  xiii. July 31, 2007 Attack

        In 2007, Spc. Charles T. Heinlein, Jr. and Spc. Alfed H. Jairala were serving as members

of the United States Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 164-65 (Heinlein

Casualty Rep.); id. at 166 (Jairala Casualty Rep.). On July 31, 2007, Spc. Heinlein and Spc. Jairala

were riding in the lead vehicle of a four-vehicle convoy from B Company, 2nd Battalion, 3rd

Infantry Regiment, 3rd Stryker Brigade Combat Team, 2nd Infantry Division traveling north on

Route Pluto heading to COP Callahan in Baghdad. Lutz Stearns Add'l Attacks Rep. at 79. Spc.

Heinlein and Spc. Jairala's vehicle was a Ml 126 Stryker. Id. A "Route Clearance Team" had

reportedly removed improvised explosive devices from that route just hours earlier. Id. At

approximately 9:30 AM local time, Spc. Heinlein and Spc. Jairala's vehicle was struck by a multi-

array explosive that had been hidden by a concrete block on the right side of the road. Id. Spc.

Heinlein and Spc. Jairala were both killed in the attack. Id. at 80. Spc. Heinlein's casualty report

confirms that he was killed during hostile action in Baghdad on July 31, 2007. See Heinlein

Casualty Rep. Spc. Jairala's casualty report confirms that he died during hostile action in Baghdad

on July 31, 2007 as a result of "[b ]last injuries of the head." See Jairala Casualty Rep.

       The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the July 9, 2007 attack in Baghdad was an EFP traceable to Iran and its proxies.

The AR-15 Investigation Report confirmed that the explosive responsible for the blast was an EFP,

that Spc. Jairala "suffered a severe head wound," and SPC Heinlein suffered "severe abdominal

wounds" as a result of the EFP strike. Lutz Stearns Add'I Attacks Rep. at 80. The SIGACT Report

relayed that the "assessment is the EFP was 3 array with approximately 25lbs of explosive. 2 large

breaches were visible to the main troop compartment. Copper fragments were found on the

opposite wall inside the main compartment" Id. at 81. The IED Report lists the main charge



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 configuration as "EFP." Id. at 82. Additionally, the report noted that "the IED maker was

 experienced and the EFP was well constructed for an attack against a Stryker." Id.       Moreover,

the report noted that "[t]his was a well-planned attack. the location was ideal for a command

initiated attack; ... WIT assesses this block was deliberately positioned to prevent visual

observation of the device." Id. The record also contains descriptions of redacted photographs of

the blast, which show the "catastrophic point of entry into troop compartment between 2nd and

3rd wheel[]" and "copper residue above catastrophic point of entry." Id. After reviewing the

available evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that killed

[Spc.] Heinlein and [Spc.] Jairala was part of the EFP campaign orchestrated by the IRGC and

Hezbollah and was conducted by one of the IRGC's Hezbollah-trained Special Group proxies."

Id. at 87.

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the July 31, 2007 EFP attack by supporting proxy forces who conducted

the attack.

                 xiv. February 19, 2008 Attack

        In 2008, Sgt. Conrad Alvarez and Spc. Jason Whitehorse were serving as members of the

United States Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 168-70 (Alvarez

Extended Casualty Rep.); id. at 171-75 (Whitehorse Deel.). On February 19, 2008, Sgt. Alvarez

and Spc. Whitehorse were riding in the last vehicle of a four-vehicle convoy from A Company, 1st

Battalion, 502nd Infantry Regiment, 101st Airborne Division traveling east on Route Rangers in

Baghdad. Lutz Stearns Add'l Attacks Rep. at 88. Spc. Whitehorse was driving the vehicle and



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 Sgt. Alvarez was serving as the vehicle's truck commander. Id. at 89. At approximately 10:20

PM local time, their vehicle was attacked by a multi-array explosive emplaced in the sewer drain

in the road's median. Id. at 88-89. Sgt. Alvarez was killed in the attack. Id. at 89. Spc.

Whitehorse was injured in the attack, "suffer[ing] small fragmentary wounds to his back and back

of his right arm, 2nd degree burns to the back of his right thigh, both ear drums were perforated,

and small lacerations to his right hand." Id. Sgt. Alvarez's extended casualty report confirms that

he died during hostile action in Baghdad on February 19, 2008 as a result of "Massive Trauma."

See Alvarez Extended Casualty Rep. Spc. Whitehorse continues to suffer from physical and

psychological injuries as a result of his experience. See Whitehorse Deel.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the February 19, 2008 attack in Baghdad was an EFP traceable to Iran and its

proxies. The AR-15 Investigation Report confirmed that the explosive responsible for the blast

was "an IED containing 4-5 EFP's" and "[t]he IED was emplaced in the sewer drain in the

median[,] which prevented the patrol from being able to visually recognize the IED with either

white lights or their thermal sights." Lutz Stearns Add'l Attacks Rep. at 89. The SIGACT Report

further explained that the "vehicle damage was consistent with 4-5 EFP array. Only one entry point

left copper residue leading the team to believe that both copper and steel liners were used." Id. at

90. The IED Report lists the "Main Charge Configuration" as "EFP." Id. at 91. The IED Report

also noted that the attack was one of two on the same day involving an EFP with steel liner placed

near a sewer, leading investigators to believe that "the same cell is responsible for both attacks[.]"

Id. at 92. The "event storyboard" reviewed by Lutz put a finer point on attribution by saying "[i]t

is likely that noncompliant JAM S[pecial] G[roups] conducted this attack[.] ... This attack is

probably a target of opportunity, taking advantage of limited visibility of C[ oalition]



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 F[orces]/I[raqi] S[ecurity] F[orces] patrols." Id.   Lutz also reviewed photographs of the blast

 showing damage to Sgt. Alvarez and Spc. Whitehorse's vehicle, an up-armored Humvee. After

 reviewing the available evidence of the attack, Lutz concludes, in his expert opinion, "that the

 attack that killed [Sgt.] Alvarez and injured [Spc.] Whitehorse was part of the EFP campaign

 orchestrated by the IRGC and Hezbollah and was conducted by one of the IRGC's Hezbollah-

trained Special Group proxies." Id. at 99.

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the February 19, 2008 EFP attack by supporting proxy forces who

conducted the attack.

                     xv. March 14, 2008 Attack

        In 2008, Spc. Austin Bewley was serving as a member of the United States Army in Iraq.
                 )

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 177-78 (Bewley Extended Casualty Rep.). On March

14, 2008, Spc. Bewley were riding in the lead vehicle of a four-vehicle convoy from 230th Military

Police Company and 4th Brigade, 3rd Infantry Division traveling east on Route Christy headed

toward the Baghdad International Airport.        Lutz Stearns Add'l Attacks Rep. at 100.       At

approximately 4:00 PM local time, Spc. Bewley's vehicle was attacked by a multi-array explosive

emplaced just off of the road. Id. at 100-01. Spc. Bewley was injured in the attack. Id. at 101.

Spc. Bewley's extended casualty report confirms that he was injured by hostile activity on March

14, 2008 in Musayyib. See Bewley Extended Casualty Rep. Spc. Bewley allegedly continues to

suffer from physical and psychological injuries as a result of their experience. See Am. CompI, at

,r,r 1011-14.

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        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the March 14, 2008 attack in Musayyib was an EFP traceable to Iran and its proxies.

The SIGACT Report determined that the device used in the attack was a "4-6 array EFP." Lutz

Stearns Add'l Attacks Rep. at 101. The IED Report also notes that the explosion was caused by

an "EFP array consisted of 4-6 EFPs with one and a half to two pounds of explosives per EFP

... WIT recovered fragmentation from the blast seat and remnants of copper slugs from inside the

vehicle." Id. The IED Report lists the main charge configuration as "EFP." Id. at 101. The IED

Report also noted that the device was a "4-6 EFP array, copper cone, body construction unknown."

Id. Lutz reviewed photographs of the blast showing damage to Spc. Bewley's vehicle, an up-

armored Humvee. Id. at 106. After reviewing the available evidence of the attack, Lutz concludes,

in his expert opinion, "that the attack that injured [Spc.] Bewley was part of the EFP campaign

orchestrated by the IRGC and Hezbollah and was conducted by one of the IRGC's Hezbollah-

trained Special Group proxies." Id. at 107.

       The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the March 14, 2008 EFP attack by supporting proxy forces who

conducted the attack.

                 xvi. April 8, 2008 Attack

       In 2008, Staff Sgt. Jeffery Hartley was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 180 (Hartley Casualty Rep.). On April 8, 2008,

Staff Sgt. Hartley were riding in the lead vehicle of a four-vehicle convoy traveling east in

Kharguliah from FOB Rustamiyah headed toward FOB Hammer. Lutz Stearns Add'l Attacks



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 Rep. at 109. At approximately 8:30 PM local time, Staff Sgt. Hartley's vehicle was struck by a

multi-array explosive disguised within a burlap sack and placed just off the side of the road. Id.

Spc. Hartley was instantly killed. Id. at 110. Staff Sgt. Hartley's casualty report confirms that he

died during hostile action on April 8, 2008 in Kharguliah as a result of "[b]last injuries." See

Hartley Casualty Rep.

        Tue Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the April 8, 2008 flttack in Kharguliah was an EFP traceable to Iran and its proxies.

The AR-15 Investigation Report reviewed by Lutz notes that "EFP entered the vehicle from right

to left, hitting [Staff Sgt.] Hartley first and resulting in him being KIA," that witnesses had seen

Staff Sgt. Hartley's vehicle catch fire after the EFP strike, and that Staff Sgt. Hartley's vehicle had

countermeasures to combat IEDs. Lutz Stearns Add'l Attacks Rep. at 110. The IED Report lists

the main charge configuration as "EFP" and describes the device as "2 ea[ ch] copper EFP Array

concealed in a yellow burlap sack." Id. at 110. The "event storyboard" created after the blast

notes that, in the thirty days before the attack, multiple EFPs had been located in the area near the

blast site during clearing operations. Id. at 112. Additionally, the "event storyboard" opines that

"[t]his attack was likely conducted by [IRGC's Hezbollah-trained Special Group proxies] in an

attempt to limit C[oalition] F[ orces] presence in the area. Attacks against C[ oalition] F[ orces]

patrols have risen, and will likely remain high, as a result of [ ]detentions and deaths [of IRGC' s

Hezbollah-trained Special Group proxies]." Id. After reviewing the available evidence of the

attack, Lutz concludes, in his expert opinion, "that the attack that killed [Staff Sgt.] Hartley was

part of the EFP campaign orchestrated by the IRGC and Hezbollah and was conducted by one of

the IRGC's Hezbollah-trained Special Group proxies." Id. at 113.




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        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, location, and unique physical characteristics of

the EFP attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this

Court finds Iran responsible for the April 8, 2008 EFP attack by supporting proxy forces who

conducted the attack.

                 xvii. April 12, 2008 Attack

        In 2008, Sgt. William E. Allmon was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 182 (Allmon Casualty Rep.). On April 12,

2008, Sgt. Allmon was driving one of the vehicles in a twelve-vehicle convoy from 1st Battalion,

64th Armor Regiment and 1st Battalion, 502nd Infantry Regiment conducting a route clearance

patrol headed eastbound along Route Illinois in Baghdad. Lutz Stearns Add'l Attacks Rep. at 114.

While the convoy was traveling, the lead vehicle was struck by an IED. Id. As a result of the

explosion, the lead vehicle needed to be towed. Id. at 115. Consequently, Sgt. Allmon's vehicle,

previously been the third vehicle in the convoy, became the new lead vehicle.              Id.   At

approximately 10:51 AM local time, Sgt. Allmon's vehicle was struck by a multi-array explosive

buried near a wall along the side of the road. Id. Sgt. Allmon sustained massive head trauma as a

result of the blast and later died at a combat hospital. Id. Sgt. Allmon's casualty report confirms

that he died as a result of "[b ]last and fragmentation injuries" incurred during hostile action on

April 12, 2008 in Baghdad. See Allmon Casualty Rep.

       The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the April 12, 2008 attack in Baghdad was an EFP traceable to Iran and its proxies.

The AR-15 Investigation Report reviewed by Lutz noted that the "EFP was buried approximately

10 meters south of a 2 1/2 ft wall that separates the sidewalk from a dirt field. The impact of the



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 EFP showed that it was placed at an upward angle (targeting higher sitting vehicles), and ... that

the damage was consistent with a 2-4 array copper EFP." Lutz Stearns Add'l Attacks Rep. at 116.

The SIGACT Report notes the device was a "3 array EFP." Id. at 117. The SIGACT Report also

notes that Sgt. Allmon's vehicle, a Buffalo Mine Protected Clearance Vehicle, had electronic IED

countermeasures. Id. The IED Report lists the "Main Charge Configuration" as "EFP" and

describes the device as a "a 2-4 copper EFP array." Id. The JTF Troy Report similarly notes that

the damage caused by the EFP to the Buffalo was consistent with a 2-4 array copper EFP. Id. at

119. Additionally, the "event storyboard" opines that this attack was the eighth similar attack

during a period of two weeks and that "[t]hese attacks are likely being emplaced by [IRGC's

Hezbollah-trained Special Group proxies] in effort to limit C[oalition] F[orces] and I[raqi]

S[ecurity] F[orces] movement in the area. This attack coincided with S[mall] A[rms] F[ire]

indicating that SGC is maintaining over watch of emplaced IED's and a defensive posture

throughout the area." Id. at 118. After reviewing the available evidence of the attack, Lutz

concludes, in his expert opinion, "that the attack that killed [Sgt.] Allmon was part of the EFP

campaign orchestrated by the IRGC and Hezbollah and was conducted by one of the IRGC's

Hezbollah-trained Special Group proxies." Id. at 121.

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the April 12, 2008 EFP attack by supporting proxy forces who conducted

the attack.




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                xviii. May 25, 2008 Attack

        In 2008, Staff Sgt. Frank J. Gasper was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App., at 184 (Gasper Casualty Rep.). On May 25, 2008,

Staff Sgt. Gasper was riding in a vehicle as part of a convoy from 3rd Battalion, 10th Special

Forces Group conducting a resupply mission and traveling west along Route Madrid near Najaf.

Lutz Stearns Add'l Attacks Rep. at 123. At approximately 2:50 PM local time, Staff Sgt. Gasper's

vehicle was struck in five places by a multi-array explosive emplaced in the median of the road.

Id. Staff Sgt. Gasper was killed as a result of the blast. Id. Staff Sgt. Gasper's casualty report

confirms that he was killed during hostile action on May 25, 2008 in Najaf. See Gasper Casualty

Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the May 25, 2008 attack in Najaf was an EPP traceable to Iran and its proxies. The

CJTF Troy Report noted that main charge used in the attack was "a 5-EFP array (all steel cones)"

and that "fragmentation pattern on nearby metal pole . . . [indicates] that a secondary frag-

producing charge was placed under EPP array." Lutz Stearns Add'l Attacks Rep. at 125. A human

intelligence report opined that "[a] member of an insurgent group in Ash Sittnafiya, Iraq,

conducted an explosively formed penetrator attack on US Forces in Al Qadisiyah Province, Iraq"

and that "Al-Alamia IED group ... was responsible for the 25 May 08 EPP attack on a U.S.

C[ombined] J[oint] S[pecial] O[operations] T[ask] F[orce] patrol." Id. at 126. After reviewing

the available evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that

killed [Staff Sgt.] Gasper was part of the EPP campaign orchestrated by the IRGC and Hezbollah

and was conducted by one of the IRGC's Hezbollah-trained Special Group proxies." Id.




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          The representations of plaintiffs' expert and the Court's own review of the materials

 submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

 attack, which are consistent with Iran's facilitation of other EFP attacks. 38 Therefore, this Court

finds Iran responsible for the May 25, 2908 EFP attack by supporting proxy forces who conducted

the attack.

                     xix.     August 13, 2008 Attack

         In 2008, Cpl. 39 James Hale was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App. at 186 (Hale Casualty Rep.). On August 13, 2008, Cpl.

Hale was riding in the lead vehicle of a four-vehicle convoy from 978th Military Police Company,

716th Military Police Battalion, 18th Military Police Brigade traveling west in Baghdad on Route

Cubs North. See Lutz Stearns Add'l Attacks Rep. at 127-28. At approximately 10:10 AM local

time, Cpl. Hale's vehicle was struck by a multi-array explosive emplaced on the right side of the

road. Id. Cpl. Hale was killed as a result of the blast. Id. Cpl. Hale's casualty report confirms

that he died during hostile action on August 13, 2008 in Baghdad as a result of"[b ]last and shrapnel

injuries." See Hale Casualty Rep.

         The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the August 13, 2008 attack in Baghdad was an EFP traceable to Iran and its proxies.

The AR 15-6 Report described how an investigation after the blast determined that "the IED was

a 3-array EFP (3 separate explosively formed penetrators)" and that an eyewitness reported that

Cpl. Hale's "door had been opened from the blast and had three holes from the EFP in it. ... Hale


38 This finding is not defeated even though the record of evidence surrounding the blast is relatively sparse. See

Karcher II, 2021 WL 133507, at *22 (noting that less information is available when the blast concerns a Special Forces
movement).
39
   Lutz's expert report lists the rank as "Spc." but the casualty report lists the rank as "Cpl." Compare Lutz Stearns
Add'l Attacks Rep. at 127 with Hale Casualty Rep. The Court will use the rank "Cpl." in accordance with the casualty
report.

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 had [the] [sic] EFP go directly through his mid section almost ripping him in half." Lutz Stearns

 Add'l Attacks Rep. at 128. The investigation also uncovered "small fragments of copper found

 just below the radio" in Spc. Hale's vehicle. Id. at 128-29. The SIGACT Report lists the device

 responsible for the blast as a 3-array EFP and that "the EFP array appeared to be angled slightly

 up and toward the oncoming traffic." Id. at 129. The IED Report described the device as a "3

 copper EFP array with approx. l 5lbs [U]nknown [B]ulk [E]xplosives." Id. at 130. After reviewing

 the available evidence of the attack, Lutz concludes, in his expert opinion, "that the attack that

 killed [Cpl.] Hale was part of the EFP campaign orchestrated by the IRGC and Hezbollah and was

 conducted by one of the IRGC's Hezbollah-trained Special Group proxies." Id. at 138.

         The representations of plaintiffs' expert and the Court's own review of the materials

 submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the August 13, 2008 EFP attack by supporting proxy forces who

conducted the attack.

                     xx.      October 5, 2008 Attack

         In 2008, Spc. 40 Bryant Bearfield was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App. at 188 (Bearfield Purple Heart Award). On October

5, 2008, Spc. Bearfield was occupying the gunner position in the lead vehicle of a four-vehicle

convoy from 2nd Battalion, 502nd Infantry Regiment traveling south in Musayyib on Alternate

Supply Route Jackson from FOB Iskandariyah. See Lutz Stearns Add'l Attacks Rep. at 140. At

approximately 11 :23 AM local time, Spc. Bearfield's vehicle, an MRAP, was struck by a multi-



40
  Lutz's expert report lists the rank as "Staff Sgt." but the copy of the Purple Heart Award lists the rank as "Spc."
Compare Lutz Stearns Add'l Attacks Rep. at 140 with Bearfield Purple Heart Award. The Court will use the rank
"Spc." in accordance with the award.

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array explosive concealed beneath rubble on the side of the road. Id. Spc. Bearfield was injured

as a result of the blast. Id. On October 17, 2008, Priv. Spc. Bearfield received the Purple Heart

award "for wounds received in action." See Bearfield Purple Heart Award.           Spc. Bearfield

allegedly continues to suffer from psychological injuries as a result of their experience. See Am.

Compl, at ,r,r 1196-97.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the October 5, 2008 attack in Musayyib was an EFP traceable to Iran and its

proxies. The SIGACT Report lists the device responsible for the blast as a "3-5 array EFP" and

that "samples of copper slugs were retrieved from" Spc. Bearfield's vehicle. Lutz Stearns Add'l

Attacks Rep. at 141. The CJTF-Troy Report noted that "[t]here was significant damage to the

MRAP consistent with a 3-5 EFP array." Id. The CJTF-Troy Report also noted that the "EFP

array was aimed high on the MRAP with all slug impact points above the MRAP windows. Intent

seems to have been to target the gunner due to the exposed nature of the turret." Id. The record

also contains photographic evidence of the significant damage to Spc. Bearfield's vehicle. Id. at

146. After reviewing the available evidence of the attack, Lutz concludes, in his expert opinion,

"that the weapon that injured [Spc.] Bearfield was part of the EFP campaign orchestrated by the

IRGC and Hezbollah and was conducted by one of the IRGC's Hezbollah-trained Special Group

proxies." Id. at 146.

       The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the October 5, 2008 EFP attack by supporting proxy forces who

conducted the attack.



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                        xxi. September 8, 2009 Attack

        In 2009, 1st Lt. Joseph D. Helton was serving as a member of the United States Anny in

 Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App. at 190 (Helton Casualty Rep.). On September 8,

2009, 1st Lt. Helton was riding in the third vehicle of a four-vehicle convoy from Detachment 2,

732nd Expeditionary Security Forces Squadron, 93d Military Police Battalion traveling north on

Route Jackson near FOB Falcon in southern Baghdad. Lutz Stearns Add'l Attacks Rep. at 148.

At approximately 10:00 AM local time, 1st Lt. Helton's vehicle, a Humvee, was struck by a multi-

array explosive hidden between a wall and the road. Id. at 148-49. 1st Lt. Helton was killed as a

result of the blast. Id. at 149. 1st Lt. Helton's casualty report confirms that he was killed during

hostile action on September 8, 2009 in Baghdad. See Helton Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the September 8, 2009 attack in Baghdad was an EFP traceable to Iran and its

proxies. The AR 15-6 Report reviewed by Lutz detailed sworn statements from twelve members

of the patrol who observed, among other things, that the EFP created a "6 or 8 inch hole" in the

do9r of 1st Lt. Helton's vehicle. Lutz Stearns Add'l Attacks Rep. at 149-50. The SIGACT Report

lists the device responsible for the blast as a "single EFP with a copper cone." Id. at 150. The IED

Report lists the "Main Charge Configuration" as a "Directional-EFP" and describes the device as

an "EFP with copper cone approximately 10 inches in diameter and a thin steel case." Id.

Additionally, the report determined that "it appears that [1st Lt. Helton's vehicle] was specifically

targeted due to the angle of the EFP." Id. at 150-51. The CJTF-Troy Report noted that the device

was "a single copper plate EFP with thin steel casing, consisting of35-45 lbs ofU[nkown] B[ulk]

E[xplosives], and targeting [U.S. Humvees]." Id. at 151. The report further stated "F[ormer]

S[pecial] G[roups] as the responsible group for the attack, due to their previous activity within the



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area." Id. The JTF Troy Report explained that "the strike appeared to be from a single EFP

approximately 10 inches in diameter, with a copper cone and light steel case[, and that] the main

charge consisted of approximately 50lbs ofU[nkown] B[ulk] E[plosive]." Id. at 154. The CEXC

Report described the results of a chemical analysis of the metal fragments recovered from the blast

site, finding "trace explosive residue consistent with a Cyclotrimethylenetrinitramine (RDX) based

explosive." Id. Lutz notes in his expert report that RDX is a common component in high-energy

explosives, including Iranian manufactured C-4. Id. After reviewing the available evidence of the

attack, Lutz concludes, in his expert opinion, that the "attack that ... killed [1st Lt.] Helton was

part of the EFP campaign orchestrated by the IRGC and Hezbollah and was conducted by one of

the IRGC's Hezbollah-trained Special Group proxies." Id. at 158.

       The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the September 8, 2009 EFP attack by supporting proxy forces who

conducted the attack.

                        :xxii. April 22, 2011 Attack

       In 2011, Priv. 1st Class Antonio Stiggins was serving as a member of the United States

Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App. at 192 (Stiggins Casualty Rep.). On April

22, 2011, Priv. 1st Class Stiggins was occupying the gunner position in the second vehicle of a

multi-vehicle convoy from F Troop, 2d Squadron, 3rd Armored Cavalry Regiment traveling west

on Alternate Supply Route Bismark, west of Al Kut, Numaniyah, from Contingency Operating

Base Delta. Lutz Stearns Add'l Attacks Rep. at 160. At approximately 2: 18 PM local time, Priv.

1st Class Stiggins' vehicle, an MRAP, was struck by a multi-array explosive emplaced on the right



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 side of the road. Id. Priv. 1st Class Stiggins was killed as a result of the blast. Id. at 161. Priv.

 1st Class Stiggins' casualty report confirms that he died during hostile action on April 22, 2011 in

Al Kut as a result of "[b]last injuries." See Stiggins Casualty Rep.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the April 22, 2011 attack in Al Kut was an EFP traceable to Iran and its proxies.

The AR 15-6 Report reviewed by Lutz noted that the "EFP penetrated ·behind the vehicle

commander's door and hit ... [Priv. 1st Class] Stiggins." Lutz Stearns Add'l Attacks Rep. at 161.

The report also contained an exhibit showing that Kata'ib Hezbollah had claimed responsibility

for the attack. Id. at 161-62. The SIGACT Report states that "the main charge of the EFP is

estimated to be 40-50 lbs ofU[nkown] B[ulk] E[xplosives]." Id. at 162. The IED Report lists the

main charge configuration as an "EFP" and describes the device as a "[m]ultiple copper lined EFP

array, with an unknown arming/initiation system." Id. After reviewing the available evidence of

the attack, Lutz concludes, in his expert opinion, "that the weapon that killed [Priv. 1st Class]

Stiggins was part of the EFP campaign orchestrated by the IRGC and Hezbollah and was

conducted by one of the IRGC's Hezbollah-trairied Special Group proxies." Id. at 166.

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP

attack, which are consistent with Iran's facilitation of other EFP attacks. Additionally, a known

Iran-affiliated group claimed responsibility for the attack.      Therefore, this Court finds Iran

responsible for the April 22, 2011 EFP attack by supporting proxy forces who conducted the attack.

                      xxiii. July I 5, 2011 Attack

        In 2011, Spec. Daniel Elliott was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App. at 194-95 (Elliott Death Cert.). On July 15, 2011, Spec.



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 Elliott was occupying the gunner position in the lead vehicle of a four-vehicle convoy from 805th

Military Police Company traveling west on Route Detroit conducting a counter indirect fire patrol

in northern Basra. Lutz Stearns Add'l Attacks Rep. at 175.          At approximately 6:40 AM local

time, Spec. Elliott's vehicle, a Caiman, was struck by a multi-array explosive emplaced on the

right side of the road. Id. Spec. Elliott was killed as a result of the blast. Id. Spec. Elliott's death

certificate confirms that he died during hostile action on July 15, 2011 in Basra as a result of

"[b ]last injuries." See Elliott Death Cert.

        The Court finds satisfactory evidence in the record to demonstrate that the explosive

responsible for the July 15, 2011 attack in Basra was an EFP traceable to Iran and its proxies. The

SIGACT Report states that the device responsible for the blast was an "EFP and the Caiman was

destroyed." Lutz Stearns Add'l Attacks Rep. at 175. The IED Report lists the "Main Charge

Configuration" as "Directional-EPP." Id. at 176. The report further notes "that the device was an

EFP and was copper-lined and consisted of approximately 15lbs ofU[nkown] B[ulk] E[xplosive]."

Id. The JTF Troy Report reported "significant copper residue" left on the armor of Spec. Elliott's

vehicle. Id. at 177. The record also contains photographs of the extensive damage to the vehicle.

Id. at 179-81. Lutz reviewed the autopsy report for Spec. Elliott and remarked that the injuries

that led to his death "are entirely consistent with injuries commonly sustained as a result of an EFP

strike." Id. at 182. After reviewing the available evidence of the attack, Lutz concludes, in his

expert opinion, "that the attack that killed [Spec.] Elliott was part of the EFP campaign orchestrated

by the IRGC and Hezbollah and was conducted by one of the IRGC's Hezbollah-trained Special

Group proxies." Id.

       The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the EFP



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attack, which are consistent with Iran's facilitation of other EFP attacks. Therefore, this Court

finds Iran responsible for the July 15, 2011 EFP attack by supporting proxy forces who conducted

the attack.

              E. Additional Non-EFP Attacks Not Previously Adjudicated

        Finally, plaintiffs allege injuries traceable to three additional attacks not previously

adjudicated allegedly involving Iranian-supplied rockets and mortar rounds:

              1. April 6, 2008 Attack in Baghdad, see Am. Compl., at ,r,r 1069-79;
              2. April 6, 2008 Attack in Baghdad, see id., ,r,r 1080-90; and
              3. June 29, 2011 Attack in Wasit Province, see id., ,r,r 1320-35.

        After reviewing the materials submitted by the plaintiffs, the Court finds satisfactory

evidence in the record to demonstrate that the attacks are traceable to Iran and its proxies.

                   i. April 6, 2008 Attack ("First April 6, 2008 Attack")

        In 2008, Staff Sgt. Emanuel Pickett was serving as a member of the United States Army in

Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App. at 194-95 (Pickett Death Cert.). On April 6, 2008,

Staff Sgt. Pickett was serving as the squad leader for the 1st Squad, 2nd Platoon, l 132nd-Military

Police Company at FOB Rustamiyah. McIntyre Stearns Apr. 6, 2008 Attacks Rep. at 4. At

approximately 3:00 PM local time, a concrete pad at FOB Rustamiyah experienced a single round

of indirect fire. Id. As a result, the soldiers at FOB Rustamiyah, including Staff Sgt. Pickett,

proceeded to the nearest bunker for protection. At approximately 3 :08 PM local, FOB Rustamiyah

received three rounds of indirect fire, one of which struck the front of the bunker where Staff Sgt.

Pickett was located. Id. Staff Sgt. Pickett was mortally wounded in the attack and later died at the

86th Combat Hospital. Id.       Staff Sgt. Pickett's death certificate confirms that he died during

hostile action on April 6, 2008 in Baghdad as a result of"[b]last injuries." See Pickett Death Cert.

       The Court finds satisfactory evidence in the record to demonstrate that the munitions

responsible for the First April 6, 2008 Attack in Baghdad were 81 mm mortars and 107mm rockets

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traceable to Iran and its proxies. The AR 15-6 Investigation report, reviewed by McIntyre, notes

that, at the time of the attack, "[a]n unknown mix of (8-10) 81 mm mortars and 107mm rockets

impacted on the F[orward] O[perating] B[ase] within the 95th M[ilitary] P[olice] B[attalion]

footprint." McIntyre Stearns Apr. 6, 2008 Attacks Rep. at 4. The SIGACT Report the lists the

"Modes of Attack" as "Rocket" and "Mortar." Id. at 5. The "event storyboard" concludes that the

attack "consisted of lx 107 mm rockets and 2x 81 mm mortar rounds." Id. Additionally, the

SIGACT Report notes that, "ended 30-45 min[utes] prior to the attack," Coalition Forces had

completed a "cordon and search of Tai Pink[,] ... indicat[ing] that JAM elements had op[ erative]s

watching the search of this location and moved to attack only after C[oalition] F[orces] had left

the obj[ective]." Id. In his expert report, McIntyre sheds further light on the overall conflict

landscape at the time of the attack, explaining that "[t]he attack took place during a period of

increased operational tempo by IRGC-directed Special Groups directed against Coalition Forces."

Id. at 6. For example, between March 23, 2008 and March 28, 2008, just days before the attack,

IRGC-sponsored proxy groups "launched 91 separate barrages that dropped a total of 344 rockets

and mortar rounds on the Green Zone in Baghdad. These indirect-fire attacks coincided with

coordinated JAM Special ,Groups assaults against all 11 Iraqi Security Forces checkpoints around

Sadr City." Id. at 6-7. After reviewing the available evidence of the attack, McIntyre concludes,

in his expert opinion, "it is highly probable that the April 6, 2008 attack on FOB Rustamiyah that

killed [Staff Sgt.] Pickett was consistent with the types of attacks o.rchestrated by the IRGC and

Hezbollah against U.S. and Coalition Forces operating in Iraq and was committed at the general

direction of the IRGC by one of its Special Groups proxies using weapons provided by the IRGC

and training provided by the IRGC and Hezbollah." Id. at 7.




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          The representations of plaintiffs' expert and the Court's own review of the materials

 submitted underscore the lethality, sophistication, and unique physical characteristics of the attack,

 which are consistent with Iran's facilitation of other attacks involving mortars and rockets.

 Additionally, the attack occurred in the context of escalating tensions between coalition forces and

 proxy forces. Therefore, this Court finds Iran responsible for the First April 6, 2008 Attack by

 supporting proxy forces who conducted the attack.

                   ii. April 6, 2008 Attack ("Second April 6, 2008 Attack")

         In 2008, Major ("Maj.") Stuart A. Wolfer41 was serving as a member of the United States

 Army in Iraq. See 28 U.S.C. § 1605A(a)(2)(A)(ii) App. at 200--01 (Wolfer Death Cert.). On April

 6, 2008, Maj. Wolfer was located at the Phoenix Base within Baghdad's International Zone.

 McIntyre Stearns Apr. 6, 2008 Attacks Rep. at 9. At approximately 3:28 PM local time, a 107mm

rocket crashed into the roof of the gymnasium facility on base. Id. The explosion propelled

shrapnel into the interior of the gym. Maj. Wolfer, who was located directly underneath the impact

point, sustained traumatic injuries and was later pronounced dead at the 86th Combat Support

Hospital. Id. Maj. Wolfer's death certificat~ confirms that he died during hostile action on April

6, 2008 in Baghdad as a result of"[b]last injuries." See Wolfer Death Cert.

         The Court finds satisfactory evidence in the record to demonstrate that the munitions

responsible for the Second April 6, 2008 Attack in Baghdad were 107mm rockets traceable to Iran

and its proxies. The AR 15-6 Investigation report, reviewed by McIntyre, noted that, "EOD

determined the IDF consisted of one Iranian made 107mm rocket." Id. at 10. The SIGACT Report

the lists the "Modes of Attack" as "Rocket," and specifically a 107mm Iranian rocket. Id. at 10.


41
  The amended complaint lists claims by several plaintiffs related to "Scott Wolfer." See Am. Compl., at ,r,r 1084-
87. According to the official casualty report, the servicemember killed in the Second April 6, 2008 was "Stuart
Wolfer." See Wolfer Death Cert. Therefore, this Court determines the name "Scott Wolfer" to be in error and the
correct name to be "Stuart Wolfer."

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 The JTF Troy Report observed that the "[b ]last seat, rocket motor, and fragmentation are consistent

 with one 107mm Iranian rocket dated 2006" and concludes that "P[oint] O[f] I[mpact] was

impacted by one Iranian 107mm H[igh] E[xplosive] Rocket."              Id.   The "event storyboard"

concludes that the attack consisted of "3x 107 mm Iranian rockets on the I[nternational] Z[one]."

Id. at 11. Additionally, the "event storyboard" notes that "[t]his is the 4th IDF attack against the

international zone since the beginning of April. ... Special Group Criminal (SGC) elements within

the Sadr City security district continue to attack C[ oalition] F[orces] fixed points in response to

the perception that an incursion further into Sadr City is imminent." Id. After reviewing the

available evidence of the attack, McIntyre concludes, in his expert opinion, "it is highly probable

that the April 6, 2008 attack on Phoenix Base that killed ... [Maj.] Wolfer was consistent with the

types of attacks orchestrated by the IRGC and Hezbollah against U.S. and Coalition Forces

operating in Iraq and was committed at the general direction of the IRGC by one of its Special

Groups proxies using weapons provided by the IRGC and training provided by the IRGC and

Hezbollah." Id. at 13.

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the attack,

which are consistent with Iran's facilitation of other attacks involving rockets. Additionally, the

attack occurred in an area with a pattern of previous attacks facilitated by Iran-supported proxy

groups. Therefore, this Court finds Iran responsible for the Second April 6, 2008 Attack by

supporting proxy forces who conducted the attack.

               iii.   June 29, 2011 Attack

       In 2011, 1st Sgt. Donald Field was serving as a member of the United States Army in Iraq.

See 28 U.S.C. § 1605A(a)(2)(A)(ii) App. at 203 (Field Purple Heart Award). On June 29, 2011,



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 1st Sgt. Field was located at the COB Shocker, in Wasit Province, Iraq. Lutz Stearns Add'l Attacks

Rep. at 168. At approximately 4:20 PM local time, four Improvised Rocket Assisted Munition-

propelled 240mm rockets ("!RAMs") were launched from a dump truck located near COB

Shocker. Id. Three of the !RAMs detonated over COB Shocker's tactical operations center and

gym. Id. 1st Sgt. Field was injured in the explosion. Id. 1st Sgt. Field received the Purple Heart

award "for wounds received in action." See Field Purple Heart Award. 1st Sgt. Field allegedly

continues to suffer from psychological injuries as a result of his experience. See Am. Compl, at

,r,r 1322-31.
        The Court finds satisfactory evidence in the record to demonstrate that the munitions

responsible for the June 29, 2011 attack in Wasit Province were !RAMs traceable to Iran and its

proxies. The IED Report describes the device used in the attack as "4x !RAMs w/ 240mm rocket

motor" and that "[e]ach IRAM has approximately 300lbs ofU[nkown] B[ulk] E[xplosive]." Lutz
         I


Stearns Add'l Attacks Rep. at 172. The SIGACT Report attributed the attack to Iran noting:

"Single source reporting indicates that three IRCG-QF members were I[n] V[icinity] O[f] Shocker

during the attack. ... [Additionally,] a [Kata'ib Hezbollah] affiliated TV station began reporting

on the attack shortly after it was conducted. Of note, there are definite similarities between this

attack and the IRAM attack <;:onducted against J[oint] S[ecurity] S[tation] Sifer by A[sa'b] A[hl]

[al-]H[aq]." Id. at 171. In his expert report, Lutz opined that Kata'ib Hezbollah posted a video to

its website showing multiple !RAMs being fired at COB Shocker followed by several explosions,

which was "consistent with [Kata'ib Hezbollah]'s prior TTP and the evidence collected by

EOD/Task Force Troy." Id. at 174. After reviewing the available evidence of the attack, Lutz

concludes, in his expert opinion, "the attack that injured [1st Sgt.] Field ... involved the use of

multiple !RAMs, a signature weapon used by Kata'ib Hezbollah, and it is highly probable that the



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240mm rockets used to perpetrate the attack were supplied by the IRGC. I further conclude that

the attack itself was likely committed by Kata'ib Hezbollah at the direction of the IRGC and

(Lebanese) Hezbollah." Id. at 174.

        The representations of plaintiffs' expert and the Court's own review of the materials

submitted underscore the lethality, sophistication, and unique physical characteristics of the attack,

which are consistent with Iran's facilitation of other attacks involving mortars and rounds.

Additionally, a known Iran-affiliated group claimed responsibility for the attack. Therefore, this

Court finds Iran responsible for the June 29, 2011 attack by supporting proxy forces who conducted .

the attack.

                                   III.    CONCLUSIONS OF LAW

        This Court's conclusions oflaw will proceed in several parts. First, the Court will address

why it has subject matter jurisdiction under the FSIA's terrorism exception. Second, the Court

will explain why it may validly exercise personal jurisdiction over Iran in this case. Third and

fourth, the Court will discuss potential issues of timeliness and venue. Finally, the Court will

assess whether plaintiffs have stated cognizable claims for relief under§ 1605A(c) of the FSIA.

As the Court will explain, the plaintiffs have validly stated claims for relief, meaning that the Court

can grant default judgment on these claims.

              A. Subject Matter Jurisdiction

        The FSIA is the "sole basis for obtaining jurisdiction over a foreign state in our courts."

Argentine Repub. v. Amerada Hess Shipping Corp., 488 U.S. 428,434 (1989). Under the FSIA,

federal district courts have original subject matter jurisdiction over (1) nonjury civil actions (2) for

claims seeking relief in personam (3) against a foreign state (4) when the foreign state is not

entitled to immunity under the FSIA. See 28 U.S.C. § 1330(a). Plaintiffs meet the first three



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requirements here. They do not demand a jury trial, they claim civil causes of action, and they

assert a right to in personam relief against a foreign state-the Isla~ic Republic of Iran.

        That leaves the question of Iran's sovereign immunity. Foreign states are presumptively

immune from jurisdiction subject to several enumerated exceptions. See 28 U.S.C. § 1604. A

district court "has subject matter jurisdiction over a suit against a foreign state if-and only if-

[a] plaintiffs claim falls within" one of these exceptions. Odhiambo v. Repub. ofKenya, 764 F.3d

31, 34 (D.C. Cir. 2014). "[I]f no exception applies, the district court has no jurisdiction." Id.

Since federal courts must consider issues of subject matter jurisdiction sua sponte, Gonzalez v.

Thaler, 565 U.S. 134, 141 (2012), a district court adjudicating FSIA claims must decide whether

an exception to immunity applies "even if the foreign state does not enter an appearance,"

Verlinden B. V. v. Central Bank ofNigeria, 461 U.S. 480,493 & n.20 (1983).

        Plaintiffs argue that Iran's conduct falls within the FSIA's terrorism exception. That

provision of the FSIA states that a foreign state has no immunity:

               in any case ... in which [1] money damages are sought [2] against
               a foreign state [3] for personal injury or death [4] that was caused
               by [5] an act of torture, extrajudicial killing, aircraft sabotage,
               hostage taking, or the provision of material support or resources for
               such an act if such act or provision of material support or resources
               is engaged in by an official, employee, or agent of such foreign state
               while acting in the scope of his or her office, employment, or
               agency.

28 U.S.C. § 1605A(a)(l).       This exception applies only if plaintiffs meet three additional

requirements. First, the foreign state must have been designated a state sponsor of terrorism when

the underlying attack occurred or designated as a result of the attack. Id. § 1605A(a)(2)(A)(i)(I).

Second, at the time of the underlying attack, the "claimant or victim" must have been a "national

of the United States," a "member of the armed forces," or an employee or contractor of the United

States Government acting within the scope of her employment. Id. § 1605A(a)(2)(A)(ii). Third,


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 if "the act occurred in the foreign state against which the claim has been brought," the claimant

 must have "afforded the foreign state a reasonable opportunity to arbitrate" the claim.                        Id.

 § 1605A(a)(2)(A)(iii).

         Plaintiffs undoubtedly meet these elements. They seek money damages against Iran, a

 foreign state. See Am. Compl., at ,r,r 1342-55. Plaintiffs allege personal injuries-both physical

and emotional-arising out of the attacks. 42 See id. at 89-1341. Iran has been designated a state

sponsor of terrorism since 1984, including at the time of the attacks. See Determination Pursuant

to Section 6(i) of the Export Administration Act of 1979-Iran, 49 Fed. Reg. 2836 (Jan. 23, 1984).

And the attacks took place in Iraq-not Iran-meaning that plaintiffs need not afford Iran an

opportunity to arbitrate these claims.

         Plaintiffs are also "claimant[s] or victim[s]" within the meaning of the FSIA. See 28 U.S.C.

§ 1605A(a)(2). Courts in this District have interpreted this statutory provision to allow for claims

of "(1) [the] U.S. soldiers and civilians injured in Iraq by terrorist acts that Iran materially

supported; (2) the estates of U.S. soldiers and civilians killed in Iraq as a result of such acts; and

(3) the immediate family members (or the estates of now-deceased immediate family members) of

the injured and deceased U.S. soldiers and civilians." Karcher, 2021 WL 133507, at *68 (citing

Rezaian v. Islamic Repub. of Iran, 422 F. Supp. 3d 164, 179 (D.D.C. 2019)). Plaintiffs are all

allegedly U.S. citizens and fall within the three categories of "claimant[s] or victim[s]" as defined

by this District. See generally Am. Compl.




42
   The FSIA does not restrict the "personal injury or death" requirement to injury or death suffered directly by a
claimant. Va/ore, 700 F. Supp. 2d at 66. Rather, the injury or death "must merely be the basis of a claim for which
money damages are sought." Id. (citing 28 U.S.C. § 1605A(a)(l)).

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        Three elements remain. The Court may properly exercise subject matter jurisdiction iflran

(1) provided "material support or resources" for (2) acts of "extrajudicial killing" that (3) caused

plaintiffs' injuries. See 28 U.S.C. § 1605A(a)(l). The Court will address each element in tum.

                  i.    Material Support or Resources

        First, plaintiffs must show that Iran provided "material support or resources" for the EFP

attacks that resulted in their injuries. See id. The FSIA defines "material support or resources" as:

                any property, tangible or intangible, or service, including currency
                or monetary instruments or financial securities, financial services,
                lodging, training, expert advice or assistance, safehouses, false
                documentation or identification, communications equipment,
                facilities, weapons, lethal substances, explosives, personnel ... , and
                transportation, except medicine or religious materials.

18 U.S.C. § 2339A(b)(l) (emphases added); see 28 U.S.C. § 1605A(h)(3) (adopting definition of

"material support or resources" found in 18 U.S.C. § 2339A). The material support or resources

must have been provided "by an official, employee, or agent of [the] foreign state" acting in the

scope of her "office, employment, or agency." 28 U.S.C. § 1605A(a)(l).

        Plaintiffs satisfy this element. Multiple experts have testified that the Special Groups could

not have conducted the attacks-both EFP and non-EPP-without the support of the IRGC and

Qods Force. See supra Section 11.C. This support included "millions of dollars of funding,

training, and advanced weaponry." Lee, 518 F. Supp. 3d at 493; see, e.g., Pregent Rep., PX-155,

at 12 (detailing the training programs and funding Iran provided to Special Groups); Oates Rep.,

PX-153, at 24-25 (explaining that coalition forces discovered caches of EFP materials traceable

to Iranian manufacturers). And, as other courts in this District have held, the Qods Force is "at

least an agent oflran," if not a governmental entity "such that individuals working for it would be

officials or employees of Iran." Karcher, 396 F. Supp. 3d at 55; see Blais v. Islamic Repub. of

Iran, 459 F. Supp. 2d 40, 60-61 (D.D.C. 2006) (finding the IRGC to be a governmental entity).

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Plaintiffs have therefore proven that that Iran-acting through the IRGC and Qods Force-

materially supported the EFP and non-EFP attacks that resulted in their injuries.

                    ii.   Extrajudicial Killings

        Second, plaintiffs must demonstrate that the underlying terrorist attacks are "act[ s] of ...

extrajudicial killing" under the FSIA. See 28 U.S.C. § 1605A(a)(l). The FSIA defines an

"extrajudicial killing" by reference to the Torture Victim Protection Act of 1991 ("TVP A"). See

28 U.S.C. § 1605A(h)(7). An "extrajudicial killing"-as defined by the TVP A-is "a deliberated

killing not authorized by a previous judgment" of a "regularly constituted court" that "afford[s] all

the judicial guarantees ... recognized as indispensable by civilized peoples." Terrorist Victim

Protection Act, Pub. L. No. 102-256, 106 Stat. 73, § 3(a) (1992). Thus, an "extrajudicial killing"

contains three elements: "(1) a killing; (2) that is deliberated; and (3) is not authorized by a

previous judgment pronounced by a regularly constituted court." Owens, 864 F.3d at 770. The

EFP and non-EFPiattacks meet all three requirements of an extrajudicial killing.

       Plaintiffs allege injury traceable to attacks resulting in completed and attempted

extrajudicial killings. As mentioned above, extrajudicial killings clearly satisfy the statutory

requirement in 28 U.S.C. § 1605A(a)(l). Additionally, attempted extrajudicial killings may still

constitute "act[s] of ... extrajudicial killing" under § 1605A(a)(l). The text of§ 1605A(a)(l)

reads as follows:

               A foreign state shall not be immune ... in any case ... in which
               money damages are sought against a foreign state for personal injury
               or death that was caused by an act of . .. extrajudicial killing ... or
               the provision of material support or resources for such an act.

28 U.S.C. § 1605A(a)(l) (emphasis added). The FSIA does not waive immunity when a foreign

state supports an extrajudicial killing, but rather an "act of' extrajudicial killing. Id. That term

could be read multiple ways. An "act" could refer to "a thing done" or a specific "deed." Act,


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 New Oxford English Dictionary (2d ed. 2005). But an "act" might also refer to "[t]he process of

 doing" something. Act, Oxford English Dictionary (2d ed. 1989); accord Act, Merriam-Webster's

 Collegiate Dictionary (10th ed. 2005) (defining "act" as both "the doing of a thing" and "the

 process of doing"). Plausibly read, § 1605A(a)(l) could encompass (1) the specific deed of an

 extrajudicial killing or (2) the process of committing an extrajudicial killing. 43 But the process of

 committing an extrajudicial killing does not imply that death results-meaning that an attempted

 extrajudicial killing could constitute an "act of extrajudicial killing."

         In light of this ambiguity, the Court will interpret§ 1605A(a)(l) broadly. The D.C. Circuit

has held that courts should "interpret [the FSIA's] ambiguities flexibly and capaciously" because

of Congress's intent to "lighten the jurisdictional burdens borne by victims of terrorism seeking

judicial redress" by passing§ 1605A. Van Beneden v. Al-Sanusi, 709 F.3d 1165, 1167 & n.4 (D.C.

Cir. 2013). And courts in this District have consistently held that attempted extrajudicial killings

fall within the meaning of§ 1605A(a)(l)'s text. See, e.g., Lee, 518 F. Supp. 3d at 491 (concluding

that§ 1605A(a)(l)'s text and "the court's mandate to construe ambiguities in the FSIA broadly"

permitted jurisdiction for attempts to commit extrajudicial killings); Karcher I, 396 F. Supp. 3d at

58 (interpreting § 1605A(a)(l) broadly since its text "does not expressly address attempts to

commit acts").        The Court concludes likewise.              Attempted extrajudicial killings are "acts

of extrajudicial killing" within the meaning of§ 1605A(a)(l). See Lee, 518 F. Supp. 3d at 491;

Karcher I, 396 F. Supp. 3d at 58. And attacks with EFPs-which wrought death upon many

victims in Iraq-are, at the least, attempted extrajudicial killings.


43This reading finds support in the TVP A, which the FSIA incorporates by reference. The TVP A establishes liability
for "[a]n individual who, under actual or apparent authority, or color of law, of any foreign nation ... subjects an
individual to extrajudicial killing." TVPA § 2(a)(2). It is a "cardinal principle" of interpretation that "courts 'must
give effect, if possible, to every clause and word ofa statute,"' Loughrin v. United States, 573 U.S. 351,358 (2014)
(quoting Williams v. Taylor, 529 U.S. 362,404 (2000)), suggesting that the "act of' language inserted in§ 1605A(a)(l)
carries independent meaning.,

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           The EFP and non-EFP attacks at issue in this case were also "deliberated." A deliberated

killing is "one undertaken with careful consideration, not on a sudden impulse." Lee, 518 F. Supp.

3d at 491 (quoting Salzman v. Islamic Repub. of/ran, 2019 WL 4673761, at *13 (D.D.C. Sept. 25,

2019); cf Owens, 864 F.3d at 770 (finding a killing "deliberated" when it involved "substantial

preparation, meticulous timing, and coordination across multiple countries in the region");

Mamani v. Berzain, 654 F.3d 1148, 1155 (11th Cir. 2011) (interpreting "deliberated" under the

TVP A as "being undertaken with studied consideration and purpose").              Expert testimony

demonstrates that an EFP attack requires significant planning, coordination, and timing. See supra

Section II.C. A perpetrator must place the explosive device (often hiding it within boulders, debris,

or roadside curbs), keep a sharp lookout for the target, and arm the device remotely as the target

approaches.      See id.    The thought and consideration required to conduct an EFP attack are

hallmarks of deliberation. Furthermore, McIntyre's expert report details the decades-long history

of Iran providing both mortar rounds and rockets, with accompanying training, to proxy groups.

See McIntyre Stearns Apr. 6, 2008 Attacks Rep. at 1. This pattern and practice is consistent with

deliberation.

           Additionally, no evidence on the record suggests that the EFP and non-EFP attacks in this

case were authorized by a judgment pronounced by a court oflaw. The Court therefore concludes

that Iran's material support for EFP attacks qualify as material support for acts of extrajudicial

killing.

                   iii.    Causation

           To prove causation under the FSIA's terrorism exception, a plaintiff must show that the

foreign state's actions proximately caused the alleged injuries. Owens, 864 F.3d at 794. Proximate

causation requires "some reasonable connection between the act or omission of the defendant and



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the damage which the plaintiff has suffered." Id. (quoting Kilburn v. Socialist People's Libyan

Arab Jamahiriya, 376 F.3d 1123, 1128 (D.C. Cir. 2004)). This inquiry contains two elements: (1)

the defendant's actions "must be a 'substantial factor' in the sequence of events" leading to the

injury; and (2) the injury must have been "'reasonably foreseeable or anticipated as a natural

consequence' of the defendant's conduct." Id. (quoting Rothstein v. UBS, 708 F.3d 82, 91 (2d Cir.

2013)).

          Plaintiffs have shown that Iran proximately caused their injuries stemming from the EFP

attacks. First, Iran's material support for Iraqi insurgents was a substantial factor in the chain of

events leading to plaintiffs' injuries. As the Lee court explained:

                 Iran provided the funding, training, and weaponry that was used to
                 injure [p]laintiffs. This support was particularly crucial: as the U.S.
                 military developed countermeasures to make EFP attacks less lethal,
                 Iran's training, technology, and provision of resources equipped
                 insurgents with EFPs that could respond to U.S. countermeasures
                 and inflict maximum damage.

Lee, 518 F. Supp. 3d at 493 (citations omitted); see Pregent Rep., PX-155, at 12; Oates Rep., PX-

153, at 24-25; 12/03/2018 (AM) Tr. 98:5-9.              Second, plaintiffs' injuries were reasonably

foreseeable consequences of Iran's proliferation of EFP and non-EFP materials in Iraq. Iran not

only distributed the necessary materials to create EFPs to Iraqi insurgents, but also assisted those

insurgents with circumventing the U.S. military's later-developed countermeasures.              See

12/06/2018 (AM) Tr. 48:21-49:12 (explaining that the U.S. military traced devices that "wreaked

havoc" on EFP countermeasures to Iran). Iran also "supplied or bankrolled a number of' non-EFP

weapons "used by Shi'a militia groups in Iraq." Karcher I, 396 F. Supp. 3d at 25. By providing

financial support, training, and weapons to Iraqi insurgents, Iran must have reasonably anticipated

that its actions would lead to serious injuries or deaths among coalition forces. See Lee, 518 F.

Supp. 3d at 494 (concluding that Iran "reasonably anticipated" serious injuries and deaths to U.S.

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 troops based on its "financial support" and "provision of evolving and ever-more lethal weaponry"

 to Iraqi insurgents); Karcher I, 396 F. Supp. 3d at 56-57 (holding that plaintiffs' harms were

 reasonably foreseeable when Iran intended "to kill people, not just disable vehicles"). In the same

vein, the Family Member Plaintiffs' emotional harms, discussed infra Section III.E.ii, were a

reasonably foreseeable consequence oflran's material support for potentially lethal EFP and non-

EFP attacks in Iraq. See Lee, 518 F. Supp. 3d at 494 (citing Salzman, 2019 WL 4673761, at *14).

        Accordingly, the Court concludes that Iran proximately caused plaintiffs' injuries through

its material support for the attempted extrajudicial killings of U.S. servicemembers and a

contractor. Since plaintiffs have proven each element of the FSIA's terrorism exception, the Court

possesses subject matter jurisdiction over this dispute under 28 U.S.C. § 1330(a) and.

§ 1605A(a)(l).

           B. Personal Jurisdiction

        The Court now turns to its personal jurisdiction over Iran. A court has "an independent

obligation ... to satisfy itself of its personal jurisdiction before entering a default [judgment]

against a missing party." Kaplan v. Cent. Bank of the Islamic Repub. of Iran, 896 F.3d 501, 512

(D.C. Cir. 2018). Federal courts have personal jurisdiction over a foreign state if (I) the court has

subject matter jurisdiction pursuant to 28 U.S.C. § 1330(a), and (2) plaintiffs properly effectuate

service under 28 U.S.C. § 1608(a). See 28 U.S.C. § 1330(b). As explained above, the Court

possesses subject matter jurisdiction over this dispute under § 1330(a). The remaining issue is

whether plaintiffs followed the procedures required by§ 1608(a).

       The FSIA prescribes four valid methods of service. See 28 U.S.C. § 1608(a). If a method

of service is unavailable or unsuccessful, a plaintiff may attempt the next method listed. Worley

v. Islamic Repub. ofIran, 75 F. Supp. 3d 311,327 (D.D.C. 2014). First, a plaintiff should follow



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"any special arrangement[s]" for service-e.g., contractual provisions-between the plaintiff and
                                                                        I



the foreign state. 28 U.S.C. § 1608(a)(l). Second, a plaintiff may serve a defendant state "in

accordance with an applicable international convention" on service of process. Id. § 1608(a)(2).

Neither option is available in this case. See Lee, 518 F. Supp. 3d at 495.

          Plaintiffs thus attempted service under § 1608(a)(3), which permits service by mailing

copies of the complaint, summons, and notice of suit on a defendant state's head of ministry of

foreign affairs. See 28 U.S.C. § 1608(e)(3); Aff. Requesting Foreign Mailing, ECF No. 15. When

that attempt failed, plaintiffs tried to serve Iran via diplomatic channels. See id. § 1608(a)(4); Aff.

Requesting Foreign Mailing, ECF No. 18. According to the Department of State, these documents

were served on August 12, 2018, under cover of diplomatic note. Return of Service, ECF No. 21.

The Court concludes that plaintiffs have complied with§ 1608(a)(4) and properly served Iran in

accordance with the FSIA. The Court may exercise personal jurisdiction over the parties.

             C. Timeliness

          Actions under the FSIA's terrorism exception "may be brought or maintained" only if filed

"not later than" the later of (1) "10 years after April 24, 1996" or (2) "10 years after the date on

which the cause of action arose." 28 U.S.C. § 1605A(b). But when a defendant state "fail[s] to

enter an appearance or submit a filing at any stage of [a] case[]," it forfeits any potential statute-

of-limitations defenses. Maalouf v. Islamic Repub. ofIran, 923 F.3d 1095, 1108 (D.C. Cir. 2019).

A federal court has no authority to raise this statute oflimitations defense "on behalf of an entirely

absent defendant." Id. at 1112. Because Iran has not appeared in this case-and, therefore, has

not raised a statute-of-limitations defense-the Court will not enforce the limitations period sua

sponte.




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            D. Venue

        For civil actions "against a foreign state or political subdivision thereof," venue is proper

"in the United States District Court for the District of Columbia." 28 U.S.C. § 1391(f)(4). Iran is

a "foreign state" as defined by§ 1603 of the FSIA. See 28 U.S.C. § 1603(a); see e.g., Henkin v.

Islamic Repub. of/ran, No. 18-cv-1273, 2021 WL 2914036 (D.D.C. July 12, 2021). Since Iran is

a foreign state, the Court concludes that venue is proper in this District.

            E. Liability

                     i. Claims by Surviving Plaintiffs and Estates ofDeceased Victims

        Finally, the Court will assess Iran's liability for plaintiffs' injuries. As explained above,

plaintiffs plead claims arising under§ 1605A(c)'s private cause of action. Plaintiffs' § 1605A(c)

claims arising from the 61 total attacks fall into three categories: the claims of (1) the U.S. soldiers

and civilians injured in Iraq by terrorist acts that Iran materially supported; (2) the estates of U.S.

soldiers and civilians killed in Iraq as a result of such acts; and (3) the immediate family members

(or the estates of now-deceased immediate family members) of the injured and deceased U.S.

soldiers and civilians. The first two categories comprise the § 1605A(c) claims of 63 plaintiffs:

        Surviving Plaintiffs: (1) Steven Vernier, Jr.; (2) Brian Radke; (3) Luke Murphy; (4) Ame

Eastlund; (5) Matthew Adamson; (6) James Shepard; (7) John P. Sklaney, III; (8) Joshua Starkey;

(9) William Ronald Little; (10) Josh Denman; (11) Joshua Brooks; (12) Matthew Lammers; (13) ,

Angel Gomez; (14) Andrew Moores; (15) Matthew Benson; (16) Joshua Schichtl; (17) Steve

Wadleigh; (18) Jason Whitehorse; (19) Austin Bewley; (20) Matthew Fieser; (21) Benjamin

Daniel Carrington; (22) Jonathan Heslop; (23) Tyler Latham; (24) Bryant Bearfield; (25) Andrew

Bradley; (26) Rhett Murphy; (27) Roady Landtiser; (28) Nathan Richards; and (29) Donald Field.




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        Estates of Deceased Victims: (1) Clifford Leroy Smith, Jr., on behalf of the Estate of

Kevin J. Smith; (2) David G. Cardinal, Jr., on behalf of the Estate of Anthony Cardinal; (3) Henry

J. Bandhold, Sr., on behalf of the Estate of Scott Bandhold; (4) Kathy Stillwell, on behalf of the

Estate of Daniel Crabtree; (5) Cathy Andino, on behalf of the Estate of Edwin A. Andino; (6)

Nannette Bryne-Haupt, on behalf of the Estate of Ryan Haupt; (7) Jackie Farrar-Finken, on behalf

of the Estate of Paul Finken; (8) Samantha Balsley, on behalf of the Estate of Michael C. Balsley;

(9) Deadra Garrigus, on behalf of the Estate of Mickel D. Garrigus; (10) Hyunjung Glawson, on

behalf of the Estate of Curtis E. Glawson; (11) Lindsay Young, on behalf of the Estate of Brett A.

Walton; (12) Dwight Martin, on behalf of the Estate of Jay E. Martin; (13) Tiffany M. Little, on

behalf of the Estate of Kyle A. Little; (14) Delilah Brown, on behalf of the Estate of Scott J. Brown;

(15) Sheila Tracy, on behalf of the Estate of Jacob Tracy; (16) Katherine McRill-Fellini, on behalf

of the Estate of Robert McRill; (17) Ursula Ann Joshua, on behalf of the Estate of Ron J. Joshua,

Jr.; (18) Jessica Heinlein, on behalf of the Estate of Charles T. Heinlein; (19) Margarita Aristizabal,

on behalf of the Estate of Alfed H. J airala; (20) Maria Alvarez, on behalf of the Estate of Conrad

Alvarez; (21) Tabitha McCoy, on behalf of the Estate of Steve A. McCoy; (22) Kynesha

Dhanoolal, on behalf of the Estate of Dayne D. Dhanoolal; (23) Merlese Pickett, on behalf of the

Estate of Emanuel Pickett; (24) Lee Wolfer, on behalf of the Estate of Stuart Wolfer; (25) William

Allmon, on behalf of the Estate of William E. Allmon; (26) Breanna Lynn Gasper, on behalf of

the Estate of Frank J. Gasper; (27) Daniel Menke, on behalf of the Estate of Jonathan D. Menke;

(28) Jessica H. Williams, on behalf of the Estate of James M. Hale; (29) Kari Carosella, on behalf

of the Estate of Justin Bauer; (30) Roberto Andrade, Sr., on behalf of the Estate of Roberto

Andrade, Jr.; (31) Joseph D. Helton, Sr., on behalf of the Estate of Joseph D. Helton, Jr.; (32)




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 Cassie Collins, on behalf of the Estate of Shannon M. Smith; (33) Katrina Coe, on behalf of the

, Estate of Keith Coe; and (34) Angel Mayes, on behalf of the Estate of Antonio Stiggins.

         See supra Section II.D- F. The plaintiffs properly fall within the FSIA's private cause of

 action, and the Court will enter default judgment on their claims.

         Plaintiffs' claims derive from the injuries or deaths of members of the U.S. armed forces,

 or, in the case of Mr. William Ronald Little, a government contractor, proximately caused by Iran's

 material support for an EFP attack in Iraq. See 28 U.S.C. § 1605A(c); Roth v. Islamic Repub. of

Iran, 78 F. Supp. 3d 379, 398 (D.D.C. 2015) (reviewing a claim by legal representative of an

 estate). Given the factual and legal overlap in an FSIA case, the Court's finding of subject-matter

jurisdiction over each of these plaintiffs' claims also establishes their entitlement to relief under

28 U.S.C. § 1605A(c). See, e.g., Allan v. Islamic Repub. ofIran, No. 17-cv-338 (RJL), 2019 WL

2185037, at *6 (D.D.C. May 21, 2019) ("[M]ost courts conduct the analysis together, since

evidence sufficient to establish jurisdictional causation will almost always establish a theory of

'personal injury' necessary to prevail under§ 1605 A(c) [sic].")

         Since the Court has already established its subject matter jurisdiction over the qualifying

plaintiffs' claims, see supra Section III.A, the Court concludes that Iran is liable to the surviving

plaintiffs and estates of the deceased victims under § l 605A(c) for their injuries suffered from EFP

and non-EFP attacks in Iraq.

                    ii. Emotional Distress Claims by Family Members

        The third and final set of§ 1605A(c) claims are those of family members of the U.S.

soldiers and civilian injured or killed in the 61 attacks. This category comprises the claims of 166

plaintiffs:




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        F'amily Member Plaintiffs: (1) JoDee Johnson; (2) James Higgins; (3) Wendy Coleman;
                                                      ,
 (4) Nova Radke; (5) Clifford Leroy Smith, Jr.; (6) Georgianna Stephens-Smith; (7) Corena Martin;

 (8) David G. Cardinal, Jr.; (9) Henry J. Bandhold, Sr.; (10) Afonso Bandhold; (11) Mariana

Bandhold; (12) Willette Murphy; (13) Joaqina Saenz Chorens; (14) Luz Maria Estrada; (15)

Frances Catherine Castro; (16) Elva Espinoza; (17) Bayli Vacho; (18) Tina Eastlund; (19) Sven

Eastlund; (20) Taylor Eastlund; (21) Elizabeth Jo Eastlund; (22) R.A.; (23) Kathy Adamson; (24)

Richard Adamson; (25) Christopher Adamson; (26) Jeffrey Adamson; (27) Justin Adamson; (28)

Kathy Stillwell; (29) M.C.; (30) Cathy Andino; (31) Nannette Bryne-Haupt; (32) Michael Mock;

(33) Tammy Dorsey; (34) Eric Phye; (35) Jackie Farrar-Finken; (36) Emilie Finken; (37) C.F.;

(38) J.F.; (39) Stephen Finken; (40) Alan Finken; (41) Richard Finken; (42) David Finken; (43)

Mark Finken; (44) Peter Finken; (45) Jean Pruitt; (46) Joan Henscheid; (47) Brenda Little; (48)

Kira Sikes; (49) William Ronald Little, Jr.; (50) Adam G. Stout; (51) Samantha Balsley; (52) L.R.-

W.; (53) Deadra Garrigus; (54) David Garrigus; (55) Nichole Garrigus; (56) Kyla Ostenson; (57)

Matthew Garrigus; (58) Jazmon Reyna; (59) Lindsay Young; (60) S.W.; (61) Dwight Martin; (62)

Dove Deanna Adanis; (63) Raven Adams; (64) Lark Adams; (65) Casey Boehmer; (66) Kimberlee

Austin-Oliver; (67) M.R.; (68) L.R.; (69) David Dixon; (70) Daniel.A. Dixon; (71) Gretchen Lang;

(72) Tiffany M. Little; (73) K.L.; (74) Dakota Smith-Lizotte; (75) Shyanne Smith-Lizotte; (76)

Joyce Brooks; (77) Danny Brooks; (78) Daniel Tyler Brooks; (79) Delilah Brown; (80) Alicia

Lammers; (81) Sheila Tracy; (82) Donald Tracy; (83) Nichole Sweeney; (84) Christina Sheridan;

(85) Melissa Benson; (86) C.B.; (87) B.B.; (88) Daniel P. Benson; (89) Carol Benson; (90) Daniel

R. Benson; (91) Katherine McRill-Fellini; (92) Ronald McRill; (93) Rene Pool; (94) Jessica

Heinlein; (95) Charles Heinlein, Sr.; (96) Jody Lyn Heinlein; (97) Margarita Aristizabal; (98) J.J.;

(99) Sebastian Niuman; (100) Prestron Reece; (101) Shaylyn C. Reece; (102) Judy Hoffman; (103)



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Mark Schichtl; (104) Katherine Prowse; (105) Nicholas Prowse; (106) H.S.; (107) S.S.; (108) C.S.;

(109) A.S.; (110) Lee-Ann Wadleigh; (111) Maira Alvarez; (112) A.A.; (113) C.A.; (114) K.A.;

(115) Belinda Garcia; (116) Mary Catherine McLaughlin; (117) Tabitha McCoy; (118) L.M.;

(119) R.M.; (120) Kynesha Dhanoolal; (121) Marlen Pickett; (122) Kemely Pickett; (123) Vivian

Pickett; (124) Kyshia Sutton; (125) Lee Wolfer; (126) L.W.; (127) M.W.; (128) I.W.; (129)

Beverly Wolfer; (130) Thomas Smith; (131) David Wayne Hartley; (132) Kaylie Hartley; (133)

Lisa Duncan; (134) William Allmon; (135) Jesse Williamson; (136) Breanna Lynn Gasper; (137)

Jamie Barnes; (138) Jessica H. Williams; (139) J.M.H.; (140) J.J.H.; (141) J.H.; (142) Kari

Carosella; (143) Julie Salhus; (144) Kristen Galen; (145) Sandra Valencia; (146) Veronica Pena

Andrade; (147) Angelica Andrade; (148) Veronica D. Andrade; (149) Jennifer Roose; (150)

Joseph D. Helton, Sr.; (151) Jessica Cabot; (152) Jeanne RheaMcManus; (153) Katrina Coe; (154)

K.A.C.; (155) K.A.C.; (156) K.A.C.; (157) Rhonda Smith; (158) Matthew Coe; (159) Sabrina

Chapman; (160) Angel Mayes; (161) Luke Stiggins; (162) Donald Mayes; (163) Angelica Field;

(164) Senovia Field; (165) S.F.; and (166) Edward Elliott.

        These plaintiffs seek solatium damages under an intentional infliction of emotional distress

theory ofliability. See Am. Compl., at ,r,r 1342-55; Roth, 78 F. Supp. 3d at 402 ("Solatium under

the FSIA is functionally identical to IIED").       Section 1605A(a)(2) of the FSIA includes as

plaintiffs "those whose claims arise out of those injuries" suffered as a result of a terrorist attack

"but who might not be victims themselves." Valore, 700 F. Supp. 2d at 68; accord Leibovitch v.

Islamic Repub. of Iran, 697 F.3d 561, 572 (7th Cir. 2012). One such category of permitted

plaintiffs is the "immediate family" of claimants mentioned in 28 U.S.C. § 1605A(a)(2)(A)(ii).

The family member plaintiffs bring claims centered on emotional distress from the attacks. This




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 causal link brings the family member plaintiffs within the scope of"claiman~[s]" contemplated by

 the FSIA. See id. at§ 1605A(a){2).

          This Court has set out the following standard for recovery on a theory of IIED in section

 l 605A( c) cases: "One who by extreme and outrageous conduct intentionally or recklessly causes

 severe emotional distress to another is subject to liability for such emotional distress, and if bodily

 harm to the other results from it, for such bodily harm." Heiser v. Islamic Repub. of Iran, 659 F.

 Supp. 2d 20, 26 (D.D.C. 2009) (quoting Restatement (Second) of Torts§ 46(1)). An actor may

 also be liable for IIED to a party against whom the extreme and outrageous conduct was not

 directed if that party is a meµiber of the victim's immediate family and that party was present at

the time of the extreme and outrageous conduct. See Murphy v. Islamic Repub. of Iran, 740 F.

Supp. 2d 51, 75 (D.D.C. 2010) (citing Restatement (Second) of Torts § 46(2)(a)). Thus, IIED

claims by family members in the FSIA context must meet both the "immediate family member"

and "presence" requirements to recover.

         The "immediate family" requirement is strictly construed in FSIA cases; generally, only

spouses, parents, siblings, and children may recover. Roth, 78 F. Supp. 3d at 400 (D.D.C. 2015).

The family member plaintiffs clear this bar as they are all the "spouses, parents, siblings, [or]

children" or step-family members 44 of parties mentioned in 28 U.S.C. § 1605A(a)(2)(A)(ii).

         As to the issue of presence, this Court has previously held that one "need not be present at

the time of a terrorist attack upon a third person to recover for severe emotional injuries suffered



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   Step-family members are not automatically included as claimants under the statute. The Circuit has held that where
claimants "were members of the victim's household" such that they were "viewed as the functional equivalents of
family members," the immediate-family requirement could potentially be stretched to include non-adoptive
stepparents, non-adopted stepchildren, and stepsiblings. See Bettis v. Islamic Repub. ofIran, 315 F.3d 325, 337 (D.C.
Cir. 2003). The mere existence of a "close relationship" between a claimant who is a non-immediate family member
and the victim, however, falls "far short of what [Restatement (Second) of Torts] § 46(2)(a) requires." Id. It is the
plaintiffs' responsibility to demonstrate this close relationship to the special master and ultimately to this Court. See
Fritz, 324 F. Supp. 3d at 63-64.

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as a result." Valore, 700 F. Supp. 2d at 80. This is because terrorism is sufficiently extreme and

outrageous to demonstrate that it is intended to inflict severe emotional harm on even those not

present at the site of the act. Id.

        The plaintiffs have therefore stated a valid theory of recovery as to their IIED claims. As

this Court has previously held, "[a]cts of terrorism are by their very definition extreme and

outrageous and intended to cause the highest degree of emotional distress." Murphy, 740 F. Supp.

2d at 74 (quoting Belkin v. Islamic Repub. of Iran, 667 F. Supp. 2d 8, 22 (D.D.C. 2009)). The

evidence establishes that "Iran intentionally provided material support to proxy groups, and did so

with the intent that Hamas would carry out attacks that would cause severe emotional

distress." Greenbaum, 451 F. Supp. 2d at 104 (stating this conclusion in a case arising out of the

same attack which underlies this suit). Finally, plaintiffs have proved the additional elements of

an IIED claim applicable when the claim is based on actions directed against a third person.

Although the family member plaintiffs do not allege that they were present at the site of the attack,

this requirement is not imposed when the extreme and outrageous conduct is a terrorist attack such

as the ones alleged.

                                      IV.    CONCLUSION

       For the above-mentioned reasons, the Court will GRANT plaintiffs' motion for default

judgment. A separate Order consistent with this Memorandum Opinion shall issue this date.



                    "'"
SIGNED this -z. "I day of September, 2022.


                                                                 Royce C. Lamberth
                                                              United States District Judge




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